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  DEATHPatient died on: May 19, 2018
                                                                                               Sex: Male
                               TY RUTLEDGE                                                     DOB: 10/14/1994 (Age 25)
                                                                                               Height: 6ft 0in
                                                                                               SSN: xxx-xx-7424
      TY RUTLEDGE's photo                                                                      Agency: County
                               #20180115020                                                    Location: [OUT]
                                                                                               JMS ID: 1254735
                                                                                               Allergies:
                               Chronic Care - Pulmonary, Special Needs – Mental Health         pcn

  Reports
  Full Patient History
  Full Patient History

  Name: RUTLEDGE, TY

  DOB: 10-14-1994

  Sex: Male

  SSN: xxx-xx-7424

  JMS ID: 1254735

  Location: [OUT]

  Allergies: pcn




  Intake Screening Forms

      Booking                                                                                                                           Interview
                     Form Name                      Form Item                                     Item Response           Interviewer
      Number                                                                                                                               Date
   20180115020      Intake          Health Insurance (Note policy number if       Yes (bcbs)                              Mobley,       01-15-
                    Screening -     applicable)                                                                           Jessica       2018
                    Medical                                                                                                             12:00
                                                                                                                                        pm
   20180115020      Intake          Sex                                           Male                                    Mobley,       01-15-
                    Screening -                                                                                           Jessica       2018
                    Medical                                                                                                             12:00
                                                                                                                                        pm
   20180115020      Intake          Race                                          White                                   Mobley,       01-15-
                    Screening -                                                                                           Jessica       2018
                    Medical                                                                                                             12:00
                                                                                                                                        pm
   20180115020      Intake          Does the patient speak English? **If no,      Yes                                     Mobley,       01-15-
                    Screening -     please specify the interpreter name and                                               Jessica       2018
                    Medical         phone number used for translation.**                                                                12:00
                                                                                                                                        pm
   20180115020      Intake          List all known allergies                      pcn                                     Mobley,       01-15-
                    Screening -                                                                                           Jessica       2018
                    Medical                                                                                                             12:00
                                                                                                                                        pm
   20180115020      Intake          Sent for a FIT? If yes, note reason.          No                                      Mobley,       01-15-
                    Screening -                                                                                           Jessica       2018
                    Medical                                                                                                             12:00
                                                                                                                                        pm
   20180115020      Intake          Any injuries to report due to arrest or       No                                      Mobley,       01-15-
                    Screening -     booking? If yes, please note.                                                         Jessica       2018
                    Medical                                                                                                             12:00
                                                                                                                                        pm
   20180115020      Intake          Does the inmate show signs of or              No                                      Mobley,       01-15-
                    Screening -     reporting complaints of significant injury,                                           Jessica       2018
                    Medical         excessive bleeding, altered                                                                         12:00
                                    consciousness, respiratory distress,                                                                pm
                                    chest pains, or psychosis, or other
                                    emergent condition requiring immediate
                                    treatment?

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   20180115020     Intake           Have you had a significant head injury in No                            Mobley,    01-15-
                   Screening -      the past 3 days? If yes, did you seek                                   Jessica    2018
                   Medical          treatment?                                                                         12:00
                                                                                                                       pm
   20180115020     Intake           When was your last healthcare visit?         unknown                    Mobley,    01-15-
                   Screening -      (Include provider name and location and                                 Jessica    2018
                   Medical          complete a Release of Information, as                                              12:00
                                    applicable)                                                                        pm
   20180115020     Intake           Have you ever been incarcerated at this      No                         Mobley,    01-15-
                   Screening -      facility? (If yes, provide year)                                        Jessica    2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Who is your emergency health contact?        gary 405-503-2560          Mobley,    01-15-
                   Screening -                                                                              Jessica    2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Is the patient currently taking any          No                         Mobley,    01-15-
                   Screening -      medications?                                                            Jessica    2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           If yes to above question, list all current   na                         Mobley,    01-15-
                   Screening -      medications including dosages,                                          Jessica    2018
                   Medical          frequency, last time taken, and name of                                            12:00
                                    pharmacy.                                                                          pm
   20180115020     Intake           Has the patient been checked for head        Yes                        Mobley,    01-15-
                   Screening -      lice?                                                                   Jessica    2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Does the patient need treatment for          No                         Mobley,    01-15-
                   Screening -      head lice?                                                              Jessica    2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Does the patient wear glasses, contacts, No                             Mobley,    01-15-
                   Screening -      dentures, partial, hearing aids or use                                  Jessica    2018
                   Medical          canes, crutches or any prosthesis or                                               12:00
                                    medical devices? If yes, please note.                                              pm
   20180115020     Intake           If yes to the above question, does the       No                         Mobley,    01-15-
                   Screening -      inmate have the item on their person?                                   Jessica    2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           If yes to the above question, has the        No                         Mobley,    01-15-
                   Screening -      item been place in property?                                            Jessica    2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Patient Vitals                               [blank]                    Mobley,    01-15-
                   Screening -                                                                              Jessica    2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Heart attack/cardiac disease? If yes,        No                         Mobley,    01-15-
                   Screening -      when? Explain.                                                          Jessica    2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           High Blood Pressure? Note details.           No                         Mobley,    01-15-
                   Screening -                                                                              Jessica    2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Cancer/Oncology? Note Type.                  No                         Mobley,    01-15-
                   Screening -                                                                              Jessica    2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Are you currently being treated for lung     Yes                        Mobley,    01-15-
                   Screening -      disease (asthma)?                                                       Jessica    2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Stroke?                                      No                         Mobley,    01-15-
                   Screening -                                                                              Jessica    2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Diabetes? Do you use Insulin? (Type or       No                         Mobley,    01-15-
                   Screening -      Dose) Note Current FSBS Do you                                          Jessica    2018
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                   Medical          consider your diabetes as under good                                               12:00
                                    control?                                                                           pm
   20180115020     Intake           Seizures? Note date of last seizure.       No                            Mobley,   01-15-
                   Screening -                                                                               Jessica   2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           HIV? If yes how long? Current Meds?        No                            Mobley,   01-15-
                   Screening -      Date of last lab? Current Provider?                                      Jessica   2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Current STD's? If yes, what type? Are      No                            Mobley,   01-15-
                   Screening -      you receiving treatment?                                                 Jessica   2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Liver Disease or Hepatitis? If yes, note   No                            Mobley,   01-15-
                   Screening -      type and for how long.                                                   Jessica   2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Do you have a history of TB treatment or No                              Mobley,   01-15-
                   Screening -      a Positive Skin Test? If yes, please note                                Jessica   2018
                   Medical          when, where and the date of last                                                   12:00
                                    treatment.                                                                         pm
   20180115020     Intake           Have you recently experienced any of       na                            Mobley,   01-15-
                   Screening -      the following? If yes, please explain.                                   Jessica   2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           **IS THE DETAINEE AN ICE INMATE?** No                                    Mobley,   01-15-
                   Screening -      ****If yes, a TB skin test must be planted                               Jessica   2018
                   Medical          now, during intake unless contra-                                                  12:00
                                    indicated****                                                                      pm
   20180115020     Intake           Major Dental Conditions?                   No                            Mobley,   01-15-
                   Screening -                                                                               Jessica   2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Mental Health Condition? (Complete      Yes                              Mobley,   01-15-
                   Screening -      Mental Health Intake Screening on every                                  Jessica   2018
                   Medical          person)                                                                            12:00
                                                                                                                       pm
   20180115020     Intake           Appearance                                 Unremarkable                  Mobley,   01-15-
                   Screening -                                                                               Jessica   2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Behavior                                   Appropriate                   Mobley,   01-15-
                   Screening -                                                                               Jessica   2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           State of Consciousness                     Alert                         Mobley,   01-15-
                   Screening -                                                                               Jessica   2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Breathing                                  Unremarkable                  Mobley,   01-15-
                   Screening -                                                                               Jessica   2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Ease of Movement                           Unremarkable                  Mobley,   01-15-
                   Screening -                                                                               Jessica   2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Skin Conditions:                           Sores (sores to arms)         Mobley,   01-15-
                   Screening -                                                                               Jessica   2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Are you using or have you ever used any Amphetamine/Speed (meth daily)   Mobley,   01-15-
                   Screening -      of the following? If so, what is the date of                             Jessica   2018
                   Medical          last use and frequency of use (daily,                                              12:00
                                    often, occasionally)? **IF ANY ARE                                                 pm
                                    DAILY - INITIATE APPROPRIATE
                                    DETOX/WITHDRAWAL MONITORING
                                    FLOWSHEET**
   20180115020     Intake           Have you ever had or are you currently     No                            Mobley,   01-15-
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                   Screening -      having any withdrawal symptoms when                                                             Jessica   2018
                   Medical          you stopped drugs or alcohol? **IF YES,                                                                   12:00
                                    EXPLAIN AND REFER FOR                                                                                     pm
                                    IMMEDIATE EVALUATION BY A
                                    PROVIDER**
   20180115020     Intake           Are you a current IV drug user? (If yes,      Yes                                               Mobley,   01-15-
                   Screening -      refer to the provider for evaluation)                                                           Jessica   2018
                   Medical                                                                                                                    12:00
                                                                                                                                              pm
   20180115020     Intake           Other comments or physical findings not       na                                                Mobley,   01-15-
                   Screening -      covered on this questionnaire?                                                                  Jessica   2018
                   Medical                                                                                                                    12:00
                                                                                                                                              pm
   20180115020     Intake           Are any of the following applicable to the N/A                                                  Mobley,   01-15-
                   Screening -      patient?                                                                                        Jessica   2018
                   Medical                                                                                                                    12:00
                                                                                                                                              pm
   20180115020     Intake           Recommended housing based on                  General Population                                Mobley,   01-15-
                   Screening -      medical/mental health evaluation:                                                               Jessica   2018
                   Medical                                                                                                                    12:00
                                                                                                                                              pm
   20180115020     Intake           Continuity of Care Plan:                      No referral needed at this time                   Mobley,   01-15-
                   Screening -                                                                                                      Jessica   2018
                   Medical                                                                                                                    12:00
                                                                                                                                              pm
   20180115020     Intake           Has the inmate received instructions on       Yes                                               Mobley,   01-15-
                   Screening -      the facility's Sick Call process?                                                               Jessica   2018
                   Medical                                                                                                                    12:00
                                                                                                                                              pm
   20180115020     Intake           Is the patient able to answer questions       Yes                                               Mobley,   01-15-
                   Screening -      coherently? ***If NO, place on                                                                  Jessica   2018
                   Mental Health    observation until further evaluation can                                                                  12:02
                                    occur.***                                                                                                 pm
   20180115020     Intake           Is the patient currently on medications       No                                                Mobley,   01-15-
                   Screening -      for depression, psychosis, or for other                                                         Jessica   2018
                   Mental Health    mental health conditions? (If yes, list all                                                               12:02
                                    medications with dosage and complete                                                                      pm
                                    ROI to verify)
   20180115020     Intake           Are you currently thinking of killing or      No                                                Mobley,   01-15-
                   Screening -      hurting yourself? If yes, what is your                                                          Jessica   2018
                   Mental Health    plan? ***If yes, PLACE ON SUICIDE                                                                         12:02
                                    WATCH IMMEDIATELY***                                                                                      pm
   20180115020     Intake           Do you feel there is nothing to look    No                                                      Mobley,   01-15-
                   Screening -      forward to in your future? (extreme                                                             Jessica   2018
                   Mental Health    hopelessness - additional prompting may                                                                   12:02
                                    be required) ***If yes, PLACE ON                                                                          pm
                                    SUICIDE WATCH IMMEDIATELY***
   20180115020     Intake           Are you a public official charged with a      No                                                Mobley,   01-15-
                   Screening -      high profile crime? ***If yes, PLACE ON                                                         Jessica   2018
                   Mental Health    SUICIDE WATCH IMMEDIATELY***                                                                              12:02
                                                                                                                                              pm
   20180115020     Intake           Prior to your arrest, were you extremely      No                                                Mobley,   01-15-
                   Screening -      depressed, or have little interest or                                                           Jessica   2018
                   Mental Health    pleasure in things that used to bring you                                                                 12:02
                                    joy? ***If yes, PLACE ON SUICIDE                                                                          pm
                                    WATCH IMMEDIATELY***
   20180115020     Intake           Are you currently hearing voices or           Yes (patient stated what the voices tell him is   Mobley,   01-15-
                   Screening -      noises that others can't hear? ***If yes,     between him and them)                             Jessica   2018
                   Mental Health    PLACE ON SUICIDE WATCH                                                                                    12:02
                                    IMMEDIATELY***                                                                                            pm
   20180115020     Intake           Does patient present with any signs or        No                                                Mobley,   01-15-
                   Screening -      conditions of recent suicide attempts or                                                        Jessica   2018
                   Mental Health    self harm? ***If yes, PLACE ON                                                                            12:02
                                    SUICIDE WATCH IMMEDIATELY***                                                                              pm
   20180115020     Intake           Have you recently started an                  No                                                Mobley,   01-15-
                   Screening -      antidepressant or had a recent increase                                                         Jessica   2018
                   Mental Health    in your antidepressant dosage in the                                                                      12:02
                                    past week?                                                                                                pm
   20180115020     Intake           Is this your first time in jail?              No                                                Mobley,   01-15-
                   Screening -                                                                                                      Jessica   2018
                   Mental Health
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                                                                                                                       12:02
                                                                                                                       pm
   20180115020     Intake           If yes to question 10, is the inmate over    No                         Mobley,    01-15-
                   Screening -      the age of 65 or younger than 18                                        Jessica    2018
                   Mental Health                                                                                       12:02
                                                                                                                       pm
   20180115020     Intake           If yes to question 10, is the inmate         No                         Mobley,    01-15-
                   Screening -      presenting as a transgender or                                          Jessica    2018
                   Mental Health    transsexual?                                                                       12:02
                                                                                                                       pm
   20180115020     Intake           Have you ever attempted to harm              No                         Mobley,    01-15-
                   Screening -      yourself? If yes, when and how?                                         Jessica    2018
                   Mental Health                                                                                       12:02
                                                                                                                       pm
   20180115020     Intake           Have you ever seen a mental health           Yes (depression at 13)     Mobley,    01-15-
                   Screening -      professional for emotional or mental                                    Jessica    2018
                   Mental Health    health problems? ***If yes, note when                                              12:02
                                    and where. If they don't know, please                                              pm
                                    indicate that as well in the notes.***
   20180115020     Intake           If yes to question 12, has it been in the    No                         Mobley,    01-15-
                   Screening -      past 7 years?                                                           Jessica    2018
                   Mental Health                                                                                       12:02
                                                                                                                       pm
   20180115020     Intake           Have you ever been hospitalized for          No                         Mobley,    01-15-
                   Screening -      traumatic brain injury? If yes, what type                               Jessica    2018
                   Mental Health    and year?                                                                          12:02
                                                                                                                       pm
   20180115020     Intake           Have you been hospitalized for               No (at the age of 13)      Mobley,    01-15-
                   Screening -      depression or mental health problems in                                 Jessica    2018
                   Mental Health    the past 7 years? ***If yes, note when                                             12:02
                                    and where. If they don't know, please                                              pm
                                    indicate that as well in the notes.***
   20180115020     Intake           Have you received in-patient or out-       No                           Mobley,    01-15-
                   Screening -      patient treatment for alcohol or drug                                   Jessica    2018
                   Mental Health    abuse in the past 7 years? ***If yes, note                                         12:02
                                    when and where. If they don't know,                                                pm
                                    please indicate that as well in the
                                    notes.***
   20180115020     Intake           Do you have nightmares, flashbacks or        No                         Mobley,    01-15-
                   Screening -      repeated thoughts or feelings related to                                Jessica    2018
                   Mental Health    PTSD or something terrible from your                                               12:02
                                    past?                                                                              pm
   20180115020     Intake           Do you currently believe that someone        No                         Mobley,    01-15-
                   Screening -      can control your mind or that other                                     Jessica    2018
                   Mental Health    people can read your thoughts?                                                     12:02
                                                                                                                       pm
   20180115020     Intake           Are you feeling paranoid?                    Yes                        Mobley,    01-15-
                   Screening -                                                                              Jessica    2018
                   Mental Health                                                                                       12:02
                                                                                                                       pm
   20180115020     Intake           Have you been a victim of sexual abuse       No                         Mobley,    01-15-
                   Screening -      in the past 5 days? ***If yes, ask them if                              Jessica    2018
                   Mental Health    they would like a referral to mental                                               12:02
                                    health***                                                                          pm
   20180115020     Intake           Does patient appear to be sad, irritable,    No                         Mobley,    01-15-
                   Screening -      emotionally flat, hallucinating or showing                              Jessica    2018
                   Mental Health    signs of other mental illness such as                                              12:02
                                    acting strange or any unusual behavior?                                            pm
   20180115020     Intake           Have you ever been arrested for a            No                         Mobley,    01-15-
                   Screening -      sexual offense?                                                         Jessica    2018
                   Mental Health                                                                                       12:02
                                                                                                                       pm
   20180115020     Intake           Do you feel overly anxious or has your       No                         Mobley,    01-15-
                   Screening -      recent activity level increased                                         Jessica    2018
                   Mental Health    significantly without justification?                                               12:02
                                                                                                                       pm
   20180115020     Intake           Are you extremely worried you will lose      No                         Mobley,    01-15-
                   Screening -      your job, spouse, significant other or                                  Jessica    2018
                   Mental Health    children due to your arrest?                                                       12:02
                                                                                                                       pm

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   20180115020     Intake           Have you been a victim of physical or       No                          Mobley,    01-15-
                   Screening -      emotional abuse in the past 5 days? ***If                               Jessica    2018
                   Mental Health    yes, ask them if they would like a referral                                        12:02
                                    to mental health***                                                                pm
   20180115020     Intake           In school were you ever told you had         No                         Mobley,    01-15-
                   Screening -      difficulty learning or in any special                                   Jessica    2018
                   Mental Health    classes? Explain. **Also check yes if the                                          12:02
                                    patient appears to be mentally retarded                                            pm
                                    or developmentally delayed and
                                    explain**
   20180115020     Intake           Does the patient appear under the            No                         Mobley,    01-15-
                   Screening -      influence?                                                              Jessica    2018
                   Mental Health                                                                                       12:02
                                                                                                                       pm
   20180115020     Intake           Do you have frequent seizures? If yes,       No                         Mobley,    01-15-
                   Screening -      are you on medications? (list                                           Jessica    2018
                   Mental Health    medications)                                                                       12:02
                                                                                                                       pm
   20180115020     Intake           Disposition / Plan of Action:                Place on suicide watch     Mobley,    01-15-
                   Screening -                                                                              Jessica    2018
                   Mental Health                                                                                       12:02
                                                                                                                       pm
   20180115020     Intake           Have you ever been involved in an            No                         Mobley,    01-15-
                   Screening -      incident where you sexually abused                                      Jessica    2018
                   PREA Risk        other inmates?                                                                     12:03
                   Assessment                                                                                          pm
   20180115020     Intake           Have you ever been involved in an            No                         Mobley,    01-15-
                   Screening -      incident where you sexually abused                                      Jessica    2018
                   PREA Risk        other people outside of jail or prison?                                            12:03
                   Assessment                                                                                          pm
   20180115020     Intake           Have you ever committed a violent            No                         Mobley,    01-15-
                   Screening -      offense?                                                                Jessica    2018
                   PREA Risk                                                                                           12:03
                   Assessment                                                                                          pm
   20180115020     Intake           Have you ever committed a violent            No                         Mobley,    01-15-
                   Screening -      offense within an institutional setting or                              Jessica    2018
                   PREA Risk        jail?                                                                              12:03
                   Assessment                                                                                          pm
   20180115020     Intake           Does inmate appear to have or report a       No                         Mobley,    01-15-
                   Screening -      mental, physical, or developmental                                      Jessica    2018
                   PREA Risk        disability?                                                                        12:03
                   Assessment                                                                                          pm
   20180115020     Intake           Have you ever been a victim of sexual        No                         Mobley,    01-15-
                   Screening -      abuse in prison or jail?                                                Jessica    2018
                   PREA Risk                                                                                           12:03
                   Assessment                                                                                          pm
   20180115020     Intake           Have you ever been a victim of sexual        No                         Mobley,    01-15-
                   Screening -      abuse as an adult or child?                                             Jessica    2018
                   PREA Risk                                                                                           12:03
                   Assessment                                                                                          pm
   20180115020     Intake           Is inmate less than 21 years old or over     No                         Mobley,    01-15-
                   Screening -      65 years old?                                                           Jessica    2018
                   PREA Risk                                                                                           12:03
                   Assessment                                                                                          pm
   20180115020     Intake           Is inmate of slight physical stature? For    No                         Mobley,    01-15-
                   Screening -      males: less than 5'6'' and/or less than                                 Jessica    2018
                   PREA Risk        140 pounds? For females: less than 5'                                              12:03
                   Assessment       and/or less than 100 pounds?                                                       pm
   20180115020     Intake           Is this the first time you have been         No (2017)                  Mobley,    01-15-
                   Screening -      incarcerated?                                                           Jessica    2018
                   PREA Risk                                                                                           12:03
                   Assessment                                                                                          pm
   20180115020     Intake           Is the inmate's criminal history             Yes                        Mobley,    01-15-
                   Screening -      exclusively non-violent?                                                Jessica    2018
                   PREA Risk                                                                                           12:03
                   Assessment                                                                                          pm
   20180115020     Intake           Are you gay/lesbian, bisexual,               No                         Mobley,    01-15-
                   Screening -      transgender, intersex or gender non-                                    Jessica    2018
                   PREA Risk        conforming?                                                                        12:03
                   Assessment                                                                                          pm

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   20180115020     Intake           Does inmate have current or prior            No                                                Mobley,      01-15-
                   Screening -      convictions for sex offenses against a                                                         Jessica      2018
                   PREA Risk        child or adult?                                                                                             12:03
                   Assessment                                                                                                                   pm
   20180115020     Intake           Do you believe yourself to be vulnerable     No                                                Mobley,      01-15-
                   Screening -      to being sexually abused in prison or                                                          Jessica      2018
                   PREA Risk        jail?                                                                                                       12:03
                   Assessment                                                                                                                   pm
   20180115020     Intake           Mental Health notified?                      No                                                Mobley,      01-15-
                   Screening -                                                                                                     Jessica      2018
                   PREA Risk                                                                                                                    12:03
                   Assessment                                                                                                                   pm
   20180115020     Intake           Classification notified?                     No                                                Mobley,      01-15-
                   Screening -                                                                                                     Jessica      2018
                   PREA Risk                                                                                                                    12:03
                   Assessment                                                                                                                   pm
   20180115020     Intake           Other Notes                                  na                                                Mobley,      01-15-
                   Screening -                                                                                                     Jessica      2018
                   PREA Risk                                                                                                                    12:03
                   Assessment                                                                                                                   pm
   20180115020     Tuberculosis     Have you ever tested positive                No                                                Mobley,      01-15-
                   Screening        Tuberculosis skin test?                                                                        Jessica      2018
                   Questionnaire                                                                                                                12:03
                                                                                                                                                pm
   20180115020     Tuberculosis     If yes, when and where?                      na                                                Mobley,      01-15-
                   Screening                                                                                                       Jessica      2018
                   Questionnaire                                                                                                                12:03
                                                                                                                                                pm
   20180115020     Tuberculosis     Did you receive medication or other          N/A                                               Mobley,      01-15-
                   Screening        treatment? Type? Duration of                                                                   Jessica      2018
                   Questionnaire    treatment?                                                                                                  12:03
                                                                                                                                                pm
   20180115020     Tuberculosis     Have you ever been treated for ACTIVE        No                                                Mobley,      01-15-
                   Screening        Tuberculosis?                                                                                  Jessica      2018
                   Questionnaire                                                                                                                12:03
                                                                                                                                                pm
   20180115020     Tuberculosis     If Yes, Did you complete treatment or        N/A                                               Mobley,      01-15-
                   Screening        therapy?                                                                                       Jessica      2018
                   Questionnaire                                                                                                                12:03
                                                                                                                                                pm
   20180115020     Tuberculosis     Unresolved cough lasting more than 2         No                                                Mobley,      01-15-
                   Screening        weeks?                                                                                         Jessica      2018
                   Questionnaire                                                                                                                12:03
                                                                                                                                                pm
   20180115020     Tuberculosis     With hemoptysis (blood)?                     No                                                Mobley,      01-15-
                   Screening                                                                                                       Jessica      2018
                   Questionnaire                                                                                                                12:03
                                                                                                                                                pm
   20180115020     Tuberculosis     With sputum (phlegm)?                        No                                                Mobley,      01-15-
                   Screening                                                                                                       Jessica      2018
                   Questionnaire                                                                                                                12:03
                                                                                                                                                pm
   20180115020     Tuberculosis     Additional symptoms:                         na                                                Mobley,      01-15-
                   Screening                                                                                                       Jessica      2018
                   Questionnaire                                                                                                                12:03
                                                                                                                                                pm
   20180115020     Tuberculosis     Additional risk factors:                     na                                                Mobley,      01-15-
                   Screening                                                                                                       Jessica      2018
                   Questionnaire                                                                                                                12:03
                                                                                                                                                pm
   20180115020     Tuberculosis     CONSIDER FOR ISOLATION AND                   N/A                                               Mobley,      01-15-
                   Screening        URGENT NOTIFICATION OF ID                                                                      Jessica      2018
                   Questionnaire    COORDINATOR IF:                                                                                             12:03
                                                                                                                                                pm
   20180115020     Tuberculosis     ADDITIONAL DISPOSITIONS:                     No indication requiring immediate PPD, schedule   Mobley,      01-15-
                   Screening                                                     routine PPD                                       Jessica      2018
                   Questionnaire                                                                                                                12:03
                                                                                                                                                pm
   20180115020     History and      Patient Vitals Note peak flow if indicated   [blank]                                           Stout, Kim   01-29-
                   Physical         (i.e. Asthma)                                                                                               2018
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                                                                                                                                                   12:41
                                                                                                                                                   pm
   20180115020     History and      Allergies                                    pcn                                                  Stout, Kim   01-29-
                   Physical                                                                                                                        2018
                                                                                                                                                   12:41
                                                                                                                                                   pm
   20180115020     History and      Current Medications                          SERTRALINE HCL 50MG TAB QD PM;                       Stout, Kim   01-29-
                   Physical                                                      Directions: 1 TAB [PO] By Mouth QD PM ;                           2018
                                                                                 OLANZAPINE 5MG TAB QD AM; Directions: 1                           12:41
                                                                                 TAB [PO] By Mouth QD AM ; OLANZAPINE                              pm
                                                                                 10MG TAB QD PM; Directions: 1 TAB [PO] By
                                                                                 Mouth QD PM ; Albuterol Sulfate Inhalation
                                                                                 Nebulizer Sol. 0.083% Sol. BID; Directions: 1 Sol.
                                                                                 By Inhalation BID;
   20180115020     History and      Initial Intake Medical, Mental Health, and Yes                                                    Stout, Kim   01-29-
                   Physical         Tuberculosis Screening reviewed?                                                                               2018
                                                                                                                                                   12:41
                                                                                                                                                   pm
   20180115020     History and      Has a TB skin test or chest x-ray been       Yes (PPD PLANTED LFA)                                Stout, Kim   01-29-
                   Physical         completed this incarceration? If no,                                                                           2018
                                    complete TB skin test or order chest x-                                                                        12:41
                                    ray.                                                                                                           pm
   20180115020     History and      History of Chronic Illness:                  Lung - Asthma / Emphysema (specify) (ASTHMA          Stout, Kim   01-29-
                   Physical                                                      LAST EPISODE 2012 )                                               2018
                                                                                                                                                   12:41
                                                                                                                                                   pm
   20180115020     History and      Musculoskeletal History                      Previous fractures (R BOXER FX L ELBOW FX R          Stout, Kim   01-29-
                   Physical                                                      5TH METACARPAL UNABLE TO BEND                                     2018
                                                                                 BECAUSE OF TENDON LACERATION X4                                   12:41
                                                                                 MONTHS)                                                           pm
   20180115020     History and      Musculoskeletal History                      Bone or joint deformities (R BOXER FX L ELBOW Stout, Kim          01-29-
                   Physical                                                      FX R 5TH METACARPAL UNABLE TO BEND                                2018
                                                                                 BECAUSE OF TENDON LACERATION X4                                   12:41
                                                                                 MONTHS)                                                           pm
   20180115020     History and      Musculoskeletal History                      Other (specify) (R BOXER FX L ELBOW FX R             Stout, Kim   01-29-
                   Physical                                                      5TH METACARPAL UNABLE TO BEND                                     2018
                                                                                 BECAUSE OF TENDON LACERATION X4                                   12:41
                                                                                 MONTHS)                                                           pm
   20180115020     History and      Sexually Transmitted Infection History (If   None Identified (PT DENIES)                          Stout, Kim   01-29-
                   Physical         positive history, ask if they would like a                                                                     2018
                                    STI test)                                                                                                      12:41
                                                                                                                                                   pm
   20180115020     History and      Significant Head Injuries                    PT DENIES                                            Stout, Kim   01-29-
                   Physical                                                                                                                        2018
                                                                                                                                                   12:41
                                                                                                                                                   pm
   20180115020     History and      Substance Use or Abuse                       Tobacco (type, frequency) (CIG/35D/12Y               Stout, Kim   01-29-
                   Physical                                                      METH/DAILY)                                                       2018
                                                                                                                                                   12:41
                                                                                                                                                   pm
   20180115020     History and      Substance Use or Abuse                       Drug Use (type, frequency) (CIG/35D/12Y              Stout, Kim   01-29-
                   Physical                                                      METH/DAILY)                                                       2018
                                                                                                                                                   12:41
                                                                                                                                                   pm
   20180115020     History and      Substance Use or Abuse                       IV Drug Use (CIG/35D/12Y METH/DAILY)                 Stout, Kim   01-29-
                   Physical                                                                                                                        2018
                                                                                                                                                   12:41
                                                                                                                                                   pm
   20180115020     History and      Previous treatment for drug or alcohol       Yes (DOC PROGRAMS X 2)                               Stout, Kim   01-29-
                   Physical         abuse?                                                                                                         2018
                                                                                                                                                   12:41
                                                                                                                                                   pm
   20180115020     History and      Previous Hospitalizations                    PT DENIES                                            Stout, Kim   01-29-
                   Physical                                                                                                                        2018
                                                                                                                                                   12:41
                                                                                                                                                   pm
   20180115020     History and      Previous Surgeries                           L ELBOW FX RECONSTRUCTION WITH                       Stout, Kim   01-29-
                   Physical                                                      HARDWARE TONSILECTOMY                                             2018
                                                                                                                                                   12:41
                                                                                                                                                   pm

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   20180115020     History and      Other Health Conditions                     DEPRESSION ANXIETY PARANOID             Stout, Kim   01-29-
                   Physical                                                     SCHIZOPHRENIA BIPOLAR MANIAC                         2018
                                                                                DEPRESSION                                           12:41
                                                                                                                                     pm
   20180115020     History and      Family (genetic) health conditions          PT DENIES                               Stout, Kim   01-29-
                   Physical                                                                                                          2018
                                                                                                                                     12:41
                                                                                                                                     pm
   20180115020     History and      Occupation                                  PRIVATE CONTRACTOR                      Stout, Kim   01-29-
                   Physical                                                                                                          2018
                                                                                                                                     12:41
                                                                                                                                     pm
   20180115020     History and      Family Status                               Single                                  Stout, Kim   01-29-
                   Physical                                                                                                          2018
                                                                                                                                     12:41
                                                                                                                                     pm
   20180115020     History and      Housing                                     Live alone                              Stout, Kim   01-29-
                   Physical                                                                                                          2018
                                                                                                                                     12:41
                                                                                                                                     pm
   20180115020     History and      Education level                             GED                                     Stout, Kim   01-29-
                   Physical                                                                                                          2018
                                                                                                                                     12:41
                                                                                                                                     pm
   20180115020     History and      Were you in special education classes?      No                                      Stout, Kim   01-29-
                   Physical                                                                                                          2018
                                                                                                                                     12:41
                                                                                                                                     pm
   20180115020     History and      Does the patient appear to have             No                                      Stout, Kim   01-29-
                   Physical         developmental delays?                                                                            2018
                                                                                                                                     12:41
                                                                                                                                     pm
   20180115020     History and      Have you ever been hospitalized for         Yes (AGE 13 OBSERVATION; CEDAR RIDGE)   Stout, Kim   01-29-
                   Physical         depression, a psychiatric episode or any                                                         2018
                                    other mental health condition?                                                                   12:41
                                                                                                                                     pm
   20180115020     History and      Have you ever received counseling or        No                                      Stout, Kim   01-29-
                   Physical         outpatient treatment for a mental health                                                         2018
                                    condition?                                                                                       12:41
                                                                                                                                     pm
   20180115020     History and      Have you ever taken medications for a       Yes - Current (list) (ZYPREXA ZOLOFT)   Stout, Kim   01-29-
                   Physical         mental health condition?                                                                         2018
                                                                                                                                     12:41
                                                                                                                                     pm
   20180115020     History and      Have you ever seriously hurt yourself        No (PT DENIES)                         Stout, Kim   01-29-
                   Physical         intentionally or tried to commit suicide? If                                                     2018
                                    so, when and how?                                                                                12:41
                                                                                                                                     pm
   20180115020     History and      Are you currently considering hurting       No (PT DENIES)                          Stout, Kim   01-29-
                   Physical         yourself or committing suicide? If so, do                                                        2018
                                    you have a plan?                                                                                 12:41
                                                                                                                                     pm
   20180115020     History and      Do you think you are a violent person?      No                                      Stout, Kim   01-29-
                   Physical                                                                                                          2018
                                                                                                                                     12:41
                                                                                                                                     pm
   20180115020     History and      Do other people consider you to be          Yes ("PROBABLY")                        Stout, Kim   01-29-
                   Physical         violent?                                                                                         2018
                                                                                                                                     12:41
                                                                                                                                     pm
   20180115020     History and      How is the patient's mental status /        unremarkable                            Stout, Kim   01-29-
                   Physical         orientation?                                                                                     2018
                                                                                                                                     12:41
                                                                                                                                     pm
   20180115020     History and      Infectious Disease Screening (Do you        No symptoms identified (NONE NOTED)     Stout, Kim   01-29-
                   Physical         have any of the following?)                                                                      2018
                                                                                                                                     12:41
                                                                                                                                     pm
   20180115020     History and      General Condition                           Unremarkable                            Stout, Kim   01-29-
                   Physical                                                                                                          2018
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                                                         108                                                           12:41
                                                                                                                         pm
   20180115020     History and      Mobility                      Unremarkable                              Stout, Kim   01-29-
                   Physical                                                                                              2018
                                                                                                                         12:41
                                                                                                                         pm
   20180115020     History and      Vision                        DEFERRED                                  Stout, Kim   01-29-
                   Physical                                                                                              2018
                                                                                                                         12:41
                                                                                                                         pm
   20180115020     History and      Hearing                       Unremarkable (WNL)                        Stout, Kim   01-29-
                   Physical                                                                                              2018
                                                                                                                         12:41
                                                                                                                         pm
   20180115020     History and      Head/Eyes/Ears/Nose/Throat    Unremarkable (NONE NOTED)                 Stout, Kim   01-29-
                   Physical                                                                                              2018
                                                                                                                         12:41
                                                                                                                         pm
   20180115020     History and      Skin                          Tracks (BILAT ARMS)                       Stout, Kim   01-29-
                   Physical                                                                                              2018
                                                                                                                         12:41
                                                                                                                         pm
   20180115020     History and      Mouth / Dental                BLEEDING GUMS WHEN BRUSHING; PT           Stout, Kim   01-29-
                   Physical                                       INSTRUCTED ON DENTAL HYGIENE; DENTAL                   2018
                                                                  PROCESS REVIEWED                                       12:41
                                                                                                                         pm
   20180115020     History and      Lungs                         Unremarkable (CTA)                        Stout, Kim   01-29-
                   Physical                                                                                              2018
                                                                                                                         12:41
                                                                                                                         pm
   20180115020     History and      Heart                         Unremarkable / RRR (WNL)                  Stout, Kim   01-29-
                   Physical                                                                                              2018
                                                                                                                         12:41
                                                                                                                         pm
   20180115020     History and      Neuro                         Unremarkable (WNL)                        Stout, Kim   01-29-
                   Physical                                                                                              2018
                                                                                                                         12:41
                                                                                                                         pm
   20180115020     History and      Neuro                         Gait steady (WNL)                         Stout, Kim   01-29-
                   Physical                                                                                              2018
                                                                                                                         12:41
                                                                                                                         pm
   20180115020     History and      Neuro                         Grip equal (WNL)                          Stout, Kim   01-29-
                   Physical                                                                                              2018
                                                                                                                         12:41
                                                                                                                         pm
   20180115020     History and      Neuro                         Speech normal (WNL)                       Stout, Kim   01-29-
                   Physical                                                                                              2018
                                                                                                                         12:41
                                                                                                                         pm
   20180115020     History and      Neuro                         Pupils equal (WNL)                        Stout, Kim   01-29-
                   Physical                                                                                              2018
                                                                                                                         12:41
                                                                                                                         pm
   20180115020     History and      Lymph Nodes                   Unremarkable (NONE NOTED)                 Stout, Kim   01-29-
                   Physical                                                                                              2018
                                                                                                                         12:41
                                                                                                                         pm
   20180115020     History and      Thyroid                       Unremarkable (NONE NOTED)                 Stout, Kim   01-29-
                   Physical                                                                                              2018
                                                                                                                         12:41
                                                                                                                         pm
   20180115020     History and      Breast / Chest                Requested Deferral                        Stout, Kim   01-29-
                   Physical                                                                                              2018
                                                                                                                         12:41
                                                                                                                         pm
   20180115020     History and      Abdomen                       Unremarkable (WNL)                        Stout, Kim   01-29-
                   Physical                                                                                              2018
                                                                                                                         12:41
                                                                                                                         pm
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   20180115020 History and Genitalila (If symptoms are identified,
                                                                     108Requested Deferral                                 Stout, Kim 01-29-
                   Physical         collect urine for urinalysis)                                                                     2018
                                                                                                                                      12:41
                                                                                                                                      pm
   20180115020     History and      MALES - RECTAL / PROSTATE                  Not indicated less than 40 years old      Stout, Kim   01-29-
                   Physical                                                                                                           2018
                                                                                                                                      12:41
                                                                                                                                      pm
   20180115020     History and      FEMALES - PELVIC EXAM                      Not Applicable                            Stout, Kim   01-29-
                   Physical                                                                                                           2018
                                                                                                                                      12:41
                                                                                                                                      pm
   20180115020     History and      FEMALES - PREGNANCY TEST Has a             Not Applicable                            Stout, Kim   01-29-
                   Physical         pregnancy test been performed this                                                                2018
                                    incarceration? If yes, results? If no,                                                            12:41
                                    complete test.                                                                                    pm
   20180115020     History and      Extremities                                Unremarkable (NONE NOTED)                 Stout, Kim   01-29-
                   Physical                                                                                                           2018
                                                                                                                                      12:41
                                                                                                                                      pm
   20180115020     History and      Additional Testing or Orders Required      NA                                        Stout, Kim   01-29-
                   Physical                                                                                                           2018
                                                                                                                                      12:41
                                                                                                                                      pm
   20180115020     History and      Housing                                    Other (specify) (SEG J11)                 Stout, Kim   01-29-
                   Physical                                                                                                           2018
                                                                                                                                      12:41
                                                                                                                                      pm
   20180115020     History and      Approved Medical Equipment - Please        NA                                        Stout, Kim   01-29-
                   Physical         list                                                                                              2018
                                                                                                                                      12:41
                                                                                                                                      pm
   20180115020     History and      Restrictions                               No Restrictions (PENDING TB CLEARANCER)   Stout, Kim   01-29-
                   Physical                                                                                                           2018
                                                                                                                                      12:41
                                                                                                                                      pm
   20180115020     History and      Follow-up / Referral required:             Routine Mental Health Referral (PT        Stout, Kim   01-29-
                   Physical                                                    REQUESTING REFERRAL )                                  2018
                                                                                                                                      12:41
                                                                                                                                      pm
   20180115020     History and      Additional Comments                        PT VERBALIZED UNDERSTANDING OF            Stout, Kim   01-29-
                   Physical                                                    SICKCALL PROCESS                                       2018
                                                                                                                                      12:41
                                                                                                                                      pm
   20180115020     Tuberculosis     Location of TST Plant                      LFA                                       Stout, Kim   01-29-
                   Skin Test -                                                                                                        2018
                   Plant                                                                                                              12:48
                                                                                                                                      pm
   20180115020     Tuberculosis     PPD 0.1ml Lot Number                       C5122AA                                   Stout, Kim   01-29-
                   Skin Test -                                                                                                        2018
                   Plant                                                                                                              12:48
                                                                                                                                      pm
   20180115020     Tuberculosis     PPD 0.1 Expiration Date                    03/31/2019                                Stout, Kim   01-29-
                   Skin Test -                                                                                                        2018
                   Plant                                                                                                              12:48
                                                                                                                                      pm
   20180115020     Tuberculosis     Date Read                                  01/31/2018                                Chaplin,     01-31-
                   Skin Test -                                                                                           Adrienne     2018
                   Read                                                                                                               8:19 pm
   20180115020     Tuberculosis     Result in mm                               0 mm                                      Chaplin,     01-31-
                   Skin Test -                                                                                           Adrienne     2018
                   Read                                                                                                               8:19 pm
   20180115020     Tuberculosis     TST is: Please Note that: Positive if 10   Negative (0 MM)                           Chaplin,     01-31-
                   Skin Test -      mm or greater INDURATION (NOT                                                        Adrienne     2018
                   Read             REDNESS) or 5 mm for HIV patients                                                                 8:19 pm




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      Booking                                                                                                           Interview
                     Form Name                Form Item                                   Item Response   Interviewer
      Number                                                                                                               Date
   20180115020     Intake           Health Insurance (Note policy Yes (bcbs)                              Mobley,       01-15-
                   Screening -      number if applicable)                                                 Jessica       2018
                   Medical                                                                                              12:00
                                                                                                                        pm
   20180115020     Intake           Sex                               Male                                Mobley,       01-15-
                   Screening -                                                                            Jessica       2018
                   Medical                                                                                              12:00
                                                                                                                        pm
   20180115020     Intake           Race                              White                               Mobley,       01-15-
                   Screening -                                                                            Jessica       2018
                   Medical                                                                                              12:00
                                                                                                                        pm
   20180115020     Intake           Does the patient speak            Yes                                 Mobley,       01-15-
                   Screening -      English? **If no, please                                              Jessica       2018
                   Medical          specify the interpreter name                                                        12:00
                                    and phone number used for                                                           pm
                                    translation.**
   20180115020     Intake           List all known allergies          pcn                                 Mobley,       01-15-
                   Screening -                                                                            Jessica       2018
                   Medical                                                                                              12:00
                                                                                                                        pm
   20180115020     Intake           Sent for a FIT? If yes, note      No                                  Mobley,       01-15-
                   Screening -      reason.                                                               Jessica       2018
                   Medical                                                                                              12:00
                                                                                                                        pm
   20180115020     Intake           Any injuries to report due to     No                                  Mobley,       01-15-
                   Screening -      arrest or booking? If yes,                                            Jessica       2018
                   Medical          please note.                                                                        12:00
                                                                                                                        pm
   20180115020     Intake           Does the inmate show signs        No                                  Mobley,       01-15-
                   Screening -      of or reporting complaints of                                         Jessica       2018
                   Medical          significant injury, excessive                                                       12:00
                                    bleeding, altered                                                                   pm
                                    consciousness, respiratory
                                    distress, chest pains, or
                                    psychosis, or other emergent
                                    condition requiring immediate
                                    treatment?
   20180115020     Intake           Have you had a significant        No                                  Mobley,       01-15-
                   Screening -      head injury in the past 3                                             Jessica       2018
                   Medical          days? If yes, did you seek                                                          12:00
                                    treatment?                                                                          pm
   20180115020     Intake           When was your last                unknown                             Mobley,       01-15-
                   Screening -      healthcare visit? (Include                                            Jessica       2018
                   Medical          provider name and location                                                          12:00
                                    and complete a Release of                                                           pm
                                    Information, as applicable)
   20180115020     Intake           Have you ever been                 No                                 Mobley,       01-15-
                   Screening -      incarcerated at this facility? (If                                    Jessica       2018
                   Medical          yes, provide year)                                                                  12:00
                                                                                                                        pm
   20180115020     Intake           Who is your emergency             gary 405-503-2560                   Mobley,       01-15-
                   Screening -      health contact?                                                       Jessica       2018
                   Medical                                                                                              12:00
                                                                                                                        pm
   20180115020     Intake           Is the patient currently taking   No                                  Mobley,       01-15-
                   Screening -      any medications?                                                      Jessica       2018
                   Medical                                                                                              12:00
                                                                                                                        pm
   20180115020     Intake           If yes to above question, list na                                     Mobley,       01-15-
                   Screening -      all current medications                                               Jessica       2018
                   Medical          including dosages, frequency,                                                       12:00
                                    last time taken, and name of                                                        pm
                                    pharmacy.
   20180115020     Intake           Has the patient been checked Yes                                      Mobley,       01-15-
                   Screening -      for head lice?                                                        Jessica       2018
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                  Medical                                108                                                           12:00
                                                                                                                       pm
   20180115020     Intake           Does the patient need            No                                     Mobley,    01-15-
                   Screening -      treatment for head lice?                                                Jessica    2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Does the patient wear            No                                     Mobley,    01-15-
                   Screening -      glasses, contacts, dentures,                                            Jessica    2018
                   Medical          partial, hearing aids or use                                                       12:00
                                    canes, crutches or any                                                             pm
                                    prosthesis or medical
                                    devices? If yes, please note.
   20180115020     Intake           If yes to the above question,    No                                     Mobley,    01-15-
                   Screening -      does the inmate have the                                                Jessica    2018
                   Medical          item on their person?                                                              12:00
                                                                                                                       pm
   20180115020     Intake           If yes to the above question,    No                                     Mobley,    01-15-
                   Screening -      has the item been place in                                              Jessica    2018
                   Medical          property?                                                                          12:00
                                                                                                                       pm
   20180115020     Intake           Patient Vitals                   [blank]                                Mobley,    01-15-
                   Screening -                                                                              Jessica    2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Heart attack/cardiac disease? No                                        Mobley,    01-15-
                   Screening -      If yes, when? Explain.                                                  Jessica    2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           High Blood Pressure? Note        No                                     Mobley,    01-15-
                   Screening -      details.                                                                Jessica    2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Cancer/Oncology? Note            No                                     Mobley,    01-15-
                   Screening -      Type.                                                                   Jessica    2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Are you currently being          Yes                                    Mobley,    01-15-
                   Screening -      treated for lung disease                                                Jessica    2018
                   Medical          (asthma)?                                                                          12:00
                                                                                                                       pm
   20180115020     Intake           Stroke?                          No                                     Mobley,    01-15-
                   Screening -                                                                              Jessica    2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Diabetes? Do you use             No                                     Mobley,    01-15-
                   Screening -      Insulin? (Type or Dose) Note                                            Jessica    2018
                   Medical          Current FSBS Do you                                                                12:00
                                    consider your diabetes as                                                          pm
                                    under good control?
   20180115020     Intake           Seizures? Note date of last      No                                     Mobley,    01-15-
                   Screening -      seizure.                                                                Jessica    2018
                   Medical                                                                                             12:00
                                                                                                                       pm
   20180115020     Intake           HIV? If yes how long?            No                                     Mobley,    01-15-
                   Screening -      Current Meds? Date of last                                              Jessica    2018
                   Medical          lab? Current Provider?                                                             12:00
                                                                                                                       pm
   20180115020     Intake           Current STD's? If yes, what      No                                     Mobley,    01-15-
                   Screening -      type? Are you receiving                                                 Jessica    2018
                   Medical          treatment?                                                                         12:00
                                                                                                                       pm
   20180115020     Intake           Liver Disease or Hepatitis? If   No                                     Mobley,    01-15-
                   Screening -      yes, note type and for how                                              Jessica    2018
                   Medical          long.                                                                              12:00
                                                                                                                       pm
   20180115020     Intake           Do you have a history of TB      No                                     Mobley,    01-15-
                   Screening -      treatment or a Positive Skin                                            Jessica    2018
                   Medical          Test? If yes, please note                                                          12:00
                                    when, where and the date of                                                        pm
                                    last treatment.

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   20180115020 Intake    Have you recently         na      108                                                  Mobley,  01-15-
                   Screening -      experienced any of the                                                   Jessica     2018
                   Medical          following? If yes, please                                                            12:00
                                    explain.                                                                             pm
   20180115020     Intake           **IS THE DETAINEE AN ICE          No                                     Mobley,     01-15-
                   Screening -      INMATE?** ****If yes, a TB                                               Jessica     2018
                   Medical          skin test must be planted                                                            12:00
                                    now, during intake unless                                                            pm
                                    contra-indicated****
   20180115020     Intake           Major Dental Conditions?          No                                     Mobley,     01-15-
                   Screening -                                                                               Jessica     2018
                   Medical                                                                                               12:00
                                                                                                                         pm
   20180115020     Intake           Mental Health Condition?          Yes                                    Mobley,     01-15-
                   Screening -      (Complete Mental Health                                                  Jessica     2018
                   Medical          Intake Screening on every                                                            12:00
                                    person)                                                                              pm
   20180115020     Intake           Appearance                        Unremarkable                           Mobley,     01-15-
                   Screening -                                                                               Jessica     2018
                   Medical                                                                                               12:00
                                                                                                                         pm
   20180115020     Intake           Behavior                          Appropriate                            Mobley,     01-15-
                   Screening -                                                                               Jessica     2018
                   Medical                                                                                               12:00
                                                                                                                         pm
   20180115020     Intake           State of Consciousness            Alert                                  Mobley,     01-15-
                   Screening -                                                                               Jessica     2018
                   Medical                                                                                               12:00
                                                                                                                         pm
   20180115020     Intake           Breathing                         Unremarkable                           Mobley,     01-15-
                   Screening -                                                                               Jessica     2018
                   Medical                                                                                               12:00
                                                                                                                         pm
   20180115020     Intake           Ease of Movement                  Unremarkable                           Mobley,     01-15-
                   Screening -                                                                               Jessica     2018
                   Medical                                                                                               12:00
                                                                                                                         pm
   20180115020     Intake           Skin Conditions:                  Sores (sores to arms)                  Mobley,     01-15-
                   Screening -                                                                               Jessica     2018
                   Medical                                                                                               12:00
                                                                                                                         pm
   20180115020     Intake           Are you using or have you         Amphetamine/Speed (meth daily)         Mobley,     01-15-
                   Screening -      ever used any of the                                                     Jessica     2018
                   Medical          following? If so, what is the                                                        12:00
                                    date of last use and                                                                 pm
                                    frequency of use (daily, often,
                                    occasionally)? **IF ANY ARE
                                    DAILY - INITIATE
                                    APPROPRIATE
                                    DETOX/WITHDRAWAL
                                    MONITORING
                                    FLOWSHEET**
   20180115020     Intake           Have you ever had or are you No                                          Mobley,     01-15-
                   Screening -      currently having any                                                     Jessica     2018
                   Medical          withdrawal symptoms when                                                             12:00
                                    you stopped drugs or                                                                 pm
                                    alcohol? **IF YES, EXPLAIN
                                    AND REFER FOR
                                    IMMEDIATE EVALUATION
                                    BY A PROVIDER**
   20180115020     Intake           Are you a current IV drug         Yes                                    Mobley,     01-15-
                   Screening -      user? (If yes, refer to the                                              Jessica     2018
                   Medical          provider for evaluation)                                                             12:00
                                                                                                                         pm
   20180115020     Intake           Other comments or physical        na                                     Mobley,     01-15-
                   Screening -      findings not covered on this                                             Jessica     2018
                   Medical          questionnaire?                                                                       12:00
                                                                                                                         pm
   20180115020     Intake           Are any of the following          N/A                                    Mobley,     01-15-
                   Screening -      applicable to the patient?                                               Jessica     2018
                   Medical                                                                                               12:00
                                                                                                                         pm
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   20180115020 Intake    Recommended housing
                                                        108
                                                General Population                                           Mobley,  01-15-
                   Screening -      based on medical/mental                                                                          Jessica   2018
                   Medical          health evaluation:                                                                                         12:00
                                                                                                                                               pm
   20180115020     Intake           Continuity of Care Plan:           No referral needed at this time                               Mobley,   01-15-
                   Screening -                                                                                                       Jessica   2018
                   Medical                                                                                                                     12:00
                                                                                                                                               pm
   20180115020     Intake           Has the inmate received            Yes                                                           Mobley,   01-15-
                   Screening -      instructions on the facility's                                                                   Jessica   2018
                   Medical          Sick Call process?                                                                                         12:00
                                                                                                                                               pm
   20180115020     Intake           Is the patient able to answer      Yes                                                           Mobley,   01-15-
                   Screening -      questions coherently? ***If                                                                      Jessica   2018
                   Mental Health    NO, place on observation                                                                                   12:02
                                    until further evaluation can                                                                               pm
                                    occur.***
   20180115020     Intake           Is the patient currently on      No                                                              Mobley,   01-15-
                   Screening -      medications for depression,                                                                      Jessica   2018
                   Mental Health    psychosis, or for other mental                                                                             12:02
                                    health conditions? (If yes, list                                                                           pm
                                    all medications with dosage
                                    and complete ROI to verify)
   20180115020     Intake           Are you currently thinking of      No                                                            Mobley,   01-15-
                   Screening -      killing or hurting yourself? If                                                                  Jessica   2018
                   Mental Health    yes, what is your plan? ***If                                                                              12:02
                                    yes, PLACE ON SUICIDE                                                                                      pm
                                    WATCH IMMEDIATELY***
   20180115020     Intake           Do you feel there is nothing to No                                                               Mobley,   01-15-
                   Screening -      look forward to in your future?                                                                  Jessica   2018
                   Mental Health    (extreme hopelessness -                                                                                    12:02
                                    additional prompting may be                                                                                pm
                                    required) ***If yes, PLACE
                                    ON SUICIDE WATCH
                                    IMMEDIATELY***
   20180115020     Intake           Are you a public official          No                                                            Mobley,   01-15-
                   Screening -      charged with a high profile                                                                      Jessica   2018
                   Mental Health    crime? ***If yes, PLACE ON                                                                                 12:02
                                    SUICIDE WATCH                                                                                              pm
                                    IMMEDIATELY***
   20180115020     Intake           Prior to your arrest, were you No                                                                Mobley,   01-15-
                   Screening -      extremely depressed, or have                                                                     Jessica   2018
                   Mental Health    little interest or pleasure in                                                                             12:02
                                    things that used to bring you                                                                              pm
                                    joy? ***If yes, PLACE ON
                                    SUICIDE WATCH
                                    IMMEDIATELY***
   20180115020     Intake           Are you currently hearing          Yes (patient stated what the voices tell him is between him   Mobley,   01-15-
                   Screening -      voices or noises that others       and them)                                                     Jessica   2018
                   Mental Health    can't hear? ***If yes, PLACE                                                                               12:02
                                    ON SUICIDE WATCH                                                                                           pm
                                    IMMEDIATELY***
   20180115020     Intake           Does patient present with any No                                                                 Mobley,   01-15-
                   Screening -      signs or conditions of recent                                                                    Jessica   2018
                   Mental Health    suicide attempts or self                                                                                   12:02
                                    harm? ***If yes, PLACE ON                                                                                  pm
                                    SUICIDE WATCH
                                    IMMEDIATELY***
   20180115020     Intake           Have you recently started an       No                                                            Mobley,   01-15-
                   Screening -      antidepressant or had a                                                                          Jessica   2018
                   Mental Health    recent increase in your                                                                                    12:02
                                    antidepressant dosage in the                                                                               pm
                                    past week?
   20180115020     Intake           Is this your first time in jail?   No                                                            Mobley,   01-15-
                   Screening -                                                                                                       Jessica   2018
                   Mental Health                                                                                                               12:02
                                                                                                                                               pm
   20180115020     Intake           If yes to question 10, is the      No                                                            Mobley,   01-15-
                   Screening -      inmate over the age of 65 or                                                                     Jessica   2018
                   Mental Health    younger than 18                                                                                            12:02
                                                                                                                                               pm


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   20180115020 Intake    If yes to question 10, is the No    108                                                  Mobley,  01-15-
                   Screening -      inmate presenting as a                                                     Jessica     2018
                   Mental Health    transgender or transsexual?                                                            12:02
                                                                                                                           pm
   20180115020     Intake           Have you ever attempted to        No                                       Mobley,     01-15-
                   Screening -      harm yourself? If yes, when                                                Jessica     2018
                   Mental Health    and how?                                                                               12:02
                                                                                                                           pm
   20180115020     Intake           Have you ever seen a mental       Yes (depression at 13)                   Mobley,     01-15-
                   Screening -      health professional for                                                    Jessica     2018
                   Mental Health    emotional or mental health                                                             12:02
                                    problems? ***If yes, note                                                              pm
                                    when and where. If they don't
                                    know, please indicate that as
                                    well in the notes.***
   20180115020     Intake           If yes to question 12, has it     No                                       Mobley,     01-15-
                   Screening -      been in the past 7 years?                                                  Jessica     2018
                   Mental Health                                                                                           12:02
                                                                                                                           pm
   20180115020     Intake           Have you ever been                No                                       Mobley,     01-15-
                   Screening -      hospitalized for traumatic                                                 Jessica     2018
                   Mental Health    brain injury? If yes, what type                                                        12:02
                                    and year?                                                                              pm
   20180115020     Intake           Have you been hospitalized      No (at the age of 13)                      Mobley,     01-15-
                   Screening -      for depression or mental                                                   Jessica     2018
                   Mental Health    health problems in the past 7                                                          12:02
                                    years? ***If yes, note when                                                            pm
                                    and where. If they don't know,
                                    please indicate that as well in
                                    the notes.***
   20180115020     Intake           Have you received in-patient      No                                       Mobley,     01-15-
                   Screening -      or out-patient treatment for                                               Jessica     2018
                   Mental Health    alcohol or drug abuse in the                                                           12:02
                                    past 7 years? ***If yes, note                                                          pm
                                    when and where. If they don't
                                    know, please indicate that as
                                    well in the notes.***
   20180115020     Intake           Do you have nightmares,         No                                         Mobley,     01-15-
                   Screening -      flashbacks or repeated                                                     Jessica     2018
                   Mental Health    thoughts or feelings related to                                                        12:02
                                    PTSD or something terrible                                                             pm
                                    from your past?
   20180115020     Intake           Do you currently believe that     No                                       Mobley,     01-15-
                   Screening -      someone can control your                                                   Jessica     2018
                   Mental Health    mind or that other people can                                                          12:02
                                    read your thoughts?                                                                    pm
   20180115020     Intake           Are you feeling paranoid?         Yes                                      Mobley,     01-15-
                   Screening -                                                                                 Jessica     2018
                   Mental Health                                                                                           12:02
                                                                                                                           pm
   20180115020     Intake           Have you been a victim of         No                                       Mobley,     01-15-
                   Screening -      sexual abuse in the past 5                                                 Jessica     2018
                   Mental Health    days? ***If yes, ask them if                                                           12:02
                                    they would like a referral to                                                          pm
                                    mental health***
   20180115020     Intake           Does patient appear to be         No                                       Mobley,     01-15-
                   Screening -      sad, irritable, emotionally flat,                                          Jessica     2018
                   Mental Health    hallucinating or showing signs                                                         12:02
                                    of other mental illness such                                                           pm
                                    as acting strange or any
                                    unusual behavior?
   20180115020     Intake           Have you ever been arrested       No                                       Mobley,     01-15-
                   Screening -      for a sexual offense?                                                      Jessica     2018
                   Mental Health                                                                                           12:02
                                                                                                                           pm
   20180115020     Intake           Do you feel overly anxious or No                                           Mobley,     01-15-
                   Screening -      has your recent activity level                                             Jessica     2018
                   Mental Health    increased significantly without                                                        12:02
                                    justification?                                                                         pm
   20180115020     Intake           Are you extremely worried       No                                         Mobley,     01-15-
                   Screening -      you will lose your job, spouse,                                            Jessica     2018
                   Mental Health
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                            significant other or children        108                                                           12:02
                                    due to your arrest?                                                                       pm
   20180115020     Intake           Have you been a victim of         No                                          Mobley,     01-15-
                   Screening -      physical or emotional abuse                                                   Jessica     2018
                   Mental Health    in the past 5 days? ***If yes,                                                            12:02
                                    ask them if they would like a                                                             pm
                                    referral to mental health***
   20180115020     Intake           In school were you ever told      No                                          Mobley,     01-15-
                   Screening -      you had difficulty learning or                                                Jessica     2018
                   Mental Health    in any special classes?                                                                   12:02
                                    Explain. **Also check yes if                                                              pm
                                    the patient appears to be
                                    mentally retarded or
                                    developmentally delayed and
                                    explain**
   20180115020     Intake           Does the patient appear           No                                          Mobley,     01-15-
                   Screening -      under the influence?                                                          Jessica     2018
                   Mental Health                                                                                              12:02
                                                                                                                              pm
   20180115020     Intake           Do you have frequent              No                                          Mobley,     01-15-
                   Screening -      seizures? If yes, are you on                                                  Jessica     2018
                   Mental Health    medications? (list                                                                        12:02
                                    medications)                                                                              pm
   20180115020     Intake           Disposition / Plan of Action:     Place on suicide watch                      Mobley,     01-15-
                   Screening -                                                                                    Jessica     2018
                   Mental Health                                                                                              12:02
                                                                                                                              pm
   20180115020     Intake           Have you ever been involved       No                                          Mobley,     01-15-
                   Screening -      in an incident where you                                                      Jessica     2018
                   PREA Risk        sexually abused other                                                                     12:03
                   Assessment       inmates?                                                                                  pm
   20180115020     Intake           Have you ever been involved       No                                          Mobley,     01-15-
                   Screening -      in an incident where you                                                      Jessica     2018
                   PREA Risk        sexually abused other people                                                              12:03
                   Assessment       outside of jail or prison?                                                                pm
   20180115020     Intake           Have you ever committed a         No                                          Mobley,     01-15-
                   Screening -      violent offense?                                                              Jessica     2018
                   PREA Risk                                                                                                  12:03
                   Assessment                                                                                                 pm
   20180115020     Intake           Have you ever committed a         No                                          Mobley,     01-15-
                   Screening -      violent offense within an                                                     Jessica     2018
                   PREA Risk        institutional setting or jail?                                                            12:03
                   Assessment                                                                                                 pm
   20180115020     Intake           Does inmate appear to have        No                                          Mobley,     01-15-
                   Screening -      or report a mental, physical,                                                 Jessica     2018
                   PREA Risk        or developmental disability?                                                              12:03
                   Assessment                                                                                                 pm
   20180115020     Intake           Have you ever been a victim       No                                          Mobley,     01-15-
                   Screening -      of sexual abuse in prison or                                                  Jessica     2018
                   PREA Risk        jail?                                                                                     12:03
                   Assessment                                                                                                 pm
   20180115020     Intake           Have you ever been a victim       No                                          Mobley,     01-15-
                   Screening -      of sexual abuse as an adult                                                   Jessica     2018
                   PREA Risk        or child?                                                                                 12:03
                   Assessment                                                                                                 pm
   20180115020     Intake           Is inmate less than 21 years      No                                          Mobley,     01-15-
                   Screening -      old or over 65 years old?                                                     Jessica     2018
                   PREA Risk                                                                                                  12:03
                   Assessment                                                                                                 pm
   20180115020     Intake           Is inmate of slight physical      No                                          Mobley,     01-15-
                   Screening -      stature? For males: less than                                                 Jessica     2018
                   PREA Risk        5'6'' and/or less than 140                                                                12:03
                   Assessment       pounds? For females: less                                                                 pm
                                    than 5' and/or less than 100
                                    pounds?
   20180115020     Intake           Is this the first time you have   No (2017)                                   Mobley,     01-15-
                   Screening -      been incarcerated?                                                            Jessica     2018
                   PREA Risk                                                                                                  12:03
                   Assessment                                                                                                 pm
   20180115020     Intake           Is the inmate's criminal          Yes                                         Mobley,     01-15-

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                  Screening - history exclusively non-            108                                                  Jessica  2018
                   PREA Risk        violent?                                                                                  12:03
                   Assessment                                                                                                 pm
   20180115020     Intake           Are you gay/lesbian, bisexual, No                                             Mobley,     01-15-
                   Screening -      transgender, intersex or                                                      Jessica     2018
                   PREA Risk        gender non-conforming?                                                                    12:03
                   Assessment                                                                                                 pm
   20180115020     Intake           Does inmate have current or     No                                            Mobley,     01-15-
                   Screening -      prior convictions for sex                                                     Jessica     2018
                   PREA Risk        offenses against a child or                                                               12:03
                   Assessment       adult?                                                                                    pm
   20180115020     Intake           Do you believe yourself to be   No                                            Mobley,     01-15-
                   Screening -      vulnerable to being sexually                                                  Jessica     2018
                   PREA Risk        abused in prison or jail?                                                                 12:03
                   Assessment                                                                                                 pm
   20180115020     Intake           Mental Health notified?         No                                            Mobley,     01-15-
                   Screening -                                                                                    Jessica     2018
                   PREA Risk                                                                                                  12:03
                   Assessment                                                                                                 pm
   20180115020     Intake           Classification notified?        No                                            Mobley,     01-15-
                   Screening -                                                                                    Jessica     2018
                   PREA Risk                                                                                                  12:03
                   Assessment                                                                                                 pm
   20180115020     Intake           Other Notes                     na                                            Mobley,     01-15-
                   Screening -                                                                                    Jessica     2018
                   PREA Risk                                                                                                  12:03
                   Assessment                                                                                                 pm
   20180115020     Tuberculosis     Have you ever tested positive No                                              Mobley,     01-15-
                   Screening        Tuberculosis skin test?                                                       Jessica     2018
                   Questionnaire                                                                                              12:03
                                                                                                                              pm
   20180115020     Tuberculosis     If yes, when and where?         na                                            Mobley,     01-15-
                   Screening                                                                                      Jessica     2018
                   Questionnaire                                                                                              12:03
                                                                                                                              pm
   20180115020     Tuberculosis     Did you receive medication or N/A                                             Mobley,     01-15-
                   Screening        other treatment? Type?                                                        Jessica     2018
                   Questionnaire    Duration of treatment?                                                                    12:03
                                                                                                                              pm
   20180115020     Tuberculosis     Have you ever been treated      No                                            Mobley,     01-15-
                   Screening        for ACTIVE Tuberculosis?                                                      Jessica     2018
                   Questionnaire                                                                                              12:03
                                                                                                                              pm
   20180115020     Tuberculosis     If Yes, Did you complete        N/A                                           Mobley,     01-15-
                   Screening        treatment or therapy?                                                         Jessica     2018
                   Questionnaire                                                                                              12:03
                                                                                                                              pm
   20180115020     Tuberculosis     Unresolved cough lasting        No                                            Mobley,     01-15-
                   Screening        more than 2 weeks?                                                            Jessica     2018
                   Questionnaire                                                                                              12:03
                                                                                                                              pm
   20180115020     Tuberculosis     With hemoptysis (blood)?        No                                            Mobley,     01-15-
                   Screening                                                                                      Jessica     2018
                   Questionnaire                                                                                              12:03
                                                                                                                              pm
   20180115020     Tuberculosis     With sputum (phlegm)?           No                                            Mobley,     01-15-
                   Screening                                                                                      Jessica     2018
                   Questionnaire                                                                                              12:03
                                                                                                                              pm
   20180115020     Tuberculosis     Additional symptoms:            na                                            Mobley,     01-15-
                   Screening                                                                                      Jessica     2018
                   Questionnaire                                                                                              12:03
                                                                                                                              pm
   20180115020     Tuberculosis     Additional risk factors:        na                                            Mobley,     01-15-
                   Screening                                                                                      Jessica     2018
                   Questionnaire                                                                                              12:03
                                                                                                                              pm
   20180115020     Tuberculosis     CONSIDER FOR ISOLATION N/A                                                    Mobley,     01-15-
                   Screening        AND URGENT                                                                    Jessica     2018
                   Questionnaire
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                            NOTIFICATION OF ID             108                                                           12:03
                                    COORDINATOR IF:                                                                                        pm
   20180115020     Tuberculosis     ADDITIONAL                      No indication requiring immediate PPD, schedule routine   Mobley,      01-15-
                   Screening        DISPOSITIONS:                   PPD                                                       Jessica      2018
                   Questionnaire                                                                                                           12:03
                                                                                                                                           pm
   20180115020     Restrictive      Medical record reviewed for     Yes                                                       Mobley,      01-15-
                   Housing          Contraindications?                                                                        Jessica      2018
                   Clearance                                                                                                               12:04
                                                                                                                                           pm
   20180115020     Restrictive      Chronic Care (specify at        No                                                        Mobley,      01-15-
                   Housing          right)                                                                                    Jessica      2018
                   Clearance                                                                                                               12:04
                                                                                                                                           pm
   20180115020     Restrictive      Mental Health Patient           Yes                                                       Mobley,      01-15-
                   Housing                                                                                                    Jessica      2018
                   Clearance                                                                                                               12:04
                                                                                                                                           pm
   20180115020     Restrictive      Special Needs (specify at       No                                                        Mobley,      01-15-
                   Housing          right)                                                                                    Jessica      2018
                   Clearance                                                                                                               12:04
                                                                                                                                           pm
   20180115020     Restrictive      Injuries Reported (specify at   No                                                        Mobley,      01-15-
                   Housing          right)                                                                                    Jessica      2018
                   Clearance                                                                                                               12:04
                                                                                                                                           pm
   20180115020     Restrictive      Check all that apply            Alert/Oriented                                            Mobley,      01-15-
                   Housing                                                                                                    Jessica      2018
                   Clearance                                                                                                               12:04
                                                                                                                                           pm
   20180115020     Restrictive      Check all that apply            Cooperative                                               Mobley,      01-15-
                   Housing                                                                                                    Jessica      2018
                   Clearance                                                                                                               12:04
                                                                                                                                           pm
   20180115020     Restrictive      Request for Medical             No                                                        Mobley,      01-15-
                   Housing          Services?                                                                                 Jessica      2018
                   Clearance                                                                                                               12:04
                                                                                                                                           pm
   20180115020     Restrictive      Request for Mental Health       No                                                        Mobley,      01-15-
                   Housing          Services?                                                                                 Jessica      2018
                   Clearance                                                                                                               12:04
                                                                                                                                           pm
   20180115020     Restrictive      Precautions Recommended?        Suicide Precautions                                       Mobley,      01-15-
                   Housing          (specify at right)                                                                        Jessica      2018
                   Clearance                                                                                                               12:04
                                                                                                                                           pm
   20180115020     Classification Relocation Need:                  remove from F21 SW, rehouse                               True, Rob    01-16-
                   Communcation                                                                                                            2018
                   / Relocation                                                                                                            7:48 am
                   Form
   20180115020     Classification Housing Accommodations:           ,                                                         True, Rob    01-16-
                   Communcation                                                                                                            2018
                   / Relocation                                                                                                            7:48 am
                   Form
   20180115020     Classification Relocation Need:                  Other (Specify) (to seg 11 per d.o)                       Elkins, T.   01-16-
                   Communcation                                                                                                            2018
                   / Relocation                                                                                                            9:50 am
                   Form
   20180115020     Restrictive      Medical record reviewed for     Yes                                                       Elkins, T.   01-16-
                   Housing          Contraindications?                                                                                     2018
                   Clearance                                                                                                               9:52 am
   20180115020     Restrictive      Chronic Care (specify at        No                                                        Elkins, T.   01-16-
                   Housing          right)                                                                                                 2018
                   Clearance                                                                                                               9:52 am
   20180115020     Restrictive      Mental Health Patient           No                                                        Elkins, T.   01-16-
                   Housing                                                                                                                 2018
                   Clearance                                                                                                               9:52 am
   20180115020     Restrictive      Special Needs (specify at       No                                                        Elkins, T.   01-16-
                   Housing          right)                                                                                                 2018

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                  Clearance                              108                                                           9:52 am
   20180115020     Restrictive      Injuries Reported (specify at   No                                                        Elkins, T.   01-16-
                   Housing          right)                                                                                                 2018
                   Clearance                                                                                                               9:52 am
   20180115020     Restrictive      Check all that apply            Alert/Oriented                                            Elkins, T.   01-16-
                   Housing                                                                                                                 2018
                   Clearance                                                                                                               9:52 am
   20180115020     Restrictive      Check all that apply            Cooperative                                               Elkins, T.   01-16-
                   Housing                                                                                                                 2018
                   Clearance                                                                                                               9:52 am
   20180115020     Restrictive      Request for Medical             No                                                        Elkins, T.   01-16-
                   Housing          Services?                                                                                              2018
                   Clearance                                                                                                               9:52 am
   20180115020     Restrictive      Request for Mental Health       No                                                        Elkins, T.   01-16-
                   Housing          Services?                                                                                              2018
                   Clearance                                                                                                               9:52 am
   20180115020     Restrictive      Precautions Recommended?        Other (Specify) (seg clearance )                          Elkins, T.   01-16-
                   Housing          (specify at right)                                                                                     2018
                   Clearance                                                                                                               9:52 am
   20180115020     Restrictive      Additional Comments             no additional comments                                    Elkins, T.   01-16-
                   Housing                                                                                                                 2018
                   Clearance                                                                                                               9:52 am
   20180115020     Restrictive      Additional Orders               no new orders.                                            Elkins, T.   01-16-
                   Housing                                                                                                                 2018
                   Clearance                                                                                                               9:52 am
   20180115020     Mental Health    Reason For Encounter            Follow-up                                                 True, Rob    01-16-
                   - Rounds /                                                                                                              2018
                   Follow-up                                                                                                               9:58 am
                   Note
   20180115020     Mental Health    Diagnosis                       deferred                                                  True, Rob    01-16-
                   - Rounds /                                                                                                              2018
                   Follow-up                                                                                                               9:58 am
                   Note
   20180115020     Mental Health    Current Observations            Alert / No Distress                                       True, Rob    01-16-
                   - Rounds /                                                                                                              2018
                   Follow-up                                                                                                               9:58 am
                   Note
   20180115020     Mental Health    Current Medications             none                                                      True, Rob    01-16-
                   - Rounds /                                                                                                              2018
                   Follow-up                                                                                                               9:58 am
                   Note
   20180115020     Mental Health    Treatment Compliance            Not Applicable                                            True, Rob    01-16-
                   - Rounds /                                                                                                              2018
                   Follow-up                                                                                                               9:58 am
                   Note
   20180115020     Mental Health    Encounter Summary               Pt presents with euthymic mood and congruent affect. pt   True, Rob    01-16-
                   - Rounds /                                       denies suicidal ideation or intent. pt cleared from SW.                2018
                   Follow-up                                                                                                               9:58 am
                   Note
   20180115020     Mental Health    Follow-up Required              follow-up with MH in 7 days                               True, Rob    01-16-
                   - Rounds /                                                                                                              2018
                   Follow-up                                                                                                               9:58 am
                   Note
   20180115020     Restrictive      Current Observations            Alert / No Distress                                       Pauley,      01-17-
                   Housing                                                                                                    LPN,         2018
                   Rounds                                                                                                     Carson       6:28 pm
   20180115020     Restrictive      Request for Medical             No                                                        Pauley,      01-17-
                   Housing          Services?                                                                                 LPN,         2018
                   Rounds                                                                                                     Carson       6:28 pm
   20180115020     Restrictive      Request for Mental Health       No                                                        Pauley,      01-17-
                   Housing          Services?                                                                                 LPN,         2018
                   Rounds                                                                                                     Carson       6:28 pm
   20180115020     Restrictive      Request for Dental Services?    No                                                        Pauley,      01-17-
                   Housing                                                                                                    LPN,         2018
                   Rounds                                                                                                     Carson       6:28 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                             Pauley,      01-17-
                   Housing          Follow Up if Required. Please                                                             LPN,         2018
                   Rounds           be as detailed as possible.                                                               Carson       6:28 pm
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   20180115020 Mental Health Reason For Encounter
                                                             108
                                                     Segregation Round                                            Irvin,   01-18-
                   - Rounds /                                                                                                     Psychlogist, 2018
                   Follow-up                                                                                                      Alicia       4:02 pm
                   Note
   20180115020     Mental Health    Diagnosis                      Deferred                                                       Irvin,       01-18-
                   - Rounds /                                                                                                     Psychlogist, 2018
                   Follow-up                                                                                                      Alicia       4:02 pm
                   Note
   20180115020     Mental Health    Current Observations           Alert / No Distress                                            Irvin,       01-18-
                   - Rounds /                                                                                                     Psychlogist, 2018
                   Follow-up                                                                                                      Alicia       4:02 pm
                   Note
   20180115020     Mental Health    Current Medications            none                                                           Irvin,       01-18-
                   - Rounds /                                                                                                     Psychlogist, 2018
                   Follow-up                                                                                                      Alicia       4:02 pm
                   Note
   20180115020     Mental Health    Treatment Compliance           Not Applicable                                                 Irvin,       01-18-
                   - Rounds /                                                                                                     Psychlogist, 2018
                   Follow-up                                                                                                      Alicia       4:02 pm
                   Note
   20180115020     Mental Health    Encounter Summary              I/M stated he is doing fine. No issues or concerns reported.   Irvin,       01-18-
                   - Rounds /                                      No SI or plans.                                                Psychlogist, 2018
                   Follow-up                                                                                                      Alicia       4:02 pm
                   Note
   20180115020     Mental Health    Follow-up Required             f/u in 1 week while in seg                                     Irvin,       01-18-
                   - Rounds /                                                                                                     Psychlogist, 2018
                   Follow-up                                                                                                      Alicia       4:02 pm
                   Note
   20180115020     Restrictive      Current Observations           Alert / No Distress                                            Pauley,      01-18-
                   Housing                                                                                                        LPN,         2018
                   Rounds                                                                                                         Carson       7:22 pm
   20180115020     Restrictive      Request for Medical            No                                                             Pauley,      01-18-
                   Housing          Services?                                                                                     LPN,         2018
                   Rounds                                                                                                         Carson       7:22 pm
   20180115020     Restrictive      Request for Mental Health      No                                                             Pauley,      01-18-
                   Housing          Services?                                                                                     LPN,         2018
                   Rounds                                                                                                         Carson       7:22 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                             Pauley,      01-18-
                   Housing                                                                                                        LPN,         2018
                   Rounds                                                                                                         Carson       7:22 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                 Pauley,      01-18-
                   Housing          Follow Up if Required. Please                                                                 LPN,         2018
                   Rounds           be as detailed as possible.                                                                   Carson       7:22 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                                            Pauley,      01-19-
                   Housing                                                                                                        LPN,         2018
                   Rounds                                                                                                         Carson       4:08 pm
   20180115020     Restrictive      Request for Medical            No                                                             Pauley,      01-19-
                   Housing          Services?                                                                                     LPN,         2018
                   Rounds                                                                                                         Carson       4:08 pm
   20180115020     Restrictive      Request for Mental Health      No                                                             Pauley,      01-19-
                   Housing          Services?                                                                                     LPN,         2018
                   Rounds                                                                                                         Carson       4:08 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                             Pauley,      01-19-
                   Housing                                                                                                        LPN,         2018
                   Rounds                                                                                                         Carson       4:08 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                 Pauley,      01-19-
                   Housing          Follow Up if Required. Please                                                                 LPN,         2018
                   Rounds           be as detailed as possible.                                                                   Carson       4:08 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                                            Rhinehart,   01-20-
                   Housing                                                                                                        Jennifer     2018
                   Rounds                                                                                                                      11:05 am
   20180115020     Restrictive      Request for Medical            No                                                             Rhinehart,   01-20-
                   Housing          Services?                                                                                     Jennifer     2018
                   Rounds                                                                                                                      11:05 am
   20180115020     Restrictive      Request for Mental Health      No                                                             Rhinehart,   01-20-
                   Housing          Services?                                                                                     Jennifer     2018
                   Rounds                                                                                                                      11:05 am


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   20180115020 Restrictive Request for Dental Services? No    108                                                  Rhinehart, 01-20-
                   Housing                                                                                                        Jennifer     2018
                   Rounds                                                                                                                      11:05 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                 Rhinehart,   01-20-
                   Housing          Follow Up if Required. Please                                                                 Jennifer     2018
                   Rounds           be as detailed as possible.                                                                                11:05 am
   20180115020     Restrictive      Current Observations           Alert / No Distress                                            Rhinehart,   01-21-
                   Housing                                                                                                        Jennifer     2018
                   Rounds                                                                                                                      10:07
                                                                                                                                               am
   20180115020     Restrictive      Request for Medical            No                                                             Rhinehart,   01-21-
                   Housing          Services?                                                                                     Jennifer     2018
                   Rounds                                                                                                                      10:07
                                                                                                                                               am
   20180115020     Restrictive      Request for Mental Health      No                                                             Rhinehart,   01-21-
                   Housing          Services?                                                                                     Jennifer     2018
                   Rounds                                                                                                                      10:07
                                                                                                                                               am
   20180115020     Restrictive      Request for Dental Services?   No                                                             Rhinehart,   01-21-
                   Housing                                                                                                        Jennifer     2018
                   Rounds                                                                                                                      10:07
                                                                                                                                               am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                 Rhinehart,   01-21-
                   Housing          Follow Up if Required. Please                                                                 Jennifer     2018
                   Rounds           be as detailed as possible.                                                                                10:07
                                                                                                                                               am
   20180115020     Mental Health    Current Housing Status         Segregation                                                    Lewis,        01-21-
                   - Psychiatry                                                                                                   Psychiatrist, 2018
                   Note                                                                                                           Jawaun        12:24
                                                                                                                                                pm
   20180115020     Mental Health    Reason For Mental Health       Medical Staff Request                                          Lewis,        01-21-
                   - Psychiatry     Encounter                                                                                     Psychiatrist, 2018
                   Note                                                                                                           Jawaun        12:24
                                                                                                                                                pm
   20180115020     Mental Health    Patient's Report of Current    Pt reports a/v hallucinations and feeling irritable and        Lewis,        01-21-
                   - Psychiatry     Functioning                    paranoid report a dx of "par schiz bipolar and anxiety."       Psychiatrist, 2018
                   Note                                                                                                           Jawaun        12:24
                                                                                                                                                pm
   20180115020     Mental Health    Current Medications            Albuterol Sulfate Inhalation Nebulizer Sol. 0.083% Sol. BID;   Lewis,        01-21-
                   - Psychiatry                                    Directions: 1 Sol. By Inhalation BID;                          Psychiatrist, 2018
                   Note                                                                                                           Jawaun        12:24
                                                                                                                                                pm
   20180115020     Mental Health    Appearance (check all that     Adequately Groomed                                             Lewis,        01-21-
                   - Psychiatry     apply)                                                                                        Psychiatrist, 2018
                   Note                                                                                                           Jawaun        12:24
                                                                                                                                                pm
   20180115020     Mental Health    Behavior (check all that       Cooperative                                                    Lewis,        01-21-
                   - Psychiatry     apply)                                                                                        Psychiatrist, 2018
                   Note                                                                                                           Jawaun        12:24
                                                                                                                                                pm
   20180115020     Mental Health    Alert                          Yes                                                            Lewis,        01-21-
                   - Psychiatry                                                                                                   Psychiatrist, 2018
                   Note                                                                                                           Jawaun        12:24
                                                                                                                                                pm
   20180115020     Mental Health    Orientation: Oriented to       Yes                                                            Lewis,        01-21-
                   - Psychiatry     person, place, time and                                                                       Psychiatrist, 2018
                   Note             situation?                                                                                    Jawaun        12:24
                                                                                                                                                pm
   20180115020     Mental Health    Mood                           Irritable                                                      Lewis,        01-21-
                   - Psychiatry                                                                                                   Psychiatrist, 2018
                   Note                                                                                                           Jawaun        12:24
                                                                                                                                                pm
   20180115020     Mental Health    Affect                         Appropriate                                                    Lewis,        01-21-
                   - Psychiatry                                                                                                   Psychiatrist, 2018
                   Note                                                                                                           Jawaun        12:24
                                                                                                                                                pm
   20180115020     Mental Health    Affect congruent with          Yes                                                            Lewis,        01-21-
                   - Psychiatry     thoughts and mood?                                                                            Psychiatrist, 2018
                   Note                                                                                                           Jawaun        12:24
                                                                                                                                                pm
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   20180115020 Mental Health Perception
                                                             108
                                                     Reported hallucinations within past 90 days                      Lewis,   01-21-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        12:24
                                                                                                                                            pm
   20180115020     Mental Health    If hallucinations, note the type as above                                                 Lewis,        01-21-
                   - Psychiatry     (e.g. auditory, visual, tactile,                                                          Psychiatrist, 2018
                   Note             gustatory, olfactory) and                                                                 Jawaun        12:24
                                    context of hallucinations                                                                               pm
   20180115020     Mental Health    Speech                          Appropriate                                               Lewis,        01-21-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        12:24
                                                                                                                                            pm
   20180115020     Mental Health    Thought Processes/Content       Goal-Directed                                             Lewis,        01-21-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        12:24
                                                                                                                                            pm
   20180115020     Mental Health    Memory                          Memory functions grossly intact                           Lewis,        01-21-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        12:24
                                                                                                                                            pm
   20180115020     Mental Health    Insight                         Fair                                                      Lewis,        01-21-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        12:24
                                                                                                                                            pm
   20180115020     Mental Health    Judgment                        Fair                                                      Lewis,        01-21-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        12:24
                                                                                                                                            pm
   20180115020     Mental Health    Suicidal/Homicidal Ideation -   Denied                                                    Lewis,        01-21-
                   - Psychiatry     Reported thoughts/plans of                                                                Psychiatrist, 2018
                   Note             self-injury/homicide:                                                                     Jawaun        12:24
                                                                                                                                            pm
   20180115020     Mental Health    Psychotropic Medication         Medication prescribed historically                        Lewis,        01-21-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        12:24
                                                                                                                                            pm
   20180115020     Mental Health    If medication prescribed        Non-Compliant                                             Lewis,        01-21-
                   - Psychiatry     historically                                                                              Psychiatrist, 2018
                   Note                                                                                                       Jawaun        12:24
                                                                                                                                            pm
   20180115020     Mental Health    Participation                   Active engagement                                         Lewis,        01-21-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        12:24
                                                                                                                                            pm
   20180115020     Mental Health    Provisional DSM 5 Diagnosis     psychosis/mood unspecified                                Lewis,        01-21-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        12:24
                                                                                                                                            pm
   20180115020     Mental Health    Current symptom severity        Moderate - Minor impact on inmate's ability to function   Lewis,        01-21-
                   - Psychiatry                                     satisfactorily in the current setting.                    Psychiatrist, 2018
                   Note                                                                                                       Jawaun        12:24
                                                                                                                                            pm
   20180115020     Mental Health    Progress after mental health    No Change                                                 Lewis,        01-21-
                   - Psychiatry     encounter                                                                                 Psychiatrist, 2018
                   Note                                                                                                       Jawaun        12:24
                                                                                                                                            pm
   20180115020     Mental Health    Overall progress                No Change                                                 Lewis,        01-21-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        12:24
                                                                                                                                            pm
   20180115020     Mental Health    Treatment Plan                  Start Medications                                         Lewis,        01-21-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        12:24
                                                                                                                                            pm
   20180115020     Mental Health    Medication Orders               zoloft 50 mg qhs zyprexa 5 mg am 10 mg qhs                Lewis,        01-21-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        12:24
                                                                                                                                            pm
   20180115020     Mental Health    Medication Consent Verified     No                                                        Lewis,       01-21-

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                  - Psychiatry                           108                                                  Psychiatrist, 2018
                   Note                                                                                                         Jawaun       12:24
                                                                                                                                             pm
   20180115020     Mental Health    Follow-up:                      Psychiatry follow-up 90 days                                Lewis,        01-21-
                   - Psychiatry                                                                                                 Psychiatrist, 2018
                   Note                                                                                                         Jawaun        12:24
                                                                                                                                              pm
   20180115020     Mental Health    Patient communicates a          Yes                                                         Lewis,        01-21-
                   - Psychiatry     willingness to notify                                                                       Psychiatrist, 2018
                   Note             security/medical personnel of                                                               Jawaun        12:24
                                    any suicidal/homicidal                                                                                    pm
                                    ideation or intent.
   20180115020     Mental Health    Education provided:             How to access additional health services                    Lewis,        01-21-
                   - Psychiatry                                                                                                 Psychiatrist, 2018
                   Note                                                                                                         Jawaun        12:24
                                                                                                                                              pm
   20180115020     Mental Health    Education provided:             Treatment Plan                                              Lewis,        01-21-
                   - Psychiatry                                                                                                 Psychiatrist, 2018
                   Note                                                                                                         Jawaun        12:24
                                                                                                                                              pm
   20180115020     Mental Health    Education provided:             Medication side effects reviewed                            Lewis,        01-21-
                   - Psychiatry                                                                                                 Psychiatrist, 2018
                   Note                                                                                                         Jawaun        12:24
                                                                                                                                              pm
   20180115020     Mental Health    Education provided:             Medication compliance benefits                              Lewis,        01-21-
                   - Psychiatry                                                                                                 Psychiatrist, 2018
                   Note                                                                                                         Jawaun        12:24
                                                                                                                                              pm
   20180115020     Mental Health    Education provided:             Potential for discontinuation of medications if below 75%   Lewis,        01-21-
                   - Psychiatry                                     compliant                                                   Psychiatrist, 2018
                   Note                                                                                                         Jawaun        12:24
                                                                                                                                              pm
   20180115020     Restrictive      Current Observations            Alert / No Distress                                         Pauley,      01-22-
                   Housing                                                                                                      LPN,         2018
                   Rounds                                                                                                       Carson       11:18 am
   20180115020     Restrictive      Request for Medical             No                                                          Pauley,      01-22-
                   Housing          Services?                                                                                   LPN,         2018
                   Rounds                                                                                                       Carson       11:18 am
   20180115020     Restrictive      Request for Mental Health       No                                                          Pauley,      01-22-
                   Housing          Services?                                                                                   LPN,         2018
                   Rounds                                                                                                       Carson       11:18 am
   20180115020     Restrictive      Request for Dental Services?    No                                                          Pauley,      01-22-
                   Housing                                                                                                      LPN,         2018
                   Rounds                                                                                                       Carson       11:18 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                               Pauley,      01-22-
                   Housing          Follow Up if Required. Please                                                               LPN,         2018
                   Rounds           be as detailed as possible.                                                                 Carson       11:18 am
   20180115020     Restrictive      Current Observations            Alert / No Distress                                         Pauley,      01-23-
                   Housing                                                                                                      LPN,         2018
                   Rounds                                                                                                       Carson       4:18 pm
   20180115020     Restrictive      Request for Medical             No                                                          Pauley,      01-23-
                   Housing          Services?                                                                                   LPN,         2018
                   Rounds                                                                                                       Carson       4:18 pm
   20180115020     Restrictive      Request for Mental Health       No                                                          Pauley,      01-23-
                   Housing          Services?                                                                                   LPN,         2018
                   Rounds                                                                                                       Carson       4:18 pm
   20180115020     Restrictive      Request for Dental Services?    No                                                          Pauley,      01-23-
                   Housing                                                                                                      LPN,         2018
                   Rounds                                                                                                       Carson       4:18 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                               Pauley,      01-23-
                   Housing          Follow Up if Required. Please                                                               LPN,         2018
                   Rounds           be as detailed as possible.                                                                 Carson       4:18 pm
   20180115020     Restrictive      Current Observations            Alert / No Distress                                         Pauley,      01-24-
                   Housing                                                                                                      LPN,         2018
                   Rounds                                                                                                       Carson       4:13 pm
   20180115020     Restrictive      Request for Medical             No                                                          Pauley,      01-24-
                   Housing          Services?                                                                                   LPN,         2018
                   Rounds                                                                                                       Carson       4:13 pm

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   20180115020 Restrictive Request for Mental Health  No      108                                                  Pauley,  01-24-
                   Housing          Services?                                                                                     LPN,        2018
                   Rounds                                                                                                         Carson      4:13 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                             Pauley,     01-24-
                   Housing                                                                                                        LPN,        2018
                   Rounds                                                                                                         Carson      4:13 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                 Pauley,     01-24-
                   Housing          Follow Up if Required. Please                                                                 LPN,        2018
                   Rounds           be as detailed as possible.                                                                   Carson      4:13 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                                            Pauley,     01-25-
                   Housing                                                                                                        LPN,        2018
                   Rounds                                                                                                         Carson      3:50 pm
   20180115020     Restrictive      Request for Medical            No                                                             Pauley,     01-25-
                   Housing          Services?                                                                                     LPN,        2018
                   Rounds                                                                                                         Carson      3:50 pm
   20180115020     Restrictive      Request for Mental Health      No                                                             Pauley,     01-25-
                   Housing          Services?                                                                                     LPN,        2018
                   Rounds                                                                                                         Carson      3:50 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                             Pauley,     01-25-
                   Housing                                                                                                        LPN,        2018
                   Rounds                                                                                                         Carson      3:50 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                 Pauley,     01-25-
                   Housing          Follow Up if Required. Please                                                                 LPN,        2018
                   Rounds           be as detailed as possible.                                                                   Carson      3:50 pm
   20180115020     Mental Health    Reason For Encounter           Segregation Round                                              Irvin,       01-26-
                   - Rounds /                                                                                                     Psychlogist, 2018
                   Follow-up                                                                                                      Alicia       12:47
                   Note                                                                                                                        pm
   20180115020     Mental Health    Diagnosis                      Deferred                                                       Irvin,       01-26-
                   - Rounds /                                                                                                     Psychlogist, 2018
                   Follow-up                                                                                                      Alicia       12:47
                   Note                                                                                                                        pm
   20180115020     Mental Health    Current Observations           Alert / No Distress                                            Irvin,       01-26-
                   - Rounds /                                                                                                     Psychlogist, 2018
                   Follow-up                                                                                                      Alicia       12:47
                   Note                                                                                                                        pm
   20180115020     Mental Health    Current Medications            SERTRALINE HCL 50MG TAB QD PM; Directions: 1 TAB               Irvin,       01-26-
                   - Rounds /                                      [PO] By Mouth QD PM ; OLANZAPINE 5MG TAB QD AM;                Psychlogist, 2018
                   Follow-up                                       Directions: 1 TAB [PO] By Mouth QD AM ; OLANZAPINE             Alicia       12:47
                   Note                                            10MG TAB QD PM; Directions: 1 TAB [PO] By Mouth QD                          pm
                                                                   PM ; Albuterol Sulfate Inhalation Nebulizer Sol. 0.083% Sol.
                                                                   BID; Directions: 1 Sol. By Inhalation BID;
   20180115020     Mental Health    Treatment Compliance           Compliant                                                      Irvin,       01-26-
                   - Rounds /                                                                                                     Psychlogist, 2018
                   Follow-up                                                                                                      Alicia       12:47
                   Note                                                                                                                        pm
   20180115020     Mental Health    Encounter Summary              Patient stated, "I'm good." Patient denied issues or           Irvin,       01-26-
                   - Rounds /                                      concerns. No SI or plans reported.                             Psychlogist, 2018
                   Follow-up                                                                                                      Alicia       12:47
                   Note                                                                                                                        pm
   20180115020     Mental Health    Follow-up Required             f/u in 1 week while in seg                                     Irvin,       01-26-
                   - Rounds /                                                                                                     Psychlogist, 2018
                   Follow-up                                                                                                      Alicia       12:47
                   Note                                                                                                                        pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                                            Pauley,     01-26-
                   Housing                                                                                                        LPN,        2018
                   Rounds                                                                                                         Carson      4:28 pm
   20180115020     Restrictive      Request for Medical            No                                                             Pauley,     01-26-
                   Housing          Services?                                                                                     LPN,        2018
                   Rounds                                                                                                         Carson      4:28 pm
   20180115020     Restrictive      Request for Mental Health      No                                                             Pauley,     01-26-
                   Housing          Services?                                                                                     LPN,        2018
                   Rounds                                                                                                         Carson      4:28 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                             Pauley,     01-26-
                   Housing                                                                                                        LPN,        2018
                   Rounds                                                                                                         Carson      4:28 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                 Pauley,     01-26-
                   Housing          Follow Up if Required. Please                                                                 LPN,        2018

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                  Rounds    be as detailed as possible.        108                                                  Carson   4:28 pm
   20180115020     Restrictive      Current Observations             Sleeping (Required Arrousal)                                   dearman,     01-27-
                   Housing                                                                                                          lauren       2018
                   Rounds                                                                                                                        9:44 am
   20180115020     Restrictive      Request for Medical              No                                                             dearman,     01-27-
                   Housing          Services?                                                                                       lauren       2018
                   Rounds                                                                                                                        9:44 am
   20180115020     Restrictive      Request for Mental Health        No                                                             dearman,     01-27-
                   Housing          Services?                                                                                       lauren       2018
                   Rounds                                                                                                                        9:44 am
   20180115020     Restrictive      Request for Dental Services?     No                                                             dearman,     01-27-
                   Housing                                                                                                          lauren       2018
                   Rounds                                                                                                                        9:44 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                   dearman,     01-27-
                   Housing          Follow Up if Required. Please                                                                   lauren       2018
                   Rounds           be as detailed as possible.                                                                                  9:44 am
   20180115020     Restrictive      Current Observations             Sleeping (Required Arrousal)                                   dearman,     01-28-
                   Housing                                                                                                          lauren       2018
                   Rounds                                                                                                                        9:44 am
   20180115020     Restrictive      Request for Medical              No                                                             dearman,     01-28-
                   Housing          Services?                                                                                       lauren       2018
                   Rounds                                                                                                                        9:44 am
   20180115020     Restrictive      Request for Mental Health        No                                                             dearman,     01-28-
                   Housing          Services?                                                                                       lauren       2018
                   Rounds                                                                                                                        9:44 am
   20180115020     Restrictive      Request for Dental Services?     No                                                             dearman,     01-28-
                   Housing                                                                                                          lauren       2018
                   Rounds                                                                                                                        9:44 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                   dearman,     01-28-
                   Housing          Follow Up if Required. Please                                                                   lauren       2018
                   Rounds           be as detailed as possible.                                                                                  9:44 am
   20180115020     History and      Patient Vitals Note peak flow    [blank]                                                        Stout, Kim   01-29-
                   Physical         if indicated (i.e. Asthma)                                                                                   2018
                                                                                                                                                 12:41
                                                                                                                                                 pm
   20180115020     History and      Allergies                        pcn                                                            Stout, Kim   01-29-
                   Physical                                                                                                                      2018
                                                                                                                                                 12:41
                                                                                                                                                 pm
   20180115020     History and      Current Medications              SERTRALINE HCL 50MG TAB QD PM; Directions: 1 TAB               Stout, Kim   01-29-
                   Physical                                          [PO] By Mouth QD PM ; OLANZAPINE 5MG TAB QD AM;                             2018
                                                                     Directions: 1 TAB [PO] By Mouth QD AM ; OLANZAPINE                          12:41
                                                                     10MG TAB QD PM; Directions: 1 TAB [PO] By Mouth QD                          pm
                                                                     PM ; Albuterol Sulfate Inhalation Nebulizer Sol. 0.083% Sol.
                                                                     BID; Directions: 1 Sol. By Inhalation BID;
   20180115020     History and      Initial Intake Medical, Mental   Yes                                                            Stout, Kim   01-29-
                   Physical         Health, and Tuberculosis                                                                                     2018
                                    Screening reviewed?                                                                                          12:41
                                                                                                                                                 pm
   20180115020     History and      Has a TB skin test or chest x- Yes (PPD PLANTED LFA)                                            Stout, Kim   01-29-
                   Physical         ray been completed this                                                                                      2018
                                    incarceration? If no, complete                                                                               12:41
                                    TB skin test or order chest x-                                                                               pm
                                    ray.
   20180115020     History and      History of Chronic Illness:      Lung - Asthma / Emphysema (specify) (ASTHMA LAST               Stout, Kim   01-29-
                   Physical                                          EPISODE 2012 )                                                              2018
                                                                                                                                                 12:41
                                                                                                                                                 pm
   20180115020     History and      Musculoskeletal History          Previous fractures (R BOXER FX L ELBOW FX R 5TH Stout, Kim                  01-29-
                   Physical                                          METACARPAL UNABLE TO BEND BECAUSE OF TENDON                                 2018
                                                                     LACERATION X4 MONTHS)                                                       12:41
                                                                                                                                                 pm
   20180115020     History and      Musculoskeletal History          Bone or joint deformities (R BOXER FX L ELBOW FX R 5TH Stout, Kim           01-29-
                   Physical                                          METACARPAL UNABLE TO BEND BECAUSE OF TENDON                                 2018
                                                                     LACERATION X4 MONTHS)                                                       12:41
                                                                                                                                                 pm
   20180115020     History and      Musculoskeletal History          Other (specify) (R BOXER FX L ELBOW FX R 5TH Stout, Kim                     01-29-
                   Physical                                          METACARPAL UNABLE TO BEND BECAUSE OF TENDON                                 2018

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                                                 LACERATION X4 MONTHS)                                                 12:41
                                                                                                                                         pm
   20180115020     History and      Sexually Transmitted              None Identified (PT DENIES)                           Stout, Kim   01-29-
                   Physical         Infection History (If positive                                                                       2018
                                    history, ask if they would like                                                                      12:41
                                    a STI test)                                                                                          pm
   20180115020     History and      Significant Head Injuries         PT DENIES                                             Stout, Kim   01-29-
                   Physical                                                                                                              2018
                                                                                                                                         12:41
                                                                                                                                         pm
   20180115020     History and      Substance Use or Abuse            Tobacco (type, frequency) (CIG/35D/12Y METH/DAILY)    Stout, Kim   01-29-
                   Physical                                                                                                              2018
                                                                                                                                         12:41
                                                                                                                                         pm
   20180115020     History and      Substance Use or Abuse            Drug Use (type, frequency) (CIG/35D/12Y METH/DAILY)   Stout, Kim   01-29-
                   Physical                                                                                                              2018
                                                                                                                                         12:41
                                                                                                                                         pm
   20180115020     History and      Substance Use or Abuse            IV Drug Use (CIG/35D/12Y METH/DAILY)                  Stout, Kim   01-29-
                   Physical                                                                                                              2018
                                                                                                                                         12:41
                                                                                                                                         pm
   20180115020     History and      Previous treatment for drug or Yes (DOC PROGRAMS X 2)                                   Stout, Kim   01-29-
                   Physical         alcohol abuse?                                                                                       2018
                                                                                                                                         12:41
                                                                                                                                         pm
   20180115020     History and      Previous Hospitalizations         PT DENIES                                             Stout, Kim   01-29-
                   Physical                                                                                                              2018
                                                                                                                                         12:41
                                                                                                                                         pm
   20180115020     History and      Previous Surgeries                L ELBOW FX RECONSTRUCTION WITH HARDWARE               Stout, Kim   01-29-
                   Physical                                           TONSILECTOMY                                                       2018
                                                                                                                                         12:41
                                                                                                                                         pm
   20180115020     History and      Other Health Conditions           DEPRESSION ANXIETY PARANOID SCHIZOPHRENIA             Stout, Kim   01-29-
                   Physical                                           BIPOLAR MANIAC DEPRESSION                                          2018
                                                                                                                                         12:41
                                                                                                                                         pm
   20180115020     History and      Family (genetic) health           PT DENIES                                             Stout, Kim   01-29-
                   Physical         conditions                                                                                           2018
                                                                                                                                         12:41
                                                                                                                                         pm
   20180115020     History and      Occupation                        PRIVATE CONTRACTOR                                    Stout, Kim   01-29-
                   Physical                                                                                                              2018
                                                                                                                                         12:41
                                                                                                                                         pm
   20180115020     History and      Family Status                     Single                                                Stout, Kim   01-29-
                   Physical                                                                                                              2018
                                                                                                                                         12:41
                                                                                                                                         pm
   20180115020     History and      Housing                           Live alone                                            Stout, Kim   01-29-
                   Physical                                                                                                              2018
                                                                                                                                         12:41
                                                                                                                                         pm
   20180115020     History and      Education level                   GED                                                   Stout, Kim   01-29-
                   Physical                                                                                                              2018
                                                                                                                                         12:41
                                                                                                                                         pm
   20180115020     History and      Were you in special education No                                                        Stout, Kim   01-29-
                   Physical         classes?                                                                                             2018
                                                                                                                                         12:41
                                                                                                                                         pm
   20180115020     History and      Does the patient appear to        No                                                    Stout, Kim   01-29-
                   Physical         have developmental delays?                                                                           2018
                                                                                                                                         12:41
                                                                                                                                         pm
   20180115020     History and      Have you ever been                Yes (AGE 13 OBSERVATION; CEDAR RIDGE)                 Stout, Kim   01-29-
                   Physical         hospitalized for depression, a                                                                       2018
                                    psychiatric episode or any                                                                           12:41
                                                                                                                                         pm
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                            other mental health                 108
                                    condition?
   20180115020     History and      Have you ever received            No                                           Stout, Kim   01-29-
                   Physical         counseling or outpatient                                                                    2018
                                    treatment for a mental health                                                               12:41
                                    condition?                                                                                  pm
   20180115020     History and      Have you ever taken               Yes - Current (list) (ZYPREXA ZOLOFT)        Stout, Kim   01-29-
                   Physical         medications for a mental                                                                    2018
                                    health condition?                                                                           12:41
                                                                                                                                pm
   20180115020     History and      Have you ever seriously hurt      No (PT DENIES)                               Stout, Kim   01-29-
                   Physical         yourself intentionally or tried                                                             2018
                                    to commit suicide? If so,                                                                   12:41
                                    when and how?                                                                               pm
   20180115020     History and      Are you currently considering No (PT DENIES)                                   Stout, Kim   01-29-
                   Physical         hurting yourself or committing                                                              2018
                                    suicide? If so, do you have a                                                               12:41
                                    plan?                                                                                       pm
   20180115020     History and      Do you think you are a violent No                                              Stout, Kim   01-29-
                   Physical         person?                                                                                     2018
                                                                                                                                12:41
                                                                                                                                pm
   20180115020     History and      Do other people consider you      Yes ("PROBABLY")                             Stout, Kim   01-29-
                   Physical         to be violent?                                                                              2018
                                                                                                                                12:41
                                                                                                                                pm
   20180115020     History and      How is the patient's mental       unremarkable                                 Stout, Kim   01-29-
                   Physical         status / orientation?                                                                       2018
                                                                                                                                12:41
                                                                                                                                pm
   20180115020     History and      Infectious Disease Screening      No symptoms identified (NONE NOTED)          Stout, Kim   01-29-
                   Physical         (Do you have any of the                                                                     2018
                                    following?)                                                                                 12:41
                                                                                                                                pm
   20180115020     History and      General Condition                 Unremarkable                                 Stout, Kim   01-29-
                   Physical                                                                                                     2018
                                                                                                                                12:41
                                                                                                                                pm
   20180115020     History and      Mobility                          Unremarkable                                 Stout, Kim   01-29-
                   Physical                                                                                                     2018
                                                                                                                                12:41
                                                                                                                                pm
   20180115020     History and      Vision                            DEFERRED                                     Stout, Kim   01-29-
                   Physical                                                                                                     2018
                                                                                                                                12:41
                                                                                                                                pm
   20180115020     History and      Hearing                           Unremarkable (WNL)                           Stout, Kim   01-29-
                   Physical                                                                                                     2018
                                                                                                                                12:41
                                                                                                                                pm
   20180115020     History and      Head/Eyes/Ears/Nose/Throat        Unremarkable (NONE NOTED)                    Stout, Kim   01-29-
                   Physical                                                                                                     2018
                                                                                                                                12:41
                                                                                                                                pm
   20180115020     History and      Skin                              Tracks (BILAT ARMS)                          Stout, Kim   01-29-
                   Physical                                                                                                     2018
                                                                                                                                12:41
                                                                                                                                pm
   20180115020     History and      Mouth / Dental                    BLEEDING GUMS WHEN BRUSHING; PT INSTRUCTED   Stout, Kim   01-29-
                   Physical                                           ON DENTAL HYGIENE; DENTAL PROCESS REVIEWED                2018
                                                                                                                                12:41
                                                                                                                                pm
   20180115020     History and      Lungs                             Unremarkable (CTA)                           Stout, Kim   01-29-
                   Physical                                                                                                     2018
                                                                                                                                12:41
                                                                                                                                pm
   20180115020     History and      Heart                             Unremarkable / RRR (WNL)                     Stout, Kim   01-29-
                   Physical                                                                                                     2018
                                                                                                                                12:41
                                                                                                                                pm
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   20180115020 History and Neuro
                                                         108
                                                 Unremarkable (WNL)                                           Stout, Kim 01-29-
                   Physical                                                                                               2018
                                                                                                                          12:41
                                                                                                                          pm
   20180115020     History and      Neuro                             Gait steady (WNL)                      Stout, Kim   01-29-
                   Physical                                                                                               2018
                                                                                                                          12:41
                                                                                                                          pm
   20180115020     History and      Neuro                             Grip equal (WNL)                       Stout, Kim   01-29-
                   Physical                                                                                               2018
                                                                                                                          12:41
                                                                                                                          pm
   20180115020     History and      Neuro                             Speech normal (WNL)                    Stout, Kim   01-29-
                   Physical                                                                                               2018
                                                                                                                          12:41
                                                                                                                          pm
   20180115020     History and      Neuro                             Pupils equal (WNL)                     Stout, Kim   01-29-
                   Physical                                                                                               2018
                                                                                                                          12:41
                                                                                                                          pm
   20180115020     History and      Lymph Nodes                       Unremarkable (NONE NOTED)              Stout, Kim   01-29-
                   Physical                                                                                               2018
                                                                                                                          12:41
                                                                                                                          pm
   20180115020     History and      Thyroid                           Unremarkable (NONE NOTED)              Stout, Kim   01-29-
                   Physical                                                                                               2018
                                                                                                                          12:41
                                                                                                                          pm
   20180115020     History and      Breast / Chest                    Requested Deferral                     Stout, Kim   01-29-
                   Physical                                                                                               2018
                                                                                                                          12:41
                                                                                                                          pm
   20180115020     History and      Abdomen                           Unremarkable (WNL)                     Stout, Kim   01-29-
                   Physical                                                                                               2018
                                                                                                                          12:41
                                                                                                                          pm
   20180115020     History and      Genitalila (If symptoms are       Requested Deferral                     Stout, Kim   01-29-
                   Physical         identified, collect urine for                                                         2018
                                    urinalysis)                                                                           12:41
                                                                                                                          pm
   20180115020     History and      MALES - RECTAL /                  Not indicated less than 40 years old   Stout, Kim   01-29-
                   Physical         PROSTATE                                                                              2018
                                                                                                                          12:41
                                                                                                                          pm
   20180115020     History and      FEMALES - PELVIC EXAM             Not Applicable                         Stout, Kim   01-29-
                   Physical                                                                                               2018
                                                                                                                          12:41
                                                                                                                          pm
   20180115020     History and      FEMALES - PREGNANCY               Not Applicable                         Stout, Kim   01-29-
                   Physical         TEST Has a pregnancy test                                                             2018
                                    been performed this                                                                   12:41
                                    incarceration? If yes, results?                                                       pm
                                    If no, complete test.
   20180115020     History and      Extremities                       Unremarkable (NONE NOTED)              Stout, Kim   01-29-
                   Physical                                                                                               2018
                                                                                                                          12:41
                                                                                                                          pm
   20180115020     History and      Additional Testing or Orders      NA                                     Stout, Kim   01-29-
                   Physical         Required                                                                              2018
                                                                                                                          12:41
                                                                                                                          pm
   20180115020     History and      Housing                           Other (specify) (SEG J11)              Stout, Kim   01-29-
                   Physical                                                                                               2018
                                                                                                                          12:41
                                                                                                                          pm
   20180115020     History and      Approved Medical Equipment        NA                                     Stout, Kim   01-29-
                   Physical         - Please list                                                                         2018
                                                                                                                          12:41
                                                                                                                          pm


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   20180115020 History and Restrictions                     108
                                                    No Restrictions (PENDING TB CLEARANCER)                      Stout, Kim 01-29-
                   Physical                                                                                                       2018
                                                                                                                                  12:41
                                                                                                                                  pm
   20180115020     History and      Follow-up / Referral required:   Routine Mental Health Referral (PT REQUESTING   Stout, Kim   01-29-
                   Physical                                          REFERRAL )                                                   2018
                                                                                                                                  12:41
                                                                                                                                  pm
   20180115020     History and      Additional Comments              PT VERBALIZED UNDERSTANDING OF SICKCALL         Stout, Kim   01-29-
                   Physical                                          PROCESS                                                      2018
                                                                                                                                  12:41
                                                                                                                                  pm
   20180115020     Tuberculosis     Location of TST Plant            LFA                                             Stout, Kim   01-29-
                   Skin Test -                                                                                                    2018
                   Plant                                                                                                          12:48
                                                                                                                                  pm
   20180115020     Tuberculosis     PPD 0.1ml Lot Number             C5122AA                                         Stout, Kim   01-29-
                   Skin Test -                                                                                                    2018
                   Plant                                                                                                          12:48
                                                                                                                                  pm
   20180115020     Tuberculosis     PPD 0.1 Expiration Date          03/31/2019                                      Stout, Kim   01-29-
                   Skin Test -                                                                                                    2018
                   Plant                                                                                                          12:48
                                                                                                                                  pm
   20180115020     Medical       Allergies                           pcn PENDING TB CLEARANCE                        Stout, Kim   01-29-
                   Review for                                                                                                     2018
                   Inmate Worker                                                                                                  12:49
                   Status                                                                                                         pm
   20180115020     Medical          This inmate has been            Approved for Kitchen                             Stout, Kim   01-29-
                   Review for       evaluated by Medical Staff                                                                    2018
                   Inmate Worker    and is approved for work in                                                                   12:49
                   Status           the following areas at the time                                                               pm
                                    of this evaluation.
   20180115020     Medical          This inmate has been            Approved for Outside Work                        Stout, Kim   01-29-
                   Review for       evaluated by Medical Staff                                                                    2018
                   Inmate Worker    and is approved for work in                                                                   12:49
                   Status           the following areas at the time                                                               pm
                                    of this evaluation.
   20180115020     Medical          This inmate has been            Approved for Cleaning Details                    Stout, Kim   01-29-
                   Review for       evaluated by Medical Staff                                                                    2018
                   Inmate Worker    and is approved for work in                                                                   12:49
                   Status           the following areas at the time                                                               pm
                                    of this evaluation.
   20180115020     Medical          This inmate has been            Approved for Laundry                             Stout, Kim   01-29-
                   Review for       evaluated by Medical Staff                                                                    2018
                   Inmate Worker    and is approved for work in                                                                   12:49
                   Status           the following areas at the time                                                               pm
                                    of this evaluation.
   20180115020     Restrictive      Current Observations             Alert / No Distress                             Pauley,      01-29-
                   Housing                                                                                           LPN,         2018
                   Rounds                                                                                            Carson       3:56 pm
   20180115020     Restrictive      Request for Medical              No                                              Pauley,      01-29-
                   Housing          Services?                                                                        LPN,         2018
                   Rounds                                                                                            Carson       3:56 pm
   20180115020     Restrictive      Request for Mental Health        No                                              Pauley,      01-29-
                   Housing          Services?                                                                        LPN,         2018
                   Rounds                                                                                            Carson       3:56 pm
   20180115020     Restrictive      Request for Dental Services?     No                                              Pauley,      01-29-
                   Housing                                                                                           LPN,         2018
                   Rounds                                                                                            Carson       3:56 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                    Pauley,      01-29-
                   Housing          Follow Up if Required. Please                                                    LPN,         2018
                   Rounds           be as detailed as possible.                                                      Carson       3:56 pm
   20180115020     Restrictive      Current Observations             Sleeping (Required Arrousal)                    Craghead,    01-30-
                   Housing                                                                                           Kristina     2018
                   Rounds                                                                                                         12:00
                                                                                                                                  pm
   20180115020     Restrictive      Request for Medical              No                                              Craghead,    01-30-
                   Housing          Services?                                                                        Kristina     2018
                   Rounds
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                                                         108                                                           12:00
                                                                                                                        pm
   20180115020     Restrictive      Request for Mental Health      No                                       Craghead,   01-30-
                   Housing          Services?                                                               Kristina    2018
                   Rounds                                                                                               12:00
                                                                                                                        pm
   20180115020     Restrictive      Request for Dental Services?   No                                       Craghead,   01-30-
                   Housing                                                                                  Kristina    2018
                   Rounds                                                                                               12:00
                                                                                                                        pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Craghead,   01-30-
                   Housing          Follow Up if Required. Please                                           Kristina    2018
                   Rounds           be as detailed as possible.                                                         12:00
                                                                                                                        pm
   20180115020     Tuberculosis     Date Read                      01/31/2018                               Chaplin,    01-31-
                   Skin Test -                                                                              Adrienne    2018
                   Read                                                                                                 8:19 pm
   20180115020     Tuberculosis     Result in mm                   0 mm                                     Chaplin,    01-31-
                   Skin Test -                                                                              Adrienne    2018
                   Read                                                                                                 8:19 pm
   20180115020     Tuberculosis     TST is: Please Note that:      Negative (0 MM)                          Chaplin,    01-31-
                   Skin Test -      Positive if 10 mm or greater                                            Adrienne    2018
                   Read             INDURATION (NOT                                                                     8:19 pm
                                    REDNESS) or 5 mm for HIV
                                    patients
   20180115020     Restrictive      Current Observations           Alert / No Distress                      Pauley,     02-01-
                   Housing                                                                                  LPN,        2018
                   Rounds                                                                                   Carson      3:21 pm
   20180115020     Restrictive      Request for Medical            No                                       Pauley,     02-01-
                   Housing          Services?                                                               LPN,        2018
                   Rounds                                                                                   Carson      3:21 pm
   20180115020     Restrictive      Request for Mental Health      No                                       Pauley,     02-01-
                   Housing          Services?                                                               LPN,        2018
                   Rounds                                                                                   Carson      3:21 pm
   20180115020     Restrictive      Request for Dental Services?   No                                       Pauley,     02-01-
                   Housing                                                                                  LPN,        2018
                   Rounds                                                                                   Carson      3:21 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Pauley,     02-01-
                   Housing          Follow Up if Required. Please                                           LPN,        2018
                   Rounds           be as detailed as possible.                                             Carson      3:21 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                      Pauley,     02-02-
                   Housing                                                                                  LPN,        2018
                   Rounds                                                                                   Carson      2:56 pm
   20180115020     Restrictive      Request for Medical            No                                       Pauley,     02-02-
                   Housing          Services?                                                               LPN,        2018
                   Rounds                                                                                   Carson      2:56 pm
   20180115020     Restrictive      Request for Mental Health      No                                       Pauley,     02-02-
                   Housing          Services?                                                               LPN,        2018
                   Rounds                                                                                   Carson      2:56 pm
   20180115020     Restrictive      Request for Dental Services?   No                                       Pauley,     02-02-
                   Housing                                                                                  LPN,        2018
                   Rounds                                                                                   Carson      2:56 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Pauley,     02-02-
                   Housing          Follow Up if Required. Please                                           LPN,        2018
                   Rounds           be as detailed as possible.                                             Carson      2:56 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress ("I'm good")         Fox, LPC,   02-03-
                   Housing                                                                                  John        2018
                   Rounds                                                                                               3:33 pm
   20180115020     Restrictive      Request for Medical            No                                       Fox, LPC,   02-03-
                   Housing          Services?                                                               John        2018
                   Rounds                                                                                               3:33 pm
   20180115020     Restrictive      Request for Mental Health      No                                       Fox, LPC,   02-03-
                   Housing          Services?                                                               John        2018
                   Rounds                                                                                               3:33 pm
   20180115020     Restrictive      Request for Dental Services?   No                                       Fox, LPC,   02-03-
                   Housing                                                                                  John        2018
                   Rounds                                                                                               3:33 pm


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   20180115020 Restrictive Comments/Concerns and          108
                                                  No Referral Needed at this time (Patient reports adaptive       Fox, LPC, 02-03-
                   Housing          Follow Up if Required. Please functioning within the current incarcerated environment.        John     2018
                   Rounds           be as detailed as possible.   Patient reports no suicidal ideation or intent. Patient reports          3:33 pm
                                                                  knowledge of how to request Mental Health services. Mental
                                                                  health will follow-up weekly while housed in J11
                                                                  Segregation. Maintain current housing assignment. Patient
                                                                  provided a recreational handout which was accepted. )
   20180115020     Restrictive      Current Observations           Alert / No Distress                                           Pauley,   02-05-
                   Housing                                                                                                       LPN,      2018
                   Rounds                                                                                                        Carson    4:49 pm
   20180115020     Restrictive      Request for Medical            No                                                            Pauley,   02-05-
                   Housing          Services?                                                                                    LPN,      2018
                   Rounds                                                                                                        Carson    4:49 pm
   20180115020     Restrictive      Request for Mental Health      No                                                            Pauley,   02-05-
                   Housing          Services?                                                                                    LPN,      2018
                   Rounds                                                                                                        Carson    4:49 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                            Pauley,   02-05-
                   Housing                                                                                                       LPN,      2018
                   Rounds                                                                                                        Carson    4:49 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                Pauley,   02-05-
                   Housing          Follow Up if Required. Please                                                                LPN,      2018
                   Rounds           be as detailed as possible.                                                                  Carson    4:49 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                                           Pauley,   02-06-
                   Housing                                                                                                       LPN,      2018
                   Rounds                                                                                                        Carson    2:43 pm
   20180115020     Restrictive      Request for Medical            No                                                            Pauley,   02-06-
                   Housing          Services?                                                                                    LPN,      2018
                   Rounds                                                                                                        Carson    2:43 pm
   20180115020     Restrictive      Request for Mental Health      No                                                            Pauley,   02-06-
                   Housing          Services?                                                                                    LPN,      2018
                   Rounds                                                                                                        Carson    2:43 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                            Pauley,   02-06-
                   Housing                                                                                                       LPN,      2018
                   Rounds                                                                                                        Carson    2:43 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                Pauley,   02-06-
                   Housing          Follow Up if Required. Please                                                                LPN,      2018
                   Rounds           be as detailed as possible.                                                                  Carson    2:43 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                                           Pauley,   02-07-
                   Housing                                                                                                       LPN,      2018
                   Rounds                                                                                                        Carson    4:42 pm
   20180115020     Restrictive      Request for Medical            No                                                            Pauley,   02-07-
                   Housing          Services?                                                                                    LPN,      2018
                   Rounds                                                                                                        Carson    4:42 pm
   20180115020     Restrictive      Request for Mental Health      No                                                            Pauley,   02-07-
                   Housing          Services?                                                                                    LPN,      2018
                   Rounds                                                                                                        Carson    4:42 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                            Pauley,   02-07-
                   Housing                                                                                                       LPN,      2018
                   Rounds                                                                                                        Carson    4:42 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                Pauley,   02-07-
                   Housing          Follow Up if Required. Please                                                                LPN,      2018
                   Rounds           be as detailed as possible.                                                                  Carson    4:42 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                                           Pauley,   02-08-
                   Housing                                                                                                       LPN,      2018
                   Rounds                                                                                                        Carson    5:19 pm
   20180115020     Restrictive      Request for Medical            No                                                            Pauley,   02-08-
                   Housing          Services?                                                                                    LPN,      2018
                   Rounds                                                                                                        Carson    5:19 pm
   20180115020     Restrictive      Request for Mental Health      No                                                            Pauley,   02-08-
                   Housing          Services?                                                                                    LPN,      2018
                   Rounds                                                                                                        Carson    5:19 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                            Pauley,   02-08-
                   Housing                                                                                                       LPN,      2018
                   Rounds                                                                                                        Carson    5:19 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                Pauley,   02-08-
                   Housing          Follow Up if Required. Please                                                                LPN,      2018
                   Rounds           be as detailed as possible.                                                                  Carson    5:19 pm


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   20180115020 Mental Health Reason For Encounter            108
                                                     Segregation Round                                            Irvin,   02-09-
                   - Rounds /                                                                                                    Psychlogist, 2018
                   Follow-up                                                                                                     Alicia       10:40
                   Note                                                                                                                       am
   20180115020     Mental Health    Diagnosis                     Deferred; r/o Anxiety Disorder                                 Irvin,       02-09-
                   - Rounds /                                                                                                    Psychlogist, 2018
                   Follow-up                                                                                                     Alicia       10:40
                   Note                                                                                                                       am
   20180115020     Mental Health    Current Observations          Alert / No Distress                                            Irvin,       02-09-
                   - Rounds /                                                                                                    Psychlogist, 2018
                   Follow-up                                                                                                     Alicia       10:40
                   Note                                                                                                                       am
   20180115020     Mental Health    Current Medications           PAROXETINE HCL 30MG TAB QD PM; Directions: 1 TAB               Irvin,       02-09-
                   - Rounds /                                     By Mouth QD PM; PAROXETINE HCL 20MG TAB QD PM;                 Psychlogist, 2018
                   Follow-up                                      Directions: 1 TAB By Mouth QD PM; PAROXETINE HCL               Alicia       10:40
                   Note                                           10MG TAB QD PM; Directions: 1 TAB By Mouth QD PM;                           am
                                                                  Albuterol Sulfate Inhalation Nebulizer Sol. 0.083% Sol. BID;
                                                                  Directions: 1 Sol. By Inhalation BID;
   20180115020     Mental Health    Treatment Compliance          Compliant                                                      Irvin,       02-09-
                   - Rounds /                                                                                                    Psychlogist, 2018
                   Follow-up                                                                                                     Alicia       10:40
                   Note                                                                                                                       am
   20180115020     Mental Health    Encounter Summary             Patient stated he is doing much better since med change.       Irvin,       02-09-
                   - Rounds /                                     He denied any issues or concerns. No SI or plans.              Psychlogist, 2018
                   Follow-up                                                                                                     Alicia       10:40
                   Note                                                                                                                       am
   20180115020     Mental Health    Follow-up Required            f/u in 1 week                                                  Irvin,       02-09-
                   - Rounds /                                                                                                    Psychlogist, 2018
                   Follow-up                                                                                                     Alicia       10:40
                   Note                                                                                                                       am
   20180115020     Mental Health    Current Housing Status        Segregation                                                    Lewis,        02-09-
                   - Psychiatry                                                                                                  Psychiatrist, 2018
                   Note                                                                                                          Jawaun        11:37 am
   20180115020     Mental Health    Reason For Mental Health      Patient Request                                                Lewis,        02-09-
                   - Psychiatry     Encounter                                                                                    Psychiatrist, 2018
                   Note                                                                                                          Jawaun        11:37 am
   20180115020     Mental Health    Patient's Report of Current   Pt reports that he stopped the zyprexa because it made the     Lewis,        02-09-
                   - Psychiatry     Functioning                   "noises worse." reports still hearing things in his ears and   Psychiatrist, 2018
                   Note                                           would like something to help.                                  Jawaun        11:37 am
   20180115020     Mental Health    Current Medications           PAROXETINE HCL 30MG TAB QD PM; Directions: 1 TAB               Lewis,        02-09-
                   - Psychiatry                                   By Mouth QD PM; PAROXETINE HCL 20MG TAB QD PM;                 Psychiatrist, 2018
                   Note                                           Directions: 1 TAB By Mouth QD PM; PAROXETINE HCL               Jawaun        11:37 am
                                                                  10MG TAB QD PM; Directions: 1 TAB By Mouth QD PM;
                                                                  Albuterol Sulfate Inhalation Nebulizer Sol. 0.083% Sol. BID;
                                                                  Directions: 1 Sol. By Inhalation BID;
   20180115020     Mental Health    Appearance (check all that    Adequately Groomed                                             Lewis,        02-09-
                   - Psychiatry     apply)                                                                                       Psychiatrist, 2018
                   Note                                                                                                          Jawaun        11:37 am
   20180115020     Mental Health    Behavior (check all that      Cooperative                                                    Lewis,        02-09-
                   - Psychiatry     apply)                                                                                       Psychiatrist, 2018
                   Note                                                                                                          Jawaun        11:37 am
   20180115020     Mental Health    Alert                         Yes                                                            Lewis,        02-09-
                   - Psychiatry                                                                                                  Psychiatrist, 2018
                   Note                                                                                                          Jawaun        11:37 am
   20180115020     Mental Health    Orientation: Oriented to      Yes                                                            Lewis,        02-09-
                   - Psychiatry     person, place, time and                                                                      Psychiatrist, 2018
                   Note             situation?                                                                                   Jawaun        11:37 am
   20180115020     Mental Health    Mood                          Euthymic/pleasent                                              Lewis,        02-09-
                   - Psychiatry                                                                                                  Psychiatrist, 2018
                   Note                                                                                                          Jawaun        11:37 am
   20180115020     Mental Health    Affect                        Appropriate                                                    Lewis,        02-09-
                   - Psychiatry                                                                                                  Psychiatrist, 2018
                   Note                                                                                                          Jawaun        11:37 am
   20180115020     Mental Health    Affect congruent with         Yes                                                            Lewis,        02-09-
                   - Psychiatry     thoughts and mood?                                                                           Psychiatrist, 2018
                   Note                                                                                                          Jawaun        11:37 am
   20180115020     Mental Health    Perception                    Denied hallucinations within past 90 days                      Lewis,        02-09-
                   - Psychiatry                                                                                                  Psychiatrist, 2018
                   Note                                                                                                          Jawaun        11:37 am

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   20180115020 Mental Health Speech                         108
                                                    Appropriate                                                  Lewis,   02-09-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:37 am
   20180115020     Mental Health    Thought Processes/Content       Goal-Directed                                             Lewis,        02-09-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:37 am
   20180115020     Mental Health    Memory                          Memory functions grossly intact                           Lewis,        02-09-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:37 am
   20180115020     Mental Health    Insight                         Fair                                                      Lewis,        02-09-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:37 am
   20180115020     Mental Health    Judgment                        Poor                                                      Lewis,        02-09-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:37 am
   20180115020     Mental Health    Suicidal/Homicidal Ideation -   Denied                                                    Lewis,        02-09-
                   - Psychiatry     Reported thoughts/plans of                                                                Psychiatrist, 2018
                   Note             self-injury/homicide:                                                                     Jawaun        11:37 am
   20180115020     Mental Health    Psychotropic Medication         Medication prescribed historically                        Lewis,        02-09-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:37 am
   20180115020     Mental Health    If medication prescribed        Non-Compliant                                             Lewis,        02-09-
                   - Psychiatry     historically                                                                              Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:37 am
   20180115020     Mental Health    Participation                   Active engagement                                         Lewis,        02-09-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:37 am
   20180115020     Mental Health    Provisional DSM 5 Diagnosis     no change                                                 Lewis,        02-09-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:37 am
   20180115020     Mental Health    Current symptom severity        Moderate - Minor impact on inmate's ability to function   Lewis,        02-09-
                   - Psychiatry                                     satisfactorily in the current setting.                    Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:37 am
   20180115020     Mental Health    Progress after mental health    No Change                                                 Lewis,        02-09-
                   - Psychiatry     encounter                                                                                 Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:37 am
   20180115020     Mental Health    Overall progress                No Change                                                 Lewis,        02-09-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:37 am
   20180115020     Mental Health    Treatment Plan                  Start Medications                                         Lewis,        02-09-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:37 am
   20180115020     Mental Health    Medication Orders               abilify 10 mg am                                          Lewis,        02-09-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:37 am
   20180115020     Mental Health    Medication Consent Verified     Yes                                                       Lewis,        02-09-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:37 am
   20180115020     Mental Health    Follow-up:                      Psychiatry follow-up 90 days                              Lewis,        02-09-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:37 am
   20180115020     Mental Health    Patient communicates a          Yes                                                       Lewis,        02-09-
                   - Psychiatry     willingness to notify                                                                     Psychiatrist, 2018
                   Note             security/medical personnel of                                                             Jawaun        11:37 am
                                    any suicidal/homicidal
                                    ideation or intent.
   20180115020     Mental Health    Education provided:             How to access additional health services                  Lewis,        02-09-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:37 am
   20180115020     Mental Health    Education provided:             Treatment Plan                                            Lewis,        02-09-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:37 am
   20180115020     Mental Health    Education provided:             Medication side effects reviewed                          Lewis,        02-09-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:37 am
   20180115020     Mental Health    Education provided:             Medication compliance benefits                            Lewis,        02-09-
                   - Psychiatry                                                                                               Psychiatrist, 2018

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                  Note                                   108                                                  Jawaun   11:37 am
   20180115020     Mental Health    Education provided:            Potential for discontinuation of medications if below 75%   Lewis,        02-09-
                   - Psychiatry                                    compliant                                                   Psychiatrist, 2018
                   Note                                                                                                        Jawaun        11:37 am
   20180115020     Restrictive      Current Observations           Alert / No Distress                                         Pauley,      02-09-
                   Housing                                                                                                     LPN,         2018
                   Rounds                                                                                                      Carson       2:14 pm
   20180115020     Restrictive      Request for Medical            No                                                          Pauley,      02-09-
                   Housing          Services?                                                                                  LPN,         2018
                   Rounds                                                                                                      Carson       2:14 pm
   20180115020     Restrictive      Request for Mental Health      No                                                          Pauley,      02-09-
                   Housing          Services?                                                                                  LPN,         2018
                   Rounds                                                                                                      Carson       2:14 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                          Pauley,      02-09-
                   Housing                                                                                                     LPN,         2018
                   Rounds                                                                                                      Carson       2:14 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                              Pauley,      02-09-
                   Housing          Follow Up if Required. Please                                                              LPN,         2018
                   Rounds           be as detailed as possible.                                                                Carson       2:14 pm
   20180115020     Restrictive      Current Observations           Sleeping (Required Arrousal)                                dearman,     02-10-
                   Housing                                                                                                     lauren       2018
                   Rounds                                                                                                                   9:21 am
   20180115020     Restrictive      Request for Medical            No                                                          dearman,     02-10-
                   Housing          Services?                                                                                  lauren       2018
                   Rounds                                                                                                                   9:21 am
   20180115020     Restrictive      Request for Mental Health      No                                                          dearman,     02-10-
                   Housing          Services?                                                                                  lauren       2018
                   Rounds                                                                                                                   9:21 am
   20180115020     Restrictive      Request for Dental Services?   No                                                          dearman,     02-10-
                   Housing                                                                                                     lauren       2018
                   Rounds                                                                                                                   9:21 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                              dearman,     02-10-
                   Housing          Follow Up if Required. Please                                                              lauren       2018
                   Rounds           be as detailed as possible.                                                                             9:21 am
   20180115020     Restrictive      Current Observations           Sleeping (Required Arrousal)                                dearman,     02-11-
                   Housing                                                                                                     lauren       2018
                   Rounds                                                                                                                   9:23 am
   20180115020     Restrictive      Request for Medical            No                                                          dearman,     02-11-
                   Housing          Services?                                                                                  lauren       2018
                   Rounds                                                                                                                   9:23 am
   20180115020     Restrictive      Request for Mental Health      No                                                          dearman,     02-11-
                   Housing          Services?                                                                                  lauren       2018
                   Rounds                                                                                                                   9:23 am
   20180115020     Restrictive      Request for Dental Services?   No                                                          dearman,     02-11-
                   Housing                                                                                                     lauren       2018
                   Rounds                                                                                                                   9:23 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                              dearman,     02-11-
                   Housing          Follow Up if Required. Please                                                              lauren       2018
                   Rounds           be as detailed as possible.                                                                             9:23 am
   20180115020     Restrictive      Current Observations           Alert / No Distress                                         Pauley,      02-12-
                   Housing                                                                                                     LPN,         2018
                   Rounds                                                                                                      Carson       1:01 pm
   20180115020     Restrictive      Request for Medical            No                                                          Pauley,      02-12-
                   Housing          Services?                                                                                  LPN,         2018
                   Rounds                                                                                                      Carson       1:01 pm
   20180115020     Restrictive      Request for Mental Health      No                                                          Pauley,      02-12-
                   Housing          Services?                                                                                  LPN,         2018
                   Rounds                                                                                                      Carson       1:01 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                          Pauley,      02-12-
                   Housing                                                                                                     LPN,         2018
                   Rounds                                                                                                      Carson       1:01 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                              Pauley,      02-12-
                   Housing          Follow Up if Required. Please                                                              LPN,         2018
                   Rounds           be as detailed as possible.                                                                Carson       1:01 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                                         Pauley,      02-13-
                   Housing                                                                                                     LPN,         2018

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                  Rounds                                 108                                                  Carson   4:04 pm
   20180115020     Restrictive      Request for Medical            No                                                             Pauley,      02-13-
                   Housing          Services?                                                                                     LPN,         2018
                   Rounds                                                                                                         Carson       4:04 pm
   20180115020     Restrictive      Request for Mental Health      No                                                             Pauley,      02-13-
                   Housing          Services?                                                                                     LPN,         2018
                   Rounds                                                                                                         Carson       4:04 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                             Pauley,      02-13-
                   Housing                                                                                                        LPN,         2018
                   Rounds                                                                                                         Carson       4:04 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                 Pauley,      02-13-
                   Housing          Follow Up if Required. Please                                                                 LPN,         2018
                   Rounds           be as detailed as possible.                                                                   Carson       4:04 pm
   20180115020     Mental Health    Reason For Encounter           Segregation Round                                              Irvin,       02-14-
                   - Rounds /                                                                                                     Psychlogist, 2018
                   Follow-up                                                                                                      Alicia       2:53 pm
                   Note
   20180115020     Mental Health    Diagnosis                      Psychotic Disorder NOS                                         Irvin,       02-14-
                   - Rounds /                                                                                                     Psychlogist, 2018
                   Follow-up                                                                                                      Alicia       2:53 pm
                   Note
   20180115020     Mental Health    Current Observations           Sleeping (Required Arrousal)                                   Irvin,       02-14-
                   - Rounds /                                                                                                     Psychlogist, 2018
                   Follow-up                                                                                                      Alicia       2:53 pm
                   Note
   20180115020     Mental Health    Current Medications            PAROXETINE HCL 30MG TAB QD PM; Directions: 1 TAB               Irvin,       02-14-
                   - Rounds /                                      By Mouth QD PM; PAROXETINE HCL 20MG TAB QD PM;                 Psychlogist, 2018
                   Follow-up                                       Directions: 1 TAB By Mouth QD PM; ARIPIPRAZOLE 10MG            Alicia       2:53 pm
                   Note                                            TAB QD AM; Directions: 1 TAB [PO] By Mouth QD AM ;
                                                                   Albuterol Sulfate Inhalation Nebulizer Sol. 0.083% Sol. BID;
                                                                   Directions: 1 Sol. By Inhalation BID;
   20180115020     Mental Health    Treatment Compliance           Compliant                                                      Irvin,       02-14-
                   - Rounds /                                                                                                     Psychlogist, 2018
                   Follow-up                                                                                                      Alicia       2:53 pm
                   Note
   20180115020     Mental Health    Encounter Summary              Patient was asleep, but was observed breathing. No issues      Irvin,       02-14-
                   - Rounds /                                      reported by security.                                          Psychlogist, 2018
                   Follow-up                                                                                                      Alicia       2:53 pm
                   Note
   20180115020     Mental Health    Follow-up Required             f/u in 1 week while in seg                                     Irvin,       02-14-
                   - Rounds /                                                                                                     Psychlogist, 2018
                   Follow-up                                                                                                      Alicia       2:53 pm
                   Note
   20180115020     Restrictive      Current Observations           Alert / No Distress                                            Pauley,      02-14-
                   Housing                                                                                                        LPN,         2018
                   Rounds                                                                                                         Carson       4:16 pm
   20180115020     Restrictive      Request for Medical            No                                                             Pauley,      02-14-
                   Housing          Services?                                                                                     LPN,         2018
                   Rounds                                                                                                         Carson       4:16 pm
   20180115020     Restrictive      Request for Mental Health      No                                                             Pauley,      02-14-
                   Housing          Services?                                                                                     LPN,         2018
                   Rounds                                                                                                         Carson       4:16 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                             Pauley,      02-14-
                   Housing                                                                                                        LPN,         2018
                   Rounds                                                                                                         Carson       4:16 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                 Pauley,      02-14-
                   Housing          Follow Up if Required. Please                                                                 LPN,         2018
                   Rounds           be as detailed as possible.                                                                   Carson       4:16 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                                            Wilson,      02-15-
                   Housing                                                                                                        MAT,         2018
                   Rounds                                                                                                         Jacqueline   5:08 pm
   20180115020     Restrictive      Request for Medical            No                                                             Wilson,      02-15-
                   Housing          Services?                                                                                     MAT,         2018
                   Rounds                                                                                                         Jacqueline   5:08 pm
   20180115020     Restrictive      Request for Mental Health      No                                                             Wilson,      02-15-
                   Housing          Services?                                                                                     MAT,         2018
                   Rounds                                                                                                         Jacqueline   5:08 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                             Wilson,      02-15-
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                  Housing                                108                                                  MAT,     2018
                   Rounds                                                                                  Jacqueline   5:08 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time          Wilson,      02-15-
                   Housing          Follow Up if Required. Please                                          MAT,         2018
                   Rounds           be as detailed as possible.                                            Jacqueline   5:08 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                     Moran,       02-17-
                   Housing                                                                                 Sarah        2018
                   Rounds                                                                                               2:57 pm
   20180115020     Restrictive      Request for Medical            No                                      Moran,       02-17-
                   Housing          Services?                                                              Sarah        2018
                   Rounds                                                                                               2:57 pm
   20180115020     Restrictive      Request for Mental Health      No                                      Moran,       02-17-
                   Housing          Services?                                                              Sarah        2018
                   Rounds                                                                                               2:57 pm
   20180115020     Restrictive      Request for Dental Services?   No                                      Moran,       02-17-
                   Housing                                                                                 Sarah        2018
                   Rounds                                                                                               2:57 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time          Moran,       02-17-
                   Housing          Follow Up if Required. Please                                          Sarah        2018
                   Rounds           be as detailed as possible.                                                         2:57 pm
   20180115020     Restrictive      Current Observations           Sleeping (Required Arrousal)            Groom,       02-18-
                   Housing                                                                                 Nicholas     2018
                   Rounds                                                                                               10:24
                                                                                                                        am
   20180115020     Restrictive      Request for Medical            No                                      Groom,       02-18-
                   Housing          Services?                                                              Nicholas     2018
                   Rounds                                                                                               10:24
                                                                                                                        am
   20180115020     Restrictive      Request for Mental Health      No                                      Groom,       02-18-
                   Housing          Services?                                                              Nicholas     2018
                   Rounds                                                                                               10:24
                                                                                                                        am
   20180115020     Restrictive      Request for Dental Services?   No                                      Groom,       02-18-
                   Housing                                                                                 Nicholas     2018
                   Rounds                                                                                               10:24
                                                                                                                        am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time          Groom,       02-18-
                   Housing          Follow Up if Required. Please                                          Nicholas     2018
                   Rounds           be as detailed as possible.                                                         10:24
                                                                                                                        am
   20180115020     Restrictive      Current Observations           Alert / No Distress                     Pauley,      02-19-
                   Housing                                                                                 LPN,         2018
                   Rounds                                                                                  Carson       5:13 pm
   20180115020     Restrictive      Request for Medical            No                                      Pauley,      02-19-
                   Housing          Services?                                                              LPN,         2018
                   Rounds                                                                                  Carson       5:13 pm
   20180115020     Restrictive      Request for Mental Health      No                                      Pauley,      02-19-
                   Housing          Services?                                                              LPN,         2018
                   Rounds                                                                                  Carson       5:13 pm
   20180115020     Restrictive      Request for Dental Services?   No                                      Pauley,      02-19-
                   Housing                                                                                 LPN,         2018
                   Rounds                                                                                  Carson       5:13 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time          Pauley,      02-19-
                   Housing          Follow Up if Required. Please                                          LPN,         2018
                   Rounds           be as detailed as possible.                                            Carson       5:13 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                     Pauley,      02-20-
                   Housing                                                                                 LPN,         2018
                   Rounds                                                                                  Carson       3:58 pm
   20180115020     Restrictive      Request for Medical            No                                      Pauley,      02-20-
                   Housing          Services?                                                              LPN,         2018
                   Rounds                                                                                  Carson       3:58 pm
   20180115020     Restrictive      Request for Mental Health      No                                      Pauley,      02-20-
                   Housing          Services?                                                              LPN,         2018
                   Rounds                                                                                  Carson       3:58 pm
   20180115020     Restrictive      Request for Dental Services?   No                                      Pauley,      02-20-
                   Housing                                                                                 LPN,         2018
                   Rounds                                                                                  Carson       3:58 pm


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   20180115020 Restrictive Comments/Concerns and          108
                                                  No Referral Needed at this time                              Pauley,  02-20-
                   Housing          Follow Up if Required. Please                                                                   LPN,         2018
                   Rounds           be as detailed as possible.                                                                     Carson       3:58 pm
   20180115020     Restrictive      Current Observations            Alert / No Distress                                             Wilson,      02-21-
                   Housing                                                                                                          MAT,         2018
                   Rounds                                                                                                           Jacqueline   9:46 am
   20180115020     Restrictive      Request for Medical             No                                                              Wilson,      02-21-
                   Housing          Services?                                                                                       MAT,         2018
                   Rounds                                                                                                           Jacqueline   9:46 am
   20180115020     Restrictive      Request for Mental Health       No                                                              Wilson,      02-21-
                   Housing          Services?                                                                                       MAT,         2018
                   Rounds                                                                                                           Jacqueline   9:46 am
   20180115020     Restrictive      Request for Dental Services?    No                                                              Wilson,      02-21-
                   Housing                                                                                                          MAT,         2018
                   Rounds                                                                                                           Jacqueline   9:46 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                   Wilson,      02-21-
                   Housing          Follow Up if Required. Please                                                                   MAT,         2018
                   Rounds           be as detailed as possible.                                                                     Jacqueline   9:46 am
   20180115020     Mental Health    Reason For Encounter            Segregation Round                                               Irvin,       02-21-
                   - Rounds /                                                                                                       Psychlogist, 2018
                   Follow-up                                                                                                        Alicia       2:23 pm
                   Note
   20180115020     Mental Health    Diagnosis                       Psychotic Disorder NOS                                          Irvin,       02-21-
                   - Rounds /                                                                                                       Psychlogist, 2018
                   Follow-up                                                                                                        Alicia       2:23 pm
                   Note
   20180115020     Mental Health    Current Observations            Sleeping (Required Arrousal)                                    Irvin,       02-21-
                   - Rounds /                                                                                                       Psychlogist, 2018
                   Follow-up                                                                                                        Alicia       2:23 pm
                   Note
   20180115020     Mental Health    Current Medications             PAROXETINE HCL 30MG TAB QD PM; Directions: 1 TAB                Irvin,       02-21-
                   - Rounds /                                       By Mouth QD PM; ARIPIPRAZOLE 10MG TAB QD AM;                    Psychlogist, 2018
                   Follow-up                                        Directions: 1 TAB [PO] By Mouth QD AM ; Albuterol Sulfate       Alicia       2:23 pm
                   Note                                             Inhalation Nebulizer Sol. 0.083% Sol. BID; Directions: 1 Sol.
                                                                    By Inhalation BID;
   20180115020     Mental Health    Treatment Compliance            Compliant                                                       Irvin,       02-21-
                   - Rounds /                                                                                                       Psychlogist, 2018
                   Follow-up                                                                                                        Alicia       2:23 pm
                   Note
   20180115020     Mental Health    Encounter Summary               I/M was asleep, but was observed breathing. No issues           Irvin,       02-21-
                   - Rounds /                                       reported by security.                                           Psychlogist, 2018
                   Follow-up                                                                                                        Alicia       2:23 pm
                   Note
   20180115020     Mental Health    Follow-up Required              f/u in 1 week while in seg                                      Irvin,       02-21-
                   - Rounds /                                                                                                       Psychlogist, 2018
                   Follow-up                                                                                                        Alicia       2:23 pm
                   Note
   20180115020     Restrictive      Current Observations            Alert / No Distress                                             Wilson,      02-22-
                   Housing                                                                                                          MAT,         2018
                   Rounds                                                                                                           Jacqueline   3:50 pm
   20180115020     Restrictive      Request for Medical             No                                                              Wilson,      02-22-
                   Housing          Services?                                                                                       MAT,         2018
                   Rounds                                                                                                           Jacqueline   3:50 pm
   20180115020     Restrictive      Request for Mental Health       No                                                              Wilson,      02-22-
                   Housing          Services?                                                                                       MAT,         2018
                   Rounds                                                                                                           Jacqueline   3:50 pm
   20180115020     Restrictive      Request for Dental Services?    No                                                              Wilson,      02-22-
                   Housing                                                                                                          MAT,         2018
                   Rounds                                                                                                           Jacqueline   3:50 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                   Wilson,      02-22-
                   Housing          Follow Up if Required. Please                                                                   MAT,         2018
                   Rounds           be as detailed as possible.                                                                     Jacqueline   3:50 pm
   20180115020     Restrictive      Current Observations            Alert / No Distress                                             Pauley,      02-23-
                   Housing                                                                                                          LPN,         2018
                   Rounds                                                                                                           Carson       3:50 pm
   20180115020     Restrictive      Request for Medical             No                                                              Pauley,      02-23-
                   Housing          Services?                                                                                       LPN,         2018
                   Rounds                                                                                                           Carson       3:50 pm

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   20180115020 Restrictive Request for Mental Health  No      108                                                  Pauley,  02-23-
                   Housing          Services?                                                                   LPN,        2018
                   Rounds                                                                                       Carson      3:50 pm
   20180115020     Restrictive      Request for Dental Services?   No                                           Pauley,     02-23-
                   Housing                                                                                      LPN,        2018
                   Rounds                                                                                       Carson      3:50 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time               Pauley,     02-23-
                   Housing          Follow Up if Required. Please                                               LPN,        2018
                   Rounds           be as detailed as possible.                                                 Carson      3:50 pm
   20180115020     Restrictive      Current Observations           Sleeping (Required Arrousal)                 Groom,      02-24-
                   Housing                                                                                      Nicholas    2018
                   Rounds                                                                                                   10:00
                                                                                                                            am
   20180115020     Restrictive      Request for Medical            No                                           Groom,      02-24-
                   Housing          Services?                                                                   Nicholas    2018
                   Rounds                                                                                                   10:00
                                                                                                                            am
   20180115020     Restrictive      Request for Mental Health      No                                           Groom,      02-24-
                   Housing          Services?                                                                   Nicholas    2018
                   Rounds                                                                                                   10:00
                                                                                                                            am
   20180115020     Restrictive      Request for Dental Services?   No                                           Groom,      02-24-
                   Housing                                                                                      Nicholas    2018
                   Rounds                                                                                                   10:00
                                                                                                                            am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time               Groom,      02-24-
                   Housing          Follow Up if Required. Please                                               Nicholas    2018
                   Rounds           be as detailed as possible.                                                             10:00
                                                                                                                            am
   20180115020     Restrictive      Current Observations           Sleeping (Required Arrousal)                 Groom,      02-25-
                   Housing                                                                                      Nicholas    2018
                   Rounds                                                                                                   10:56
                                                                                                                            am
   20180115020     Restrictive      Request for Medical            No                                           Groom,      02-25-
                   Housing          Services?                                                                   Nicholas    2018
                   Rounds                                                                                                   10:56
                                                                                                                            am
   20180115020     Restrictive      Request for Mental Health      No                                           Groom,      02-25-
                   Housing          Services?                                                                   Nicholas    2018
                   Rounds                                                                                                   10:56
                                                                                                                            am
   20180115020     Restrictive      Request for Dental Services?   No                                           Groom,      02-25-
                   Housing                                                                                      Nicholas    2018
                   Rounds                                                                                                   10:56
                                                                                                                            am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time               Groom,      02-25-
                   Housing          Follow Up if Required. Please                                               Nicholas    2018
                   Rounds           be as detailed as possible.                                                             10:56
                                                                                                                            am
   20180115020     Restrictive      Current Observations           Alert / No Distress                          Pauley,     02-26-
                   Housing                                                                                      LPN,        2018
                   Rounds                                                                                       Carson      4:15 pm
   20180115020     Restrictive      Request for Medical            No                                           Pauley,     02-26-
                   Housing          Services?                                                                   LPN,        2018
                   Rounds                                                                                       Carson      4:15 pm
   20180115020     Restrictive      Request for Mental Health      No                                           Pauley,     02-26-
                   Housing          Services?                                                                   LPN,        2018
                   Rounds                                                                                       Carson      4:15 pm
   20180115020     Restrictive      Request for Dental Services?   No                                           Pauley,     02-26-
                   Housing                                                                                      LPN,        2018
                   Rounds                                                                                       Carson      4:15 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time               Pauley,     02-26-
                   Housing          Follow Up if Required. Please                                               LPN,        2018
                   Rounds           be as detailed as possible.                                                 Carson      4:15 pm
   20180115020     Classification Relocation Need:                 Other (Specify) (CLEARED TO REHOUSE)         Irvin,       03-08-
                   Communcation                                                                                 Psychlogist, 2018
                   / Relocation                                                                                 Alicia       8:38 am
                   Form


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   20180115020 Classification Housing Accommodations:         108
                                                      REQUESTING PC                                                Irvin,   03-08-
                   Communcation                                                                                                     Psychlogist, 2018
                   / Relocation                                                                                                     Alicia       8:38 am
                   Form
   20180115020     Mental Health    Reason For Encounter            Suicide Precaution Encounter                                    Irvin,       03-08-
                   - Rounds /                                                                                                       Psychlogist, 2018
                   Follow-up                                                                                                        Alicia       9:42 am
                   Note
   20180115020     Mental Health    Diagnosis                       Personality Disorder NOS                                        Irvin,       03-08-
                   - Rounds /                                                                                                       Psychlogist, 2018
                   Follow-up                                                                                                        Alicia       9:42 am
                   Note
   20180115020     Mental Health    Current Observations            Alert / No Distress                                             Irvin,       03-08-
                   - Rounds /                                                                                                       Psychlogist, 2018
                   Follow-up                                                                                                        Alicia       9:42 am
                   Note
   20180115020     Mental Health    Current Medications             PAROXETINE HCL 30MG TAB QD PM; Directions: 1 TAB                Irvin,       03-08-
                   - Rounds /                                       By Mouth QD PM; ARIPIPRAZOLE 10MG TAB QD AM;                    Psychlogist, 2018
                   Follow-up                                        Directions: 1 TAB [PO] By Mouth QD AM ; Albuterol Sulfate       Alicia       9:42 am
                   Note                                             Inhalation Nebulizer Sol. 0.083% Sol. BID; Directions: 1 Sol.
                                                                    By Inhalation BID;
   20180115020     Mental Health    Treatment Compliance            Compliant                                                       Irvin,       03-08-
                   - Rounds /                                                                                                       Psychlogist, 2018
                   Follow-up                                                                                                        Alicia       9:42 am
                   Note
   20180115020     Mental Health    Encounter Summary               Patient seen on SW in infirmary. Patient reported he was        Irvin,       03-08-
                   - Rounds /                                       having trouble on the pod and wanted PC. Stated he only         Psychlogist, 2018
                   Follow-up                                        said he was suicidal to get moved. Patient denied SI and        Alicia       9:42 am
                   Note                                             plans. He denied other issues.
   20180115020     Mental Health    Follow-up Required              follow-up with MH in 7 days (Remove from SW and                 Irvin,       03-08-
                   - Rounds /                                       rehouse)                                                        Psychlogist, 2018
                   Follow-up                                                                                                        Alicia       9:42 am
                   Note
   20180115020     Restrictive      Medical record reviewed for     Yes                                                             Pauley,     03-08-
                   Housing          Contraindications?                                                                              LPN,        2018
                   Clearance                                                                                                        Carson      10:00
                                                                                                                                                am
   20180115020     Restrictive      Chronic Care (specify at        Yes (pulmonary - may request to come to medical if              Pauley,     03-08-
                   Housing          right)                          complaining of shortness of breath to be evaluated for          LPN,        2018
                   Clearance                                        breathing txs)                                                  Carson      10:00
                                                                                                                                                am
   20180115020     Restrictive      Mental Health Patient           Yes (history of suicidal thoughts and previous attempts, pt     Pauley,     03-08-
                   Housing                                          also suffers from psychosis)                                    LPN,        2018
                   Clearance                                                                                                        Carson      10:00
                                                                                                                                                am
   20180115020     Restrictive      Special Needs (specify at       No                                                              Pauley,     03-08-
                   Housing          right)                                                                                          LPN,        2018
                   Clearance                                                                                                        Carson      10:00
                                                                                                                                                am
   20180115020     Restrictive      Injuries Reported (specify at   No                                                              Pauley,     03-08-
                   Housing          right)                                                                                          LPN,        2018
                   Clearance                                                                                                        Carson      10:00
                                                                                                                                                am
   20180115020     Restrictive      Check all that apply            Alert/Oriented                                                  Pauley,     03-08-
                   Housing                                                                                                          LPN,        2018
                   Clearance                                                                                                        Carson      10:00
                                                                                                                                                am
   20180115020     Restrictive      Request for Medical             No                                                              Pauley,     03-08-
                   Housing          Services?                                                                                       LPN,        2018
                   Clearance                                                                                                        Carson      10:00
                                                                                                                                                am
   20180115020     Restrictive      Request for Mental Health       No (currently receiving mhe tx)                                 Pauley,     03-08-
                   Housing          Services?                                                                                       LPN,        2018
                   Clearance                                                                                                        Carson      10:00
                                                                                                                                                am
   20180115020     Restrictive      Precautions Recommended?        House Alone (patient requesting protective custody)             Pauley,     03-08-
                   Housing          (specify at right)                                                                              LPN,        2018
                   Clearance                                                                                                        Carson      10:00
                                                                                                                                                am
   20180115020     Restrictive      Current Observations            Alert / No Distress                                             Hickman,    03-08-
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                  Housing                                108                                                  Paula    2018
                   Rounds                                                                                                                      2:19 pm
   20180115020     Restrictive      Request for Medical            No                                                              Hickman,    03-08-
                   Housing          Services?                                                                                      Paula       2018
                   Rounds                                                                                                                      2:19 pm
   20180115020     Restrictive      Request for Mental Health      No                                                              Hickman,    03-08-
                   Housing          Services?                                                                                      Paula       2018
                   Rounds                                                                                                                      2:19 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                              Hickman,    03-08-
                   Housing                                                                                                         Paula       2018
                   Rounds                                                                                                                      2:19 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                  Hickman,    03-08-
                   Housing          Follow Up if Required. Please                                                                  Paula       2018
                   Rounds           be as detailed as possible.                                                                                2:19 pm
   20180115020     Mental Health    Reason For Encounter           Segregation Round                                               Irvin,       03-08-
                   - Rounds /                                                                                                      Psychlogist, 2018
                   Follow-up                                                                                                       Alicia       3:40 pm
                   Note
   20180115020     Mental Health    Diagnosis                      Psychotic Disorder NOS                                          Irvin,       03-08-
                   - Rounds /                                                                                                      Psychlogist, 2018
                   Follow-up                                                                                                       Alicia       3:40 pm
                   Note
   20180115020     Mental Health    Current Observations           Alert / No Distress                                             Irvin,       03-08-
                   - Rounds /                                                                                                      Psychlogist, 2018
                   Follow-up                                                                                                       Alicia       3:40 pm
                   Note
   20180115020     Mental Health    Current Medications            PAROXETINE HCL 30MG TAB QD PM; Directions: 1 TAB                Irvin,       03-08-
                   - Rounds /                                      By Mouth QD PM; ARIPIPRAZOLE 10MG TAB QD AM;                    Psychlogist, 2018
                   Follow-up                                       Directions: 1 TAB [PO] By Mouth QD AM ; Albuterol Sulfate       Alicia       3:40 pm
                   Note                                            Inhalation Nebulizer Sol. 0.083% Sol. BID; Directions: 1 Sol.
                                                                   By Inhalation BID;
   20180115020     Mental Health    Treatment Compliance           Compliant                                                       Irvin,       03-08-
                   - Rounds /                                                                                                      Psychlogist, 2018
                   Follow-up                                                                                                       Alicia       3:40 pm
                   Note
   20180115020     Mental Health    Encounter Summary              Patient reported he is doing fine. No SI or plans reported. No Irvin,       03-08-
                   - Rounds /                                      issues or concerns reported.                                   Psychlogist, 2018
                   Follow-up                                                                                                      Alicia       3:40 pm
                   Note
   20180115020     Mental Health    Follow-up Required             f/u in 1 week while in seg                                      Irvin,       03-08-
                   - Rounds /                                                                                                      Psychlogist, 2018
                   Follow-up                                                                                                       Alicia       3:40 pm
                   Note
   20180115020     Restrictive      Current Observations           Alert / No Distress                                             Pauley,     03-09-
                   Housing                                                                                                         LPN,        2018
                   Rounds                                                                                                          Carson      5:30 pm
   20180115020     Restrictive      Request for Medical            No                                                              Pauley,     03-09-
                   Housing          Services?                                                                                      LPN,        2018
                   Rounds                                                                                                          Carson      5:30 pm
   20180115020     Restrictive      Request for Mental Health      No                                                              Pauley,     03-09-
                   Housing          Services?                                                                                      LPN,        2018
                   Rounds                                                                                                          Carson      5:30 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                              Pauley,     03-09-
                   Housing                                                                                                         LPN,        2018
                   Rounds                                                                                                          Carson      5:30 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                  Pauley,     03-09-
                   Housing          Follow Up if Required. Please                                                                  LPN,        2018
                   Rounds           be as detailed as possible.                                                                    Carson      5:30 pm
   20180115020     Restrictive      Current Observations           Sleeping (Required Arrousal)                                    Groom,      03-10-
                   Housing                                                                                                         Nicholas    2018
                   Rounds                                                                                                                      10:03
                                                                                                                                               am
   20180115020     Restrictive      Request for Medical            No                                                              Groom,      03-10-
                   Housing          Services?                                                                                      Nicholas    2018
                   Rounds                                                                                                                      10:03
                                                                                                                                               am
   20180115020     Restrictive      Request for Mental Health      No                                                              Groom,      03-10-
                   Housing          Services?                                                                                      Nicholas    2018

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                  Rounds                                 108                                                           10:03
                                                                                                                                               am
   20180115020     Restrictive      Request for Dental Services?   No                                                              Groom,      03-10-
                   Housing                                                                                                         Nicholas    2018
                   Rounds                                                                                                                      10:03
                                                                                                                                               am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                  Groom,      03-10-
                   Housing          Follow Up if Required. Please                                                                  Nicholas    2018
                   Rounds           be as detailed as possible.                                                                                10:03
                                                                                                                                               am
   20180115020     Restrictive      Current Observations           Sleeping (Required Arrousal)                                    Groom,      03-11-
                   Housing                                                                                                         Nicholas    2018
                   Rounds                                                                                                                      11:11 am
   20180115020     Restrictive      Request for Medical            No                                                              Groom,      03-11-
                   Housing          Services?                                                                                      Nicholas    2018
                   Rounds                                                                                                                      11:11 am
   20180115020     Restrictive      Request for Mental Health      No                                                              Groom,      03-11-
                   Housing          Services?                                                                                      Nicholas    2018
                   Rounds                                                                                                                      11:11 am
   20180115020     Restrictive      Request for Dental Services?   No                                                              Groom,      03-11-
                   Housing                                                                                                         Nicholas    2018
                   Rounds                                                                                                                      11:11 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                  Groom,      03-11-
                   Housing          Follow Up if Required. Please                                                                  Nicholas    2018
                   Rounds           be as detailed as possible.                                                                                11:11 am
   20180115020     Restrictive      Current Observations           Alert / No Distress                                             Pauley,     03-12-
                   Housing                                                                                                         LPN,        2018
                   Rounds                                                                                                          Carson      4:21 pm
   20180115020     Restrictive      Request for Medical            No                                                              Pauley,     03-12-
                   Housing          Services?                                                                                      LPN,        2018
                   Rounds                                                                                                          Carson      4:21 pm
   20180115020     Restrictive      Request for Mental Health      No                                                              Pauley,     03-12-
                   Housing          Services?                                                                                      LPN,        2018
                   Rounds                                                                                                          Carson      4:21 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                              Pauley,     03-12-
                   Housing                                                                                                         LPN,        2018
                   Rounds                                                                                                          Carson      4:21 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                  Pauley,     03-12-
                   Housing          Follow Up if Required. Please                                                                  LPN,        2018
                   Rounds           be as detailed as possible.                                                                    Carson      4:21 pm
   20180115020     Mental Health    Reason For Encounter           Segregation Round                                               Irvin,       03-13-
                   - Rounds /                                                                                                      Psychlogist, 2018
                   Follow-up                                                                                                       Alicia       3:04 pm
                   Note
   20180115020     Mental Health    Diagnosis                      Personality Disorder NOS                                        Irvin,       03-13-
                   - Rounds /                                                                                                      Psychlogist, 2018
                   Follow-up                                                                                                       Alicia       3:04 pm
                   Note
   20180115020     Mental Health    Current Observations           Alert / No Distress                                             Irvin,       03-13-
                   - Rounds /                                                                                                      Psychlogist, 2018
                   Follow-up                                                                                                       Alicia       3:04 pm
                   Note
   20180115020     Mental Health    Current Medications            PAROXETINE HCL 30MG TAB QD PM; Directions: 1 TAB                Irvin,       03-13-
                   - Rounds /                                      By Mouth QD PM; ARIPIPRAZOLE 10MG TAB QD AM;                    Psychlogist, 2018
                   Follow-up                                       Directions: 1 TAB [PO] By Mouth QD AM ; Albuterol Sulfate       Alicia       3:04 pm
                   Note                                            Inhalation Nebulizer Sol. 0.083% Sol. BID; Directions: 1 Sol.
                                                                   By Inhalation BID;
   20180115020     Mental Health    Treatment Compliance           Compliant                                                       Irvin,       03-13-
                   - Rounds /                                                                                                      Psychlogist, 2018
                   Follow-up                                                                                                       Alicia       3:04 pm
                   Note
   20180115020     Mental Health    Encounter Summary              Patient reported, "I'm good." He denied any issues or           Irvin,       03-13-
                   - Rounds /                                      concerns. No SI or plans reported.                              Psychlogist, 2018
                   Follow-up                                                                                                       Alicia       3:04 pm
                   Note
   20180115020     Mental Health    Follow-up Required             f/u in 1 week while in seg                                      Irvin,       03-13-
                   - Rounds /                                                                                                      Psychlogist, 2018
                                                                                                                                   Alicia       3:04 pm

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                  Follow-up                              108
                   Note
   20180115020     Restrictive      Current Observations           Alert / No Distress                     Pauley,     03-13-
                   Housing                                                                                 LPN,        2018
                   Rounds                                                                                  Carson      3:28 pm
   20180115020     Restrictive      Request for Medical            No                                      Pauley,     03-13-
                   Housing          Services?                                                              LPN,        2018
                   Rounds                                                                                  Carson      3:28 pm
   20180115020     Restrictive      Request for Mental Health      No                                      Pauley,     03-13-
                   Housing          Services?                                                              LPN,        2018
                   Rounds                                                                                  Carson      3:28 pm
   20180115020     Restrictive      Request for Dental Services?   No                                      Pauley,     03-13-
                   Housing                                                                                 LPN,        2018
                   Rounds                                                                                  Carson      3:28 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time          Pauley,     03-13-
                   Housing          Follow Up if Required. Please                                          LPN,        2018
                   Rounds           be as detailed as possible.                                            Carson      3:28 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                     Pauley,     03-14-
                   Housing                                                                                 LPN,        2018
                   Rounds                                                                                  Carson      9:46 am
   20180115020     Restrictive      Request for Medical            No                                      Pauley,     03-14-
                   Housing          Services?                                                              LPN,        2018
                   Rounds                                                                                  Carson      9:46 am
   20180115020     Restrictive      Request for Mental Health      No                                      Pauley,     03-14-
                   Housing          Services?                                                              LPN,        2018
                   Rounds                                                                                  Carson      9:46 am
   20180115020     Restrictive      Request for Dental Services?   No                                      Pauley,     03-14-
                   Housing                                                                                 LPN,        2018
                   Rounds                                                                                  Carson      9:46 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time          Pauley,     03-14-
                   Housing          Follow Up if Required. Please                                          LPN,        2018
                   Rounds           be as detailed as possible.                                            Carson      9:46 am
   20180115020     Restrictive      Current Observations           Alert / No Distress                     Pauley,     03-15-
                   Housing                                                                                 LPN,        2018
                   Rounds                                                                                  Carson      4:14 pm
   20180115020     Restrictive      Request for Medical            No                                      Pauley,     03-15-
                   Housing          Services?                                                              LPN,        2018
                   Rounds                                                                                  Carson      4:14 pm
   20180115020     Restrictive      Request for Mental Health      No                                      Pauley,     03-15-
                   Housing          Services?                                                              LPN,        2018
                   Rounds                                                                                  Carson      4:14 pm
   20180115020     Restrictive      Request for Dental Services?   No                                      Pauley,     03-15-
                   Housing                                                                                 LPN,        2018
                   Rounds                                                                                  Carson      4:14 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time          Pauley,     03-15-
                   Housing          Follow Up if Required. Please                                          LPN,        2018
                   Rounds           be as detailed as possible.                                            Carson      4:14 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                     Pauley,     03-16-
                   Housing                                                                                 LPN,        2018
                   Rounds                                                                                  Carson      4:06 pm
   20180115020     Restrictive      Request for Medical            No                                      Pauley,     03-16-
                   Housing          Services?                                                              LPN,        2018
                   Rounds                                                                                  Carson      4:06 pm
   20180115020     Restrictive      Request for Mental Health      No                                      Pauley,     03-16-
                   Housing          Services?                                                              LPN,        2018
                   Rounds                                                                                  Carson      4:06 pm
   20180115020     Restrictive      Request for Dental Services?   No                                      Pauley,     03-16-
                   Housing                                                                                 LPN,        2018
                   Rounds                                                                                  Carson      4:06 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time          Pauley,     03-16-
                   Housing          Follow Up if Required. Please                                          LPN,        2018
                   Rounds           be as detailed as possible.                                            Carson      4:06 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                     Few, Kara   03-17-
                   Housing                                                                                             2018
                   Rounds                                                                                              9:19 am
   20180115020     Restrictive      Request for Medical            No                                      Few, Kara   03-17-

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                  Housing   Services?                       108                                                           2018
                   Rounds                                                                                                                       9:19 am
   20180115020     Restrictive      Request for Mental Health      No                                                              Few, Kara    03-17-
                   Housing          Services?                                                                                                   2018
                   Rounds                                                                                                                       9:19 am
   20180115020     Restrictive      Request for Dental Services?   No                                                              Few, Kara    03-17-
                   Housing                                                                                                                      2018
                   Rounds                                                                                                                       9:19 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                  Few, Kara    03-17-
                   Housing          Follow Up if Required. Please                                                                               2018
                   Rounds           be as detailed as possible.                                                                                 9:19 am
   20180115020     Restrictive      Current Observations           Alert / No Distress                                             Few, Kara    03-18-
                   Housing                                                                                                                      2018
                   Rounds                                                                                                                       9:52 am
   20180115020     Restrictive      Request for Medical            No                                                              Few, Kara    03-18-
                   Housing          Services?                                                                                                   2018
                   Rounds                                                                                                                       9:52 am
   20180115020     Restrictive      Request for Mental Health      No                                                              Few, Kara    03-18-
                   Housing          Services?                                                                                                   2018
                   Rounds                                                                                                                       9:52 am
   20180115020     Restrictive      Request for Dental Services?   No                                                              Few, Kara    03-18-
                   Housing                                                                                                                      2018
                   Rounds                                                                                                                       9:52 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                  Few, Kara    03-18-
                   Housing          Follow Up if Required. Please                                                                               2018
                   Rounds           be as detailed as possible.                                                                                 9:52 am
   20180115020     Restrictive      Current Observations           Alert / No Distress                                             Pauley,      03-19-
                   Housing                                                                                                         LPN,         2018
                   Rounds                                                                                                          Carson       5:57 pm
   20180115020     Restrictive      Request for Medical            No                                                              Pauley,      03-19-
                   Housing          Services?                                                                                      LPN,         2018
                   Rounds                                                                                                          Carson       5:57 pm
   20180115020     Restrictive      Request for Mental Health      No                                                              Pauley,      03-19-
                   Housing          Services?                                                                                      LPN,         2018
                   Rounds                                                                                                          Carson       5:57 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                              Pauley,      03-19-
                   Housing                                                                                                         LPN,         2018
                   Rounds                                                                                                          Carson       5:57 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                  Pauley,      03-19-
                   Housing          Follow Up if Required. Please                                                                  LPN,         2018
                   Rounds           be as detailed as possible.                                                                    Carson       5:57 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                                             Few, Kara    03-22-
                   Housing                                                                                                                      2018
                   Rounds                                                                                                                       11:12 am
   20180115020     Restrictive      Request for Medical            No                                                              Few, Kara    03-22-
                   Housing          Services?                                                                                                   2018
                   Rounds                                                                                                                       11:12 am
   20180115020     Restrictive      Request for Mental Health      No                                                              Few, Kara    03-22-
                   Housing          Services?                                                                                                   2018
                   Rounds                                                                                                                       11:12 am
   20180115020     Restrictive      Request for Dental Services?   No                                                              Few, Kara    03-22-
                   Housing                                                                                                                      2018
                   Rounds                                                                                                                       11:12 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                  Few, Kara    03-22-
                   Housing          Follow Up if Required. Please                                                                               2018
                   Rounds           be as detailed as possible.                                                                                 11:12 am
   20180115020     Mental Health    Current Housing Status         Segregation                                                     Lewis,        03-22-
                   - Psychiatry                                                                                                    Psychiatrist, 2018
                   Note                                                                                                            Jawaun        11:19 am
   20180115020     Mental Health    Reason For Mental Health       Patient Request                                                 Lewis,        03-22-
                   - Psychiatry     Encounter                                                                                      Psychiatrist, 2018
                   Note                                                                                                            Jawaun        11:19 am
   20180115020     Mental Health    Current Medications            PAROXETINE HCL 30MG TAB QD PM; Directions: 1 TAB                Lewis,        03-22-
                   - Psychiatry                                    By Mouth QD PM; ARIPIPRAZOLE 10MG TAB QD AM;                    Psychiatrist, 2018
                   Note                                            Directions: 1 TAB [PO] By Mouth QD AM ; Albuterol Sulfate       Jawaun        11:19 am
                                                                   Inhalation Nebulizer Sol. 0.083% Sol. BID; Directions: 1 Sol.
                                                                   By Inhalation BID;

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   20180115020 Mental Health Appearance (check all that        108
                                                        Adequately Groomed                                          Lewis,   03-22-
                   - Psychiatry     apply)                                                                                    Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:19 am
   20180115020     Mental Health    Behavior (check all that        Cooperative                                               Lewis,        03-22-
                   - Psychiatry     apply)                                                                                    Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:19 am
   20180115020     Mental Health    Behavior (check all that        Calm                                                      Lewis,        03-22-
                   - Psychiatry     apply)                                                                                    Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:19 am
   20180115020     Mental Health    Alert                           Yes                                                       Lewis,        03-22-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:19 am
   20180115020     Mental Health    Orientation: Oriented to        Yes                                                       Lewis,        03-22-
                   - Psychiatry     person, place, time and                                                                   Psychiatrist, 2018
                   Note             situation?                                                                                Jawaun        11:19 am
   20180115020     Mental Health    Mood                            Euthymic/pleasent                                         Lewis,        03-22-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:19 am
   20180115020     Mental Health    Affect                          Appropriate                                               Lewis,        03-22-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:19 am
   20180115020     Mental Health    Affect congruent with           Yes                                                       Lewis,        03-22-
                   - Psychiatry     thoughts and mood?                                                                        Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:19 am
   20180115020     Mental Health    Perception                      Denied hallucinations within past 90 days                 Lewis,        03-22-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:19 am
   20180115020     Mental Health    Speech                          Appropriate                                               Lewis,        03-22-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:19 am
   20180115020     Mental Health    Thought Processes/Content       Logical                                                   Lewis,        03-22-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:19 am
   20180115020     Mental Health    Thought Processes/Content       Coherent                                                  Lewis,        03-22-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:19 am
   20180115020     Mental Health    Thought Processes/Content       Goal-Directed                                             Lewis,        03-22-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:19 am
   20180115020     Mental Health    Memory                          Memory functions grossly intact                           Lewis,        03-22-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:19 am
   20180115020     Mental Health    Insight                         Fair                                                      Lewis,        03-22-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:19 am
   20180115020     Mental Health    Judgment                        Fair                                                      Lewis,        03-22-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:19 am
   20180115020     Mental Health    Suicidal/Homicidal Ideation -   Denied                                                    Lewis,        03-22-
                   - Psychiatry     Reported thoughts/plans of                                                                Psychiatrist, 2018
                   Note             self-injury/homicide:                                                                     Jawaun        11:19 am
   20180115020     Mental Health    Psychotropic Medication         Medication prescribed historically                        Lewis,        03-22-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:19 am
   20180115020     Mental Health    Participation                   Active engagement                                         Lewis,        03-22-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:19 am
   20180115020     Mental Health    Provisional DSM 5 Diagnosis     no change                                                 Lewis,        03-22-
                   - Psychiatry                                                                                               Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:19 am
   20180115020     Mental Health    Current symptom severity        Moderate - Minor impact on inmate's ability to function   Lewis,        03-22-
                   - Psychiatry                                     satisfactorily in the current setting.                    Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:19 am
   20180115020     Mental Health    Progress after mental health    No Change                                                 Lewis,        03-22-
                   - Psychiatry     encounter                                                                                 Psychiatrist, 2018
                   Note                                                                                                       Jawaun        11:19 am


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   20180115020 Mental Health Overall progress                 108
                                                      Decline in adaptive functioning                              Lewis,   03-22-
                   - Psychiatry                                                                                                     Psychiatrist, 2018
                   Note                                                                                                             Jawaun        11:19 am
   20180115020     Mental Health    Treatment Plan                  Change Medications                                              Lewis,        03-22-
                   - Psychiatry                                                                                                     Psychiatrist, 2018
                   Note                                                                                                             Jawaun        11:19 am
   20180115020     Mental Health    Medication Orders               increase abilify 15 mg am                                       Lewis,        03-22-
                   - Psychiatry                                                                                                     Psychiatrist, 2018
                   Note                                                                                                             Jawaun        11:19 am
   20180115020     Mental Health    Medication Consent Verified     Yes                                                             Lewis,        03-22-
                   - Psychiatry                                                                                                     Psychiatrist, 2018
                   Note                                                                                                             Jawaun        11:19 am
   20180115020     Mental Health    Follow-up:                      Psychiatry follow-up 90 days                                    Lewis,        03-22-
                   - Psychiatry                                                                                                     Psychiatrist, 2018
                   Note                                                                                                             Jawaun        11:19 am
   20180115020     Mental Health    Patient communicates a          Yes                                                             Lewis,        03-22-
                   - Psychiatry     willingness to notify                                                                           Psychiatrist, 2018
                   Note             security/medical personnel of                                                                   Jawaun        11:19 am
                                    any suicidal/homicidal
                                    ideation or intent.
   20180115020     Mental Health    Education provided:             How to access additional health services                        Lewis,        03-22-
                   - Psychiatry                                                                                                     Psychiatrist, 2018
                   Note                                                                                                             Jawaun        11:19 am
   20180115020     Mental Health    Education provided:             Treatment Plan                                                  Lewis,        03-22-
                   - Psychiatry                                                                                                     Psychiatrist, 2018
                   Note                                                                                                             Jawaun        11:19 am
   20180115020     Mental Health    Education provided:             Medication side effects reviewed                                Lewis,        03-22-
                   - Psychiatry                                                                                                     Psychiatrist, 2018
                   Note                                                                                                             Jawaun        11:19 am
   20180115020     Mental Health    Education provided:             Medication compliance benefits                                  Lewis,        03-22-
                   - Psychiatry                                                                                                     Psychiatrist, 2018
                   Note                                                                                                             Jawaun        11:19 am
   20180115020     Mental Health    Education provided:             Potential for discontinuation of medications if below 75%       Lewis,        03-22-
                   - Psychiatry                                     compliant                                                       Psychiatrist, 2018
                   Note                                                                                                             Jawaun        11:19 am
   20180115020     Restrictive      Current Observations            Alert / No Distress                                             McAnally,    03-23-
                   Housing                                                                                                          Maureen      2018
                   Rounds                                                                                                                        6:57 am
   20180115020     Restrictive      Request for Medical             No                                                              McAnally,    03-23-
                   Housing          Services?                                                                                       Maureen      2018
                   Rounds                                                                                                                        6:57 am
   20180115020     Restrictive      Request for Mental Health       No                                                              McAnally,    03-23-
                   Housing          Services?                                                                                       Maureen      2018
                   Rounds                                                                                                                        6:57 am
   20180115020     Restrictive      Request for Dental Services?    No                                                              McAnally,    03-23-
                   Housing                                                                                                          Maureen      2018
                   Rounds                                                                                                                        6:57 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                   McAnally,    03-23-
                   Housing          Follow Up if Required. Please                                                                   Maureen      2018
                   Rounds           be as detailed as possible.                                                                                  6:57 am
   20180115020     Mental Health    Reason For Encounter            Segregation Round                                               Irvin,       03-23-
                   - Rounds /                                                                                                       Psychlogist, 2018
                   Follow-up                                                                                                        Alicia       10:28
                   Note                                                                                                                          am
   20180115020     Mental Health    Diagnosis                       Personality Disorder NOS                                        Irvin,       03-23-
                   - Rounds /                                                                                                       Psychlogist, 2018
                   Follow-up                                                                                                        Alicia       10:28
                   Note                                                                                                                          am
   20180115020     Mental Health    Current Observations            Alert / No Distress                                             Irvin,       03-23-
                   - Rounds /                                                                                                       Psychlogist, 2018
                   Follow-up                                                                                                        Alicia       10:28
                   Note                                                                                                                          am
   20180115020     Mental Health    Current Medications             ARIPIPRAZOLE 15MG TAB QD PM; Directions: 1 TAB [PO]             Irvin,       03-23-
                   - Rounds /                                       By Mouth QD PM ; PAROXETINE HCL 30MG TAB QD PM;                 Psychlogist, 2018
                   Follow-up                                        Directions: 1 TAB By Mouth QD PM; Albuterol Sulfate             Alicia       10:28
                   Note                                             Inhalation Nebulizer Sol. 0.083% Sol. BID; Directions: 1 Sol.                am
                                                                    By Inhalation BID;
   20180115020     Mental Health    Treatment Compliance            Partial Compliance (describe)                                   Irvin,       03-23-
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                  - Rounds /                             108                                                  Psychlogist, 2018
                   Follow-up                                                                                                    Alicia      10:28
                   Note                                                                                                                     am
   20180115020     Mental Health    Encounter Summary              Patient reported he is doing alright. Asking why a.m. meds   Irvin,       03-23-
                   - Rounds /                                      were d/c. Advised it was due to noncompliance. No other      Psychlogist, 2018
                   Follow-up                                       issues or concerns. No SI or plans.                          Alicia       10:28
                   Note                                                                                                                      am
   20180115020     Mental Health    Follow-up Required             f/u in 1 week while in seg                                   Irvin,       03-23-
                   - Rounds /                                                                                                   Psychlogist, 2018
                   Follow-up                                                                                                    Alicia       10:28
                   Note                                                                                                                      am
   20180115020     Restrictive      Current Observations           Sleeping (Required Arrousal)                                 Groom,      03-24-
                   Housing                                                                                                      Nicholas    2018
                   Rounds                                                                                                                   10:59
                                                                                                                                            am
   20180115020     Restrictive      Request for Medical            No                                                           Groom,      03-24-
                   Housing          Services?                                                                                   Nicholas    2018
                   Rounds                                                                                                                   10:59
                                                                                                                                            am
   20180115020     Restrictive      Request for Mental Health      No                                                           Groom,      03-24-
                   Housing          Services?                                                                                   Nicholas    2018
                   Rounds                                                                                                                   10:59
                                                                                                                                            am
   20180115020     Restrictive      Request for Dental Services?   No                                                           Groom,      03-24-
                   Housing                                                                                                      Nicholas    2018
                   Rounds                                                                                                                   10:59
                                                                                                                                            am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                               Groom,      03-24-
                   Housing          Follow Up if Required. Please                                                               Nicholas    2018
                   Rounds           be as detailed as possible.                                                                             10:59
                                                                                                                                            am
   20180115020     Restrictive      Current Observations           Sleeping (Required Arrousal)                                 Groom,      03-25-
                   Housing                                                                                                      Nicholas    2018
                   Rounds                                                                                                                   10:00
                                                                                                                                            am
   20180115020     Restrictive      Request for Medical            No                                                           Groom,      03-25-
                   Housing          Services?                                                                                   Nicholas    2018
                   Rounds                                                                                                                   10:00
                                                                                                                                            am
   20180115020     Restrictive      Request for Mental Health      No                                                           Groom,      03-25-
                   Housing          Services?                                                                                   Nicholas    2018
                   Rounds                                                                                                                   10:00
                                                                                                                                            am
   20180115020     Restrictive      Request for Dental Services?   No                                                           Groom,      03-25-
                   Housing                                                                                                      Nicholas    2018
                   Rounds                                                                                                                   10:00
                                                                                                                                            am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                               Groom,      03-25-
                   Housing          Follow Up if Required. Please                                                               Nicholas    2018
                   Rounds           be as detailed as possible.                                                                             10:00
                                                                                                                                            am
   20180115020     Restrictive      Current Observations           Alert / No Distress                                          Pauley,     03-26-
                   Housing                                                                                                      LPN,        2018
                   Rounds                                                                                                       Carson      3:20 pm
   20180115020     Restrictive      Request for Medical            No                                                           Pauley,     03-26-
                   Housing          Services?                                                                                   LPN,        2018
                   Rounds                                                                                                       Carson      3:20 pm
   20180115020     Restrictive      Request for Mental Health      No                                                           Pauley,     03-26-
                   Housing          Services?                                                                                   LPN,        2018
                   Rounds                                                                                                       Carson      3:20 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                           Pauley,     03-26-
                   Housing                                                                                                      LPN,        2018
                   Rounds                                                                                                       Carson      3:20 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                               Pauley,     03-26-
                   Housing          Follow Up if Required. Please                                                               LPN,        2018
                   Rounds           be as detailed as possible.                                                                 Carson      3:20 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                                          Pauley,     03-27-
                   Housing                                                                                                      LPN,        2018
                   Rounds                                                                                                       Carson

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                                                         108                                                           12:01
                                                                                                                       pm
   20180115020     Restrictive      Request for Medical            No                                       Pauley,    03-27-
                   Housing          Services?                                                               LPN,       2018
                   Rounds                                                                                   Carson     12:01
                                                                                                                       pm
   20180115020     Restrictive      Request for Mental Health      No                                       Pauley,    03-27-
                   Housing          Services?                                                               LPN,       2018
                   Rounds                                                                                   Carson     12:01
                                                                                                                       pm
   20180115020     Restrictive      Request for Dental Services?   No                                       Pauley,    03-27-
                   Housing                                                                                  LPN,       2018
                   Rounds                                                                                   Carson     12:01
                                                                                                                       pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Pauley,    03-27-
                   Housing          Follow Up if Required. Please                                           LPN,       2018
                   Rounds           be as detailed as possible.                                             Carson     12:01
                                                                                                                       pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                      Pauley,    03-28-
                   Housing                                                                                  LPN,       2018
                   Rounds                                                                                   Carson     3:35 pm
   20180115020     Restrictive      Request for Medical            No                                       Pauley,    03-28-
                   Housing          Services?                                                               LPN,       2018
                   Rounds                                                                                   Carson     3:35 pm
   20180115020     Restrictive      Request for Mental Health      No                                       Pauley,    03-28-
                   Housing          Services?                                                               LPN,       2018
                   Rounds                                                                                   Carson     3:35 pm
   20180115020     Restrictive      Request for Dental Services?   No                                       Pauley,    03-28-
                   Housing                                                                                  LPN,       2018
                   Rounds                                                                                   Carson     3:35 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Pauley,    03-28-
                   Housing          Follow Up if Required. Please                                           LPN,       2018
                   Rounds           be as detailed as possible.                                             Carson     3:35 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                      Pauley,    03-29-
                   Housing                                                                                  LPN,       2018
                   Rounds                                                                                   Carson     10:18
                                                                                                                       am
   20180115020     Restrictive      Request for Medical            No                                       Pauley,    03-29-
                   Housing          Services?                                                               LPN,       2018
                   Rounds                                                                                   Carson     10:18
                                                                                                                       am
   20180115020     Restrictive      Request for Mental Health      No                                       Pauley,    03-29-
                   Housing          Services?                                                               LPN,       2018
                   Rounds                                                                                   Carson     10:18
                                                                                                                       am
   20180115020     Restrictive      Request for Dental Services?   No                                       Pauley,    03-29-
                   Housing                                                                                  LPN,       2018
                   Rounds                                                                                   Carson     10:18
                                                                                                                       am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Pauley,    03-29-
                   Housing          Follow Up if Required. Please                                           LPN,       2018
                   Rounds           be as detailed as possible.                                             Carson     10:18
                                                                                                                       am
   20180115020     Restrictive      Current Observations           Alert / No Distress                      Pauley,    03-30-
                   Housing                                                                                  LPN,       2018
                   Rounds                                                                                   Carson     5:21 pm
   20180115020     Restrictive      Request for Medical            No                                       Pauley,    03-30-
                   Housing          Services?                                                               LPN,       2018
                   Rounds                                                                                   Carson     5:21 pm
   20180115020     Restrictive      Request for Mental Health      No                                       Pauley,    03-30-
                   Housing          Services?                                                               LPN,       2018
                   Rounds                                                                                   Carson     5:21 pm
   20180115020     Restrictive      Request for Dental Services?   No                                       Pauley,    03-30-
                   Housing                                                                                  LPN,       2018
                   Rounds                                                                                   Carson     5:21 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Pauley,    03-30-
                   Housing          Follow Up if Required. Please                                           LPN,       2018
                   Rounds           be as detailed as possible.                                             Carson     5:21 pm

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   20180115020 Mental Health Reason For Encounter            108
                                                     Segregation Round                                            Taylor, Terri 03-30-
                   - Rounds /                                                                                                                      2018
                   Follow-up                                                                                                                       6:27 pm
                   Note
   20180115020     Mental Health    Diagnosis                      Unspecified Mental DO                                           Taylor, Terri   03-30-
                   - Rounds /                                                                                                                      2018
                   Follow-up                                                                                                                       6:27 pm
                   Note
   20180115020     Mental Health    Current Observations           Alert / No Distress                                             Taylor, Terri   03-30-
                   - Rounds /                                                                                                                      2018
                   Follow-up                                                                                                                       6:27 pm
                   Note
   20180115020     Mental Health    Current Medications            ARIPIPRAZOLE 15MG TAB QD PM; Directions: 1 TAB [PO]             Taylor, Terri   03-30-
                   - Rounds /                                      By Mouth QD PM ; PAROXETINE HCL 30MG TAB QD PM;                                 2018
                   Follow-up                                       Directions: 1 TAB By Mouth QD PM; Albuterol Sulfate                             6:27 pm
                   Note                                            Inhalation Nebulizer Sol. 0.083% Sol. BID; Directions: 1 Sol.
                                                                   By Inhalation BID;
   20180115020     Mental Health    Treatment Compliance           Compliant                                                       Taylor, Terri   03-30-
                   - Rounds /                                                                                                                      2018
                   Follow-up                                                                                                                       6:27 pm
                   Note
   20180115020     Mental Health    Encounter Summary              I/M expressed that he is doing well however he has              Taylor, Terri   03-30-
                   - Rounds /                                      requested to be put back on his "Abilify". MHP offered and                      2018
                   Follow-up                                       I/M accepted several handouts (e.g., Sudoku puzzles,                            6:27 pm
                   Note                                            pictures to color, word search) for a therapeutic outlet
                                                                   emotionally and intellectually.
   20180115020     Mental Health    Follow-up Required             IM has requested to be put back on his "Abilify" _ IM is        Taylor, Terri   03-30-
                   - Rounds /                                      taking this mediation follow up in 7 days                                       2018
                   Follow-up                                                                                                                       6:27 pm
                   Note
   20180115020     Restrictive      Current Observations           Alert / No Distress                                             Few, Kara       03-31-
                   Housing                                                                                                                         2018
                   Rounds                                                                                                                          8:13 am
   20180115020     Restrictive      Request for Medical            No                                                              Few, Kara       03-31-
                   Housing          Services?                                                                                                      2018
                   Rounds                                                                                                                          8:13 am
   20180115020     Restrictive      Request for Mental Health      No                                                              Few, Kara       03-31-
                   Housing          Services?                                                                                                      2018
                   Rounds                                                                                                                          8:13 am
   20180115020     Restrictive      Request for Dental Services?   No                                                              Few, Kara       03-31-
                   Housing                                                                                                                         2018
                   Rounds                                                                                                                          8:13 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                  Few, Kara       03-31-
                   Housing          Follow Up if Required. Please                                                                                  2018
                   Rounds           be as detailed as possible.                                                                                    8:13 am
   20180115020     Restrictive      Current Observations           Alert / No Distress                                             Few, Kara       04-01-
                   Housing                                                                                                                         2018
                   Rounds                                                                                                                          7:53 am
   20180115020     Restrictive      Request for Medical            No                                                              Few, Kara       04-01-
                   Housing          Services?                                                                                                      2018
                   Rounds                                                                                                                          7:53 am
   20180115020     Restrictive      Request for Mental Health      No                                                              Few, Kara       04-01-
                   Housing          Services?                                                                                                      2018
                   Rounds                                                                                                                          7:53 am
   20180115020     Restrictive      Request for Dental Services?   No                                                              Few, Kara       04-01-
                   Housing                                                                                                                         2018
                   Rounds                                                                                                                          7:53 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                  Few, Kara       04-01-
                   Housing          Follow Up if Required. Please                                                                                  2018
                   Rounds           be as detailed as possible.                                                                                    7:53 am
   20180115020     Restrictive      Current Observations           Alert / No Distress                                             Pauley,         04-02-
                   Housing                                                                                                         LPN,            2018
                   Rounds                                                                                                          Carson          2:45 pm
   20180115020     Restrictive      Request for Medical            No                                                              Pauley,         04-02-
                   Housing          Services?                                                                                      LPN,            2018
                   Rounds                                                                                                          Carson          2:45 pm
   20180115020     Restrictive      Request for Mental Health      No                                                              Pauley,         04-02-
                   Housing          Services?                                                                                      LPN,            2018

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                  Rounds                                 108                                                  Carson   2:45 pm
   20180115020     Restrictive      Request for Dental Services?   No                                       Pauley,    04-02-
                   Housing                                                                                  LPN,       2018
                   Rounds                                                                                   Carson     2:45 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Pauley,    04-02-
                   Housing          Follow Up if Required. Please                                           LPN,       2018
                   Rounds           be as detailed as possible.                                             Carson     2:45 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                      Pauley,    04-03-
                   Housing                                                                                  LPN,       2018
                   Rounds                                                                                   Carson     2:14 pm
   20180115020     Restrictive      Request for Medical            No                                       Pauley,    04-03-
                   Housing          Services?                                                               LPN,       2018
                   Rounds                                                                                   Carson     2:14 pm
   20180115020     Restrictive      Request for Mental Health      No                                       Pauley,    04-03-
                   Housing          Services?                                                               LPN,       2018
                   Rounds                                                                                   Carson     2:14 pm
   20180115020     Restrictive      Request for Dental Services?   No                                       Pauley,    04-03-
                   Housing                                                                                  LPN,       2018
                   Rounds                                                                                   Carson     2:14 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Pauley,    04-03-
                   Housing          Follow Up if Required. Please                                           LPN,       2018
                   Rounds           be as detailed as possible.                                             Carson     2:14 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                      Pauley,    04-04-
                   Housing                                                                                  LPN,       2018
                   Rounds                                                                                   Carson     2:53 pm
   20180115020     Restrictive      Request for Medical            No                                       Pauley,    04-04-
                   Housing          Services?                                                               LPN,       2018
                   Rounds                                                                                   Carson     2:53 pm
   20180115020     Restrictive      Request for Mental Health      No                                       Pauley,    04-04-
                   Housing          Services?                                                               LPN,       2018
                   Rounds                                                                                   Carson     2:53 pm
   20180115020     Restrictive      Request for Dental Services?   No                                       Pauley,    04-04-
                   Housing                                                                                  LPN,       2018
                   Rounds                                                                                   Carson     2:53 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Pauley,    04-04-
                   Housing          Follow Up if Required. Please                                           LPN,       2018
                   Rounds           be as detailed as possible.                                             Carson     2:53 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                      Pauley,    04-05-
                   Housing                                                                                  LPN,       2018
                   Rounds                                                                                   Carson     1:21 pm
   20180115020     Restrictive      Request for Medical            No                                       Pauley,    04-05-
                   Housing          Services?                                                               LPN,       2018
                   Rounds                                                                                   Carson     1:21 pm
   20180115020     Restrictive      Request for Mental Health      No                                       Pauley,    04-05-
                   Housing          Services?                                                               LPN,       2018
                   Rounds                                                                                   Carson     1:21 pm
   20180115020     Restrictive      Request for Dental Services?   No                                       Pauley,    04-05-
                   Housing                                                                                  LPN,       2018
                   Rounds                                                                                   Carson     1:21 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Pauley,    04-05-
                   Housing          Follow Up if Required. Please                                           LPN,       2018
                   Rounds           be as detailed as possible.                                             Carson     1:21 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                      Pauley,    04-06-
                   Housing                                                                                  LPN,       2018
                   Rounds                                                                                   Carson     3:30 pm
   20180115020     Restrictive      Request for Medical            No                                       Pauley,    04-06-
                   Housing          Services?                                                               LPN,       2018
                   Rounds                                                                                   Carson     3:30 pm
   20180115020     Restrictive      Request for Mental Health      No                                       Pauley,    04-06-
                   Housing          Services?                                                               LPN,       2018
                   Rounds                                                                                   Carson     3:30 pm
   20180115020     Restrictive      Request for Dental Services?   No                                       Pauley,    04-06-
                   Housing                                                                                  LPN,       2018
                   Rounds                                                                                   Carson     3:30 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Pauley,    04-06-
                   Housing          Follow Up if Required. Please                                           LPN,       2018

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                  Rounds    be as detailed as possible.        108                                                  Carson   3:30 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                                             Pauley,         04-06-
                   Housing                                                                                                         LPN,            2018
                   Rounds                                                                                                          Carson          3:30 pm
   20180115020     Restrictive      Request for Medical            No                                                              Pauley,         04-06-
                   Housing          Services?                                                                                      LPN,            2018
                   Rounds                                                                                                          Carson          3:30 pm
   20180115020     Restrictive      Request for Mental Health      No                                                              Pauley,         04-06-
                   Housing          Services?                                                                                      LPN,            2018
                   Rounds                                                                                                          Carson          3:30 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                              Pauley,         04-06-
                   Housing                                                                                                         LPN,            2018
                   Rounds                                                                                                          Carson          3:30 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                  Pauley,         04-06-
                   Housing          Follow Up if Required. Please                                                                  LPN,            2018
                   Rounds           be as detailed as possible.                                                                    Carson          3:30 pm
   20180115020     Mental Health    Reason For Encounter           Segregation Round                                               Taylor, Terri   04-06-
                   - Rounds /                                                                                                                      2018
                   Follow-up                                                                                                                       6:02 pm
                   Note
   20180115020     Mental Health    Diagnosis                      Unspecified Psychosis                                           Taylor, Terri   04-06-
                   - Rounds /                                                                                                                      2018
                   Follow-up                                                                                                                       6:02 pm
                   Note
   20180115020     Mental Health    Current Observations           Alert / No Distress                                             Taylor, Terri   04-06-
                   - Rounds /                                                                                                                      2018
                   Follow-up                                                                                                                       6:02 pm
                   Note
   20180115020     Mental Health    Current Medications            ARIPIPRAZOLE 15MG TAB QD PM; Directions: 1 TAB [PO]             Taylor, Terri   04-06-
                   - Rounds /                                      By Mouth QD PM ; PAROXETINE HCL 30MG TAB QD PM;                                 2018
                   Follow-up                                       Directions: 1 TAB By Mouth QD PM; Albuterol Sulfate                             6:02 pm
                   Note                                            Inhalation Nebulizer Sol. 0.083% Sol. BID; Directions: 1 Sol.
                                                                   By Inhalation BID;
   20180115020     Mental Health    Treatment Compliance           Compliant                                                       Taylor, Terri   04-06-
                   - Rounds /                                                                                                                      2018
                   Follow-up                                                                                                                       6:02 pm
                   Note
   20180115020     Mental Health    Encounter Summary              I/M expressed that he is doing well and his MH needs are        Taylor, Terri   04-06-
                   - Rounds /                                      being met. MHP offered and I/M accepted several handouts                        2018
                   Follow-up                                       (e.g., Sudoku puzzles, pictures to color, word search) for a                    6:02 pm
                   Note                                            therapeutic outlet emotionally and intellectually.
   20180115020     Mental Health    Follow-up Required             follow up in 7 days                                             Taylor, Terri   04-06-
                   - Rounds /                                                                                                                      2018
                   Follow-up                                                                                                                       6:02 pm
                   Note
   20180115020     Restrictive      Current Observations           Sleeping (Required Arrousal)                                    Groom,          04-07-
                   Housing                                                                                                         Nicholas        2018
                   Rounds                                                                                                                          10:11 am
   20180115020     Restrictive      Request for Medical            No                                                              Groom,          04-07-
                   Housing          Services?                                                                                      Nicholas        2018
                   Rounds                                                                                                                          10:11 am
   20180115020     Restrictive      Request for Mental Health      No                                                              Groom,          04-07-
                   Housing          Services?                                                                                      Nicholas        2018
                   Rounds                                                                                                                          10:11 am
   20180115020     Restrictive      Request for Dental Services?   No                                                              Groom,          04-07-
                   Housing                                                                                                         Nicholas        2018
                   Rounds                                                                                                                          10:11 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                  Groom,          04-07-
                   Housing          Follow Up if Required. Please                                                                  Nicholas        2018
                   Rounds           be as detailed as possible.                                                                                    10:11 am
   20180115020     Restrictive      Current Observations           Sleeping (Required Arrousal)                                    Hall,           04-08-
                   Housing                                                                                                         Autumn          2018
                   Rounds                                                                                                                          11:15 am
   20180115020     Restrictive      Request for Medical            No                                                              Hall,           04-08-
                   Housing          Services?                                                                                      Autumn          2018
                   Rounds                                                                                                                          11:15 am
   20180115020     Restrictive      Request for Mental Health      No                                                              Hall,           04-08-
                   Housing          Services?                                                                                      Autumn          2018
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                                                      - #20180115020 USDC ND/OK              on History
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                  Rounds                                 108                                                           11:15 am
   20180115020     Restrictive      Request for Dental Services?   No                                       Hall,         04-08-
                   Housing                                                                                  Autumn        2018
                   Rounds                                                                                                 11:15 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Hall,         04-08-
                   Housing          Follow Up if Required. Please                                           Autumn        2018
                   Rounds           be as detailed as possible.                                                           11:15 am
   20180115020     Keep on          My Keep on Person (KOP)        prescription glasses with case           Martin, RN,   04-09-
                   Person (KOP)     Medication(s) is/are:                                                   Ronda         2018
                   Agreement                                                                                              2:34 pm
   20180115020     Keep on          Allergies:                     na                                       Martin, RN,   04-09-
                   Person (KOP)                                                                             Ronda         2018
                   Agreement                                                                                              2:34 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                      Pauley,       04-09-
                   Housing                                                                                  LPN,          2018
                   Rounds                                                                                   Carson        4:47 pm
   20180115020     Restrictive      Request for Medical            No                                       Pauley,       04-09-
                   Housing          Services?                                                               LPN,          2018
                   Rounds                                                                                   Carson        4:47 pm
   20180115020     Restrictive      Request for Mental Health      No                                       Pauley,       04-09-
                   Housing          Services?                                                               LPN,          2018
                   Rounds                                                                                   Carson        4:47 pm
   20180115020     Restrictive      Request for Dental Services?   No                                       Pauley,       04-09-
                   Housing                                                                                  LPN,          2018
                   Rounds                                                                                   Carson        4:47 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Pauley,       04-09-
                   Housing          Follow Up if Required. Please                                           LPN,          2018
                   Rounds           be as detailed as possible.                                             Carson        4:47 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                      Pauley,       04-10-
                   Housing                                                                                  LPN,          2018
                   Rounds                                                                                   Carson        12:42
                                                                                                                          pm
   20180115020     Restrictive      Request for Medical            No                                       Pauley,       04-10-
                   Housing          Services?                                                               LPN,          2018
                   Rounds                                                                                   Carson        12:42
                                                                                                                          pm
   20180115020     Restrictive      Request for Mental Health      No                                       Pauley,       04-10-
                   Housing          Services?                                                               LPN,          2018
                   Rounds                                                                                   Carson        12:42
                                                                                                                          pm
   20180115020     Restrictive      Request for Dental Services?   No                                       Pauley,       04-10-
                   Housing                                                                                  LPN,          2018
                   Rounds                                                                                   Carson        12:42
                                                                                                                          pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Pauley,       04-10-
                   Housing          Follow Up if Required. Please                                           LPN,          2018
                   Rounds           be as detailed as possible.                                             Carson        12:42
                                                                                                                          pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                      Pauley,       04-11-
                   Housing                                                                                  LPN,          2018
                   Rounds                                                                                   Carson        3:27 pm
   20180115020     Restrictive      Request for Medical            No                                       Pauley,       04-11-
                   Housing          Services?                                                               LPN,          2018
                   Rounds                                                                                   Carson        3:27 pm
   20180115020     Restrictive      Request for Mental Health      No                                       Pauley,       04-11-
                   Housing          Services?                                                               LPN,          2018
                   Rounds                                                                                   Carson        3:27 pm
   20180115020     Restrictive      Request for Dental Services?   No                                       Pauley,       04-11-
                   Housing                                                                                  LPN,          2018
                   Rounds                                                                                   Carson        3:27 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Pauley,       04-11-
                   Housing          Follow Up if Required. Please                                           LPN,          2018
                   Rounds           be as detailed as possible.                                             Carson        3:27 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                      Pauley,       04-12-
                   Housing                                                                                  LPN,          2018
                   Rounds                                                                                   Carson        3:39 pm
   20180115020     Restrictive      Request for Medical            No                                       Pauley,       04-12-

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                  Housing   Services?                       108                                                  LPN,     2018
                   Rounds                                                                                                        Carson          3:39 pm
   20180115020     Restrictive      Request for Mental Health      No                                                            Pauley,         04-12-
                   Housing          Services?                                                                                    LPN,            2018
                   Rounds                                                                                                        Carson          3:39 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                            Pauley,         04-12-
                   Housing                                                                                                       LPN,            2018
                   Rounds                                                                                                        Carson          3:39 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                Pauley,         04-12-
                   Housing          Follow Up if Required. Please                                                                LPN,            2018
                   Rounds           be as detailed as possible.                                                                  Carson          3:39 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                                           Pauley,         04-13-
                   Housing                                                                                                       LPN,            2018
                   Rounds                                                                                                        Carson          2:57 pm
   20180115020     Restrictive      Request for Medical            No                                                            Pauley,         04-13-
                   Housing          Services?                                                                                    LPN,            2018
                   Rounds                                                                                                        Carson          2:57 pm
   20180115020     Restrictive      Request for Mental Health      No                                                            Pauley,         04-13-
                   Housing          Services?                                                                                    LPN,            2018
                   Rounds                                                                                                        Carson          2:57 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                            Pauley,         04-13-
                   Housing                                                                                                       LPN,            2018
                   Rounds                                                                                                        Carson          2:57 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                Pauley,         04-13-
                   Housing          Follow Up if Required. Please                                                                LPN,            2018
                   Rounds           be as detailed as possible.                                                                  Carson          2:57 pm
   20180115020     Mental Health    Reason For Encounter           Segregation Round                                             Taylor, Terri   04-13-
                   - Rounds /                                                                                                                    2018
                   Follow-up                                                                                                                     6:38 pm
                   Note
   20180115020     Mental Health    Diagnosis                      Unspecified Psychosis                                         Taylor, Terri   04-13-
                   - Rounds /                                                                                                                    2018
                   Follow-up                                                                                                                     6:38 pm
                   Note
   20180115020     Mental Health    Current Observations           sleeping                                                      Taylor, Terri   04-13-
                   - Rounds /                                                                                                                    2018
                   Follow-up                                                                                                                     6:38 pm
                   Note
   20180115020     Mental Health    Current Medications            Albuterol Sulfate Inhalation Nebulizer Sol. 0.083% Sol. BID; Taylor, Terri    04-13-
                   - Rounds /                                      Directions: 1 Sol. [IH] By Inhalation BID ; TERAZOSIN HCL                     2018
                   Follow-up                                       1MG CAP QD PM; Directions: 2 CAP [PO] By Mouth QD PM                          6:38 pm
                   Note                                            ; ARIPIPRAZOLE 15MG TAB QD PM; Directions: 1 TAB
                                                                   [PO] By Mouth QD PM ; PAROXETINE HCL 30MG TAB QD
                                                                   PM; Directions: 1 TAB By Mouth QD PM; Albuterol Sulfate
                                                                   Inhalation Nebulizer Sol. 0.083% Sol. BID; Directions: 1 Sol.
                                                                   By Inhalation BID;
   20180115020     Mental Health    Treatment Compliance           Compliant                                                     Taylor, Terri   04-13-
                   - Rounds /                                                                                                                    2018
                   Follow-up                                                                                                                     6:38 pm
                   Note
   20180115020     Mental Health    Encounter Summary              I/M was sleeping but was observed breathing and having no     Taylor, Terri   04-13-
                   - Rounds /                                      which s/sx of distress No issues reported by security. MHP                    2018
                   Follow-up                                       placed several handouts under his door which included,                        6:38 pm
                   Note                                            Sudoku puzzles, pictures to color, word search for a
                                                                   therapeutic outlet emotionally and intellectually.
   20180115020     Mental Health    Follow-up Required             follow up ion 7 days                                          Taylor, Terri   04-13-
                   - Rounds /                                                                                                                    2018
                   Follow-up                                                                                                                     6:38 pm
                   Note
   20180115020     Restrictive      Current Observations           Alert / No Distress                                           Few, Kara       04-14-
                   Housing                                                                                                                       2018
                   Rounds                                                                                                                        9:10 am
   20180115020     Restrictive      Request for Medical            No                                                            Few, Kara       04-14-
                   Housing          Services?                                                                                                    2018
                   Rounds                                                                                                                        9:10 am
   20180115020     Restrictive      Request for Mental Health      No                                                            Few, Kara       04-14-
                   Housing          Services?                                                                                                    2018
                   Rounds                                                                                                                        9:10 am


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                                              RUTLEDGE, TY37-9   Filed in(10-14-1994)
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   20180115020 Restrictive Request for Dental Services? No    108                                                  Few, Kara 04-14-
                   Housing                                                                                                   2018
                   Rounds                                                                                                    9:10 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                Few, Kara   04-14-
                   Housing          Follow Up if Required. Please                                                            2018
                   Rounds           be as detailed as possible.                                                              9:10 am
   20180115020     Restrictive      Current Observations           Alert / No Distress                           Few, Kara   04-15-
                   Housing                                                                                                   2018
                   Rounds                                                                                                    10:13
                                                                                                                             am
   20180115020     Restrictive      Request for Medical            No                                            Few, Kara   04-15-
                   Housing          Services?                                                                                2018
                   Rounds                                                                                                    10:13
                                                                                                                             am
   20180115020     Restrictive      Request for Mental Health      No                                            Few, Kara   04-15-
                   Housing          Services?                                                                                2018
                   Rounds                                                                                                    10:13
                                                                                                                             am
   20180115020     Restrictive      Request for Dental Services?   No                                            Few, Kara   04-15-
                   Housing                                                                                                   2018
                   Rounds                                                                                                    10:13
                                                                                                                             am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                Few, Kara   04-15-
                   Housing          Follow Up if Required. Please                                                            2018
                   Rounds           be as detailed as possible.                                                              10:13
                                                                                                                             am
   20180115020     Restrictive      Current Observations           Alert / No Distress                           Pauley,     04-16-
                   Housing                                                                                       LPN,        2018
                   Rounds                                                                                        Carson      11:44 am
   20180115020     Restrictive      Request for Medical            No                                            Pauley,     04-16-
                   Housing          Services?                                                                    LPN,        2018
                   Rounds                                                                                        Carson      11:44 am
   20180115020     Restrictive      Request for Mental Health      No                                            Pauley,     04-16-
                   Housing          Services?                                                                    LPN,        2018
                   Rounds                                                                                        Carson      11:44 am
   20180115020     Restrictive      Request for Dental Services?   No                                            Pauley,     04-16-
                   Housing                                                                                       LPN,        2018
                   Rounds                                                                                        Carson      11:44 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                Pauley,     04-16-
                   Housing          Follow Up if Required. Please                                                LPN,        2018
                   Rounds           be as detailed as possible.                                                  Carson      11:44 am
   20180115020     Restrictive      Current Observations           Alert / No Distress                           Pauley,     04-17-
                   Housing                                                                                       LPN,        2018
                   Rounds                                                                                        Carson      10:21
                                                                                                                             am
   20180115020     Restrictive      Request for Medical            No                                            Pauley,     04-17-
                   Housing          Services?                                                                    LPN,        2018
                   Rounds                                                                                        Carson      10:21
                                                                                                                             am
   20180115020     Restrictive      Request for Mental Health      No                                            Pauley,     04-17-
                   Housing          Services?                                                                    LPN,        2018
                   Rounds                                                                                        Carson      10:21
                                                                                                                             am
   20180115020     Restrictive      Request for Dental Services?   No                                            Pauley,     04-17-
                   Housing                                                                                       LPN,        2018
                   Rounds                                                                                        Carson      10:21
                                                                                                                             am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                Pauley,     04-17-
                   Housing          Follow Up if Required. Please                                                LPN,        2018
                   Rounds           be as detailed as possible.                                                  Carson      10:21
                                                                                                                             am
   20180115020     Restrictive      Current Observations           Alert / No Distress                           Pauley,     04-18-
                   Housing                                                                                       LPN,        2018
                   Rounds                                                                                        Carson      12:56
                                                                                                                             pm
   20180115020     Restrictive      Request for Medical            No                                            Pauley,     04-18-
                   Housing          Services?                                                                    LPN,        2018
                   Rounds                                                                                        Carson      12:56
                                                                                                                             pm

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   20180115020 Restrictive Request for Mental Health          108
                                                      Yes (pt c/o of having nightmares)                              Pauley,  04-18-
                   Housing          Services?                                                                                LPN,           2018
                   Rounds                                                                                                    Carson         12:56
                                                                                                                                            pm
   20180115020     Restrictive      Request for Dental Services?   No                                                        Pauley,        04-18-
                   Housing                                                                                                   LPN,           2018
                   Rounds                                                                                                    Carson         12:56
                                                                                                                                            pm
   20180115020     Restrictive      Comments/Concerns and         Routine Mental Health Referral                             Pauley,        04-18-
                   Housing          Follow Up if Required. Please                                                            LPN,           2018
                   Rounds           be as detailed as possible.                                                              Carson         12:56
                                                                                                                                            pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                                       Pauley,        04-19-
                   Housing                                                                                                   LPN,           2018
                   Rounds                                                                                                    Carson         1:28 pm
   20180115020     Restrictive      Request for Medical            No                                                        Pauley,        04-19-
                   Housing          Services?                                                                                LPN,           2018
                   Rounds                                                                                                    Carson         1:28 pm
   20180115020     Restrictive      Request for Mental Health      No                                                        Pauley,        04-19-
                   Housing          Services?                                                                                LPN,           2018
                   Rounds                                                                                                    Carson         1:28 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                        Pauley,        04-19-
                   Housing                                                                                                   LPN,           2018
                   Rounds                                                                                                    Carson         1:28 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                            Pauley,        04-19-
                   Housing          Follow Up if Required. Please                                                            LPN,           2018
                   Rounds           be as detailed as possible.                                                              Carson         1:28 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                                       Pauley,        04-20-
                   Housing                                                                                                   LPN,           2018
                   Rounds                                                                                                    Carson         10:08
                                                                                                                                            am
   20180115020     Restrictive      Request for Medical            No                                                        Pauley,        04-20-
                   Housing          Services?                                                                                LPN,           2018
                   Rounds                                                                                                    Carson         10:08
                                                                                                                                            am
   20180115020     Restrictive      Request for Mental Health      No                                                        Pauley,        04-20-
                   Housing          Services?                                                                                LPN,           2018
                   Rounds                                                                                                    Carson         10:08
                                                                                                                                            am
   20180115020     Restrictive      Request for Dental Services?   No                                                        Pauley,        04-20-
                   Housing                                                                                                   LPN,           2018
                   Rounds                                                                                                    Carson         10:08
                                                                                                                                            am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                            Pauley,        04-20-
                   Housing          Follow Up if Required. Please                                                            LPN,           2018
                   Rounds           be as detailed as possible.                                                              Carson         10:08
                                                                                                                                            am
   20180115020     Mental Health    Reason For Encounter           Segregation Round                                         Irvin,       04-20-
                   - Rounds /                                                                                                Psychlogist, 2018
                   Follow-up                                                                                                 Alicia       10:26
                   Note                                                                                                                   am
   20180115020     Mental Health    Diagnosis                      Psychotic Disorder NOS                                    Irvin,       04-20-
                   - Rounds /                                                                                                Psychlogist, 2018
                   Follow-up                                                                                                 Alicia       10:26
                   Note                                                                                                                   am
   20180115020     Mental Health    Current Observations           Alert / No Distress                                       Irvin,       04-20-
                   - Rounds /                                                                                                Psychlogist, 2018
                   Follow-up                                                                                                 Alicia       10:26
                   Note                                                                                                                   am
   20180115020     Mental Health    Current Medications            Albuterol Sulfate Inhalation Nebulizer Sol. 0.083% Sol. BID; Irvin,      04-20-
                   - Rounds /                                      Directions: 1 Sol. [IH] By Inhalation BID ; TERAZOSIN HCL Psychlogist,   2018
                   Follow-up                                       1MG CAP QD PM; Directions: 2 CAP [PO] By Mouth QD PM Alicia              10:26
                   Note                                            ; ARIPIPRAZOLE 15MG TAB QD PM; Directions: 1 TAB                         am
                                                                   [PO] By Mouth QD PM ; PAROXETINE HCL 30MG TAB QD
                                                                   PM; Directions: 1 TAB By Mouth QD PM;
   20180115020     Mental Health    Treatment Compliance           Compliant                                                 Irvin,       04-20-
                   - Rounds /                                                                                                Psychlogist, 2018
                   Follow-up                                                                                                 Alicia       10:26
                   Note                                                                                                                   am


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   20180115020 Mental Health Encounter Summary               108
                                                     Patient reported he is doing fine. No issues or concerns         Irvin,   04-20-
                   - Rounds /                                      reported. No SI or plans.                      Psychlogist, 2018
                   Follow-up                                                                                      Alicia       10:26
                   Note                                                                                                        am
   20180115020     Mental Health    Follow-up Required             f/u on weekly seg rounds                       Irvin,       04-20-
                   - Rounds /                                                                                     Psychlogist, 2018
                   Follow-up                                                                                      Alicia       10:26
                   Note                                                                                                        am
   20180115020     Restrictive      Current Observations           Alert / No Distress                            Hall,        04-22-
                   Housing                                                                                        Autumn       2018
                   Rounds                                                                                                      11:23 am
   20180115020     Restrictive      Request for Medical            No                                             Hall,        04-22-
                   Housing          Services?                                                                     Autumn       2018
                   Rounds                                                                                                      11:23 am
   20180115020     Restrictive      Request for Mental Health      No                                             Hall,        04-22-
                   Housing          Services?                                                                     Autumn       2018
                   Rounds                                                                                                      11:23 am
   20180115020     Restrictive      Request for Dental Services?   No                                             Hall,        04-22-
                   Housing                                                                                        Autumn       2018
                   Rounds                                                                                                      11:23 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                 Hall,        04-22-
                   Housing          Follow Up if Required. Please                                                 Autumn       2018
                   Rounds           be as detailed as possible.                                                                11:23 am
   20180115020     Restrictive      Current Observations           Alert / No Distress                            Pauley,      04-23-
                   Housing                                                                                        LPN,         2018
                   Rounds                                                                                         Carson       3:45 pm
   20180115020     Restrictive      Request for Medical            No                                             Pauley,      04-23-
                   Housing          Services?                                                                     LPN,         2018
                   Rounds                                                                                         Carson       3:45 pm
   20180115020     Restrictive      Request for Mental Health      No                                             Pauley,      04-23-
                   Housing          Services?                                                                     LPN,         2018
                   Rounds                                                                                         Carson       3:45 pm
   20180115020     Restrictive      Request for Dental Services?   No                                             Pauley,      04-23-
                   Housing                                                                                        LPN,         2018
                   Rounds                                                                                         Carson       3:45 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                 Pauley,      04-23-
                   Housing          Follow Up if Required. Please                                                 LPN,         2018
                   Rounds           be as detailed as possible.                                                   Carson       3:45 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                            Pauley,      04-24-
                   Housing                                                                                        LPN,         2018
                   Rounds                                                                                         Carson       12:18
                                                                                                                               pm
   20180115020     Restrictive      Request for Medical            No                                             Pauley,      04-24-
                   Housing          Services?                                                                     LPN,         2018
                   Rounds                                                                                         Carson       12:18
                                                                                                                               pm
   20180115020     Restrictive      Request for Mental Health      No                                             Pauley,      04-24-
                   Housing          Services?                                                                     LPN,         2018
                   Rounds                                                                                         Carson       12:18
                                                                                                                               pm
   20180115020     Restrictive      Request for Dental Services?   No                                             Pauley,      04-24-
                   Housing                                                                                        LPN,         2018
                   Rounds                                                                                         Carson       12:18
                                                                                                                               pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                 Pauley,      04-24-
                   Housing          Follow Up if Required. Please                                                 LPN,         2018
                   Rounds           be as detailed as possible.                                                   Carson       12:18
                                                                                                                               pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                            Pauley,      04-25-
                   Housing                                                                                        LPN,         2018
                   Rounds                                                                                         Carson       9:59 am
   20180115020     Restrictive      Request for Medical            No                                             Pauley,      04-25-
                   Housing          Services?                                                                     LPN,         2018
                   Rounds                                                                                         Carson       9:59 am
   20180115020     Restrictive      Request for Mental Health      No                                             Pauley,      04-25-
                   Housing          Services?                                                                     LPN,         2018
                   Rounds                                                                                         Carson       9:59 am
   20180115020     Restrictive      Request for Dental Services?   No                                             Pauley,      04-25-
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                  Housing                                108                                                  LPN,     2018
                   Rounds                                                                                                    Carson         9:59 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                            Pauley,        04-25-
                   Housing          Follow Up if Required. Please                                                            LPN,           2018
                   Rounds           be as detailed as possible.                                                              Carson         9:59 am
   20180115020     Restrictive      Current Observations           Alert / No Distress                                       Pauley,        04-26-
                   Housing                                                                                                   LPN,           2018
                   Rounds                                                                                                    Carson         2:59 pm
   20180115020     Restrictive      Request for Medical            No                                                        Pauley,        04-26-
                   Housing          Services?                                                                                LPN,           2018
                   Rounds                                                                                                    Carson         2:59 pm
   20180115020     Restrictive      Request for Mental Health      No                                                        Pauley,        04-26-
                   Housing          Services?                                                                                LPN,           2018
                   Rounds                                                                                                    Carson         2:59 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                        Pauley,        04-26-
                   Housing                                                                                                   LPN,           2018
                   Rounds                                                                                                    Carson         2:59 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                            Pauley,        04-26-
                   Housing          Follow Up if Required. Please                                                            LPN,           2018
                   Rounds           be as detailed as possible.                                                              Carson         2:59 pm
   20180115020     Mental Health    Reason For Encounter           Segregation Round                                         Irvin,       04-27-
                   - Rounds /                                                                                                Psychlogist, 2018
                   Follow-up                                                                                                 Alicia       12:46
                   Note                                                                                                                   pm
   20180115020     Mental Health    Diagnosis                      Psychotic Disorder NOS                                    Irvin,       04-27-
                   - Rounds /                                                                                                Psychlogist, 2018
                   Follow-up                                                                                                 Alicia       12:46
                   Note                                                                                                                   pm
   20180115020     Mental Health    Current Observations           Sleeping (Required Arrousal)                              Irvin,       04-27-
                   - Rounds /                                                                                                Psychlogist, 2018
                   Follow-up                                                                                                 Alicia       12:46
                   Note                                                                                                                   pm
   20180115020     Mental Health    Current Medications            Albuterol Sulfate Inhalation Nebulizer Sol. 0.083% Sol. BID; Irvin,      04-27-
                   - Rounds /                                      Directions: 1 Sol. [IH] By Inhalation BID ; TERAZOSIN HCL Psychlogist,   2018
                   Follow-up                                       1MG CAP QD PM; Directions: 2 CAP [PO] By Mouth QD PM Alicia              12:46
                   Note                                            ; ARIPIPRAZOLE 15MG TAB QD PM; Directions: 1 TAB                         pm
                                                                   [PO] By Mouth QD PM ; PAROXETINE HCL 30MG TAB QD
                                                                   PM; Directions: 1 TAB By Mouth QD PM;
   20180115020     Mental Health    Treatment Compliance           Compliant                                                 Irvin,       04-27-
                   - Rounds /                                                                                                Psychlogist, 2018
                   Follow-up                                                                                                 Alicia       12:46
                   Note                                                                                                                   pm
   20180115020     Mental Health    Encounter Summary              Patient was asleep, but was observed breathing.           Irvin,       04-27-
                   - Rounds /                                                                                                Psychlogist, 2018
                   Follow-up                                                                                                 Alicia       12:46
                   Note                                                                                                                   pm
   20180115020     Mental Health    Follow-up Required             f/u on weekly seg rounds                                  Irvin,       04-27-
                   - Rounds /                                                                                                Psychlogist, 2018
                   Follow-up                                                                                                 Alicia       12:46
                   Note                                                                                                                   pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                                       Pauley,        04-27-
                   Housing                                                                                                   LPN,           2018
                   Rounds                                                                                                    Carson         12:56
                                                                                                                                            pm
   20180115020     Restrictive      Request for Medical            No                                                        Pauley,        04-27-
                   Housing          Services?                                                                                LPN,           2018
                   Rounds                                                                                                    Carson         12:56
                                                                                                                                            pm
   20180115020     Restrictive      Request for Mental Health      No                                                        Pauley,        04-27-
                   Housing          Services?                                                                                LPN,           2018
                   Rounds                                                                                                    Carson         12:56
                                                                                                                                            pm
   20180115020     Restrictive      Request for Dental Services?   No                                                        Pauley,        04-27-
                   Housing                                                                                                   LPN,           2018
                   Rounds                                                                                                    Carson         12:56
                                                                                                                                            pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                            Pauley,        04-27-
                   Housing          Follow Up if Required. Please                                                            LPN,           2018
                   Rounds           be as detailed as possible.                                                              Carson

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                                                         108                                                           12:56
                                                                                                                        pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                      Moran,      04-29-
                   Housing                                                                                  Sarah       2018
                   Rounds                                                                                               9:10 pm
   20180115020     Restrictive      Request for Medical            No                                       Moran,      04-29-
                   Housing          Services?                                                               Sarah       2018
                   Rounds                                                                                               9:10 pm
   20180115020     Restrictive      Request for Mental Health      No                                       Moran,      04-29-
                   Housing          Services?                                                               Sarah       2018
                   Rounds                                                                                               9:10 pm
   20180115020     Restrictive      Request for Dental Services?   No                                       Moran,      04-29-
                   Housing                                                                                  Sarah       2018
                   Rounds                                                                                               9:10 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Moran,      04-29-
                   Housing          Follow Up if Required. Please                                           Sarah       2018
                   Rounds           be as detailed as possible.                                                         9:10 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                      Pauley,     04-30-
                   Housing                                                                                  LPN,        2018
                   Rounds                                                                                   Carson      3:19 pm
   20180115020     Restrictive      Request for Medical            No                                       Pauley,     04-30-
                   Housing          Services?                                                               LPN,        2018
                   Rounds                                                                                   Carson      3:19 pm
   20180115020     Restrictive      Request for Mental Health      No                                       Pauley,     04-30-
                   Housing          Services?                                                               LPN,        2018
                   Rounds                                                                                   Carson      3:19 pm
   20180115020     Restrictive      Request for Dental Services?   No                                       Pauley,     04-30-
                   Housing                                                                                  LPN,        2018
                   Rounds                                                                                   Carson      3:19 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Pauley,     04-30-
                   Housing          Follow Up if Required. Please                                           LPN,        2018
                   Rounds           be as detailed as possible.                                             Carson      3:19 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                      Pauley,     05-01-
                   Housing                                                                                  LPN,        2018
                   Rounds                                                                                   Carson      4:10 pm
   20180115020     Restrictive      Request for Medical            No                                       Pauley,     05-01-
                   Housing          Services?                                                               LPN,        2018
                   Rounds                                                                                   Carson      4:10 pm
   20180115020     Restrictive      Request for Mental Health      No                                       Pauley,     05-01-
                   Housing          Services?                                                               LPN,        2018
                   Rounds                                                                                   Carson      4:10 pm
   20180115020     Restrictive      Request for Dental Services?   No                                       Pauley,     05-01-
                   Housing                                                                                  LPN,        2018
                   Rounds                                                                                   Carson      4:10 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Pauley,     05-01-
                   Housing          Follow Up if Required. Please                                           LPN,        2018
                   Rounds           be as detailed as possible.                                             Carson      4:10 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                      Pauley,     05-02-
                   Housing                                                                                  LPN,        2018
                   Rounds                                                                                   Carson      11:25 am
   20180115020     Restrictive      Request for Medical            No                                       Pauley,     05-02-
                   Housing          Services?                                                               LPN,        2018
                   Rounds                                                                                   Carson      11:25 am
   20180115020     Restrictive      Request for Mental Health      No                                       Pauley,     05-02-
                   Housing          Services?                                                               LPN,        2018
                   Rounds                                                                                   Carson      11:25 am
   20180115020     Restrictive      Request for Dental Services?   No                                       Pauley,     05-02-
                   Housing                                                                                  LPN,        2018
                   Rounds                                                                                   Carson      11:25 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Pauley,     05-02-
                   Housing          Follow Up if Required. Please                                           LPN,        2018
                   Rounds           be as detailed as possible.                                             Carson      11:25 am
   20180115020     Mental Health    Reason For Encounter           Segregation Round                        Irvin,       05-03-
                   - Rounds /                                                                               Psychlogist, 2018
                   Follow-up                                                                                Alicia       1:31 pm
                   Note


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   20180115020 Mental Health Diagnosis                       108
                                                     Psychotic Disorder NOS                                       Irvin,   05-03-
                   - Rounds /                                                                                                    Psychlogist, 2018
                   Follow-up                                                                                                     Alicia       1:31 pm
                   Note
   20180115020     Mental Health    Current Observations           Alert / No Distress                                           Irvin,       05-03-
                   - Rounds /                                                                                                    Psychlogist, 2018
                   Follow-up                                                                                                     Alicia       1:31 pm
                   Note
   20180115020     Mental Health    Current Medications            Albuterol Sulfate Inhalation Nebulizer Sol. 0.083% Sol. BID; Irvin,    05-03-
                   - Rounds /                                      Directions: 1 Sol. [IH] By Inhalation BID ; TERAZOSIN HCL Psychlogist, 2018
                   Follow-up                                       1MG CAP QD PM; Directions: 2 CAP [PO] By Mouth QD PM Alicia            1:31 pm
                   Note                                            ; ARIPIPRAZOLE 15MG TAB QD PM; Directions: 1 TAB
                                                                   [PO] By Mouth QD PM ; PAROXETINE HCL 30MG TAB QD
                                                                   PM; Directions: 1 TAB By Mouth QD PM;
   20180115020     Mental Health    Treatment Compliance           Compliant                                                     Irvin,       05-03-
                   - Rounds /                                                                                                    Psychlogist, 2018
                   Follow-up                                                                                                     Alicia       1:31 pm
                   Note
   20180115020     Mental Health    Encounter Summary              I/M reported he is doing fine. No SI or plans. No issues or   Irvin,       05-03-
                   - Rounds /                                      concerns. Requesting increase in anxiety meds.                Psychlogist, 2018
                   Follow-up                                                                                                     Alicia       1:31 pm
                   Note
   20180115020     Mental Health    Follow-up Required             refer to psychiatry; follow up on weekly seg rounds           Irvin,       05-03-
                   - Rounds /                                                                                                    Psychlogist, 2018
                   Follow-up                                                                                                     Alicia       1:31 pm
                   Note
   20180115020     Restrictive      Current Observations           Alert / No Distress                                           Pauley,     05-03-
                   Housing                                                                                                       LPN,        2018
                   Rounds                                                                                                        Carson      4:43 pm
   20180115020     Restrictive      Request for Medical            No                                                            Pauley,     05-03-
                   Housing          Services?                                                                                    LPN,        2018
                   Rounds                                                                                                        Carson      4:43 pm
   20180115020     Restrictive      Request for Mental Health      No                                                            Pauley,     05-03-
                   Housing          Services?                                                                                    LPN,        2018
                   Rounds                                                                                                        Carson      4:43 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                            Pauley,     05-03-
                   Housing                                                                                                       LPN,        2018
                   Rounds                                                                                                        Carson      4:43 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                Pauley,     05-03-
                   Housing          Follow Up if Required. Please                                                                LPN,        2018
                   Rounds           be as detailed as possible.                                                                  Carson      4:43 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                                           Pauley,     05-04-
                   Housing                                                                                                       LPN,        2018
                   Rounds                                                                                                        Carson      1:58 pm
   20180115020     Restrictive      Request for Medical            No                                                            Pauley,     05-04-
                   Housing          Services?                                                                                    LPN,        2018
                   Rounds                                                                                                        Carson      1:58 pm
   20180115020     Restrictive      Request for Mental Health      No                                                            Pauley,     05-04-
                   Housing          Services?                                                                                    LPN,        2018
                   Rounds                                                                                                        Carson      1:58 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                            Pauley,     05-04-
                   Housing                                                                                                       LPN,        2018
                   Rounds                                                                                                        Carson      1:58 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                                Pauley,     05-04-
                   Housing          Follow Up if Required. Please                                                                LPN,        2018
                   Rounds           be as detailed as possible.                                                                  Carson      1:58 pm
   20180115020     Restrictive      Current Observations           Sleeping (Required Arrousal)                                  Hall,       05-05-
                   Housing                                                                                                       Autumn      2018
                   Rounds                                                                                                                    9:08 am
   20180115020     Restrictive      Request for Medical            No                                                            Hall,       05-05-
                   Housing          Services?                                                                                    Autumn      2018
                   Rounds                                                                                                                    9:08 am
   20180115020     Restrictive      Request for Mental Health      No                                                            Hall,       05-05-
                   Housing          Services?                                                                                    Autumn      2018
                   Rounds                                                                                                                    9:08 am
   20180115020     Restrictive      Request for Dental Services?   No                                                            Hall,       05-05-
                   Housing                                                                                                       Autumn      2018
                   Rounds                                                                                                                    9:08 am

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   20180115020 Restrictive Comments/Concerns and          108
                                                  No Referral Needed at this time                              Hall,    05-05-
                   Housing          Follow Up if Required. Please                                           Autumn      2018
                   Rounds           be as detailed as possible.                                                         9:08 am
   20180115020     Restrictive      Current Observations            Alert / No Distress                     Hall,       05-06-
                   Housing                                                                                  Autumn      2018
                   Rounds                                                                                               10:38
                                                                                                                        am
   20180115020     Restrictive      Request for Medical             No                                      Hall,       05-06-
                   Housing          Services?                                                               Autumn      2018
                   Rounds                                                                                               10:38
                                                                                                                        am
   20180115020     Restrictive      Request for Mental Health       No                                      Hall,       05-06-
                   Housing          Services?                                                               Autumn      2018
                   Rounds                                                                                               10:38
                                                                                                                        am
   20180115020     Restrictive      Request for Dental Services?    No                                      Hall,       05-06-
                   Housing                                                                                  Autumn      2018
                   Rounds                                                                                               10:38
                                                                                                                        am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Hall,       05-06-
                   Housing          Follow Up if Required. Please                                           Autumn      2018
                   Rounds           be as detailed as possible.                                                         10:38
                                                                                                                        am
   20180115020     Restrictive      Current Observations            Alert / No Distress                     Pauley,     05-07-
                   Housing                                                                                  LPN,        2018
                   Rounds                                                                                   Carson      5:10 pm
   20180115020     Restrictive      Request for Medical             No                                      Pauley,     05-07-
                   Housing          Services?                                                               LPN,        2018
                   Rounds                                                                                   Carson      5:10 pm
   20180115020     Restrictive      Request for Mental Health       No                                      Pauley,     05-07-
                   Housing          Services?                                                               LPN,        2018
                   Rounds                                                                                   Carson      5:10 pm
   20180115020     Restrictive      Request for Dental Services?    No                                      Pauley,     05-07-
                   Housing                                                                                  LPN,        2018
                   Rounds                                                                                   Carson      5:10 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Pauley,     05-07-
                   Housing          Follow Up if Required. Please                                           LPN,        2018
                   Rounds           be as detailed as possible.                                             Carson      5:10 pm
   20180115020     Restrictive      Current Observations            Alert / No Distress                     Pauley,     05-08-
                   Housing                                                                                  LPN,        2018
                   Rounds                                                                                   Carson      3:48 pm
   20180115020     Restrictive      Request for Medical             No                                      Pauley,     05-08-
                   Housing          Services?                                                               LPN,        2018
                   Rounds                                                                                   Carson      3:48 pm
   20180115020     Restrictive      Request for Mental Health       No                                      Pauley,     05-08-
                   Housing          Services?                                                               LPN,        2018
                   Rounds                                                                                   Carson      3:48 pm
   20180115020     Restrictive      Request for Dental Services?    No                                      Pauley,     05-08-
                   Housing                                                                                  LPN,        2018
                   Rounds                                                                                   Carson      3:48 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Pauley,     05-08-
                   Housing          Follow Up if Required. Please                                           LPN,        2018
                   Rounds           be as detailed as possible.                                             Carson      3:48 pm
   20180115020     Restrictive      Current Observations            Alert / No Distress                     Pauley,     05-09-
                   Housing                                                                                  LPN,        2018
                   Rounds                                                                                   Carson      3:41 pm
   20180115020     Restrictive      Request for Medical             No                                      Pauley,     05-09-
                   Housing          Services?                                                               LPN,        2018
                   Rounds                                                                                   Carson      3:41 pm
   20180115020     Restrictive      Request for Mental Health       No                                      Pauley,     05-09-
                   Housing          Services?                                                               LPN,        2018
                   Rounds                                                                                   Carson      3:41 pm
   20180115020     Restrictive      Request for Dental Services?    No                                      Pauley,     05-09-
                   Housing                                                                                  LPN,        2018
                   Rounds                                                                                   Carson      3:41 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time           Pauley,     05-09-
                   Housing          Follow Up if Required. Please                                           LPN,        2018
                   Rounds           be as detailed as possible.                                             Carson      3:41 pm
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   20180115020 Restrictive Current Observations
                                                              108
                                                     Alert / No Distress                                           Hall,    05-10-
                   Housing                                                                                                      Autumn      2018
                   Rounds                                                                                                                   1:58 pm
   20180115020     Restrictive      Request for Medical            No                                                           Hall,       05-10-
                   Housing          Services?                                                                                   Autumn      2018
                   Rounds                                                                                                                   1:58 pm
   20180115020     Restrictive      Request for Mental Health      No                                                           Hall,       05-10-
                   Housing          Services?                                                                                   Autumn      2018
                   Rounds                                                                                                                   1:58 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                           Hall,       05-10-
                   Housing                                                                                                      Autumn      2018
                   Rounds                                                                                                                   1:58 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                               Hall,       05-10-
                   Housing          Follow Up if Required. Please                                                               Autumn      2018
                   Rounds           be as detailed as possible.                                                                             1:58 pm
   20180115020     Mental Health    Reason For Encounter           Segregation Round                                            Irvin,       05-11-
                   - Rounds /                                                                                                   Psychlogist, 2018
                   Follow-up                                                                                                    Alicia       11:40 am
                   Note
   20180115020     Mental Health    Diagnosis                      Psychotic Disorder NOS; Personality Disorder                 Irvin,       05-11-
                   - Rounds /                                                                                                   Psychlogist, 2018
                   Follow-up                                                                                                    Alicia       11:40 am
                   Note
   20180115020     Mental Health    Current Observations           Other (Specify) (out of cell)                                Irvin,       05-11-
                   - Rounds /                                                                                                   Psychlogist, 2018
                   Follow-up                                                                                                    Alicia       11:40 am
                   Note
   20180115020     Mental Health    Current Medications            PAROXETINE HCL 40MG TAB QD PM; Directions: 1 TAB             Irvin,       05-11-
                   - Rounds /                                      [PO] By Mouth QD PM ; Albuterol Sulfate Inhalation           Psychlogist, 2018
                   Follow-up                                       Nebulizer Sol. 0.083% Sol. BID; Directions: 1 Sol. [IH] By   Alicia       11:40 am
                   Note                                            Inhalation BID ; TERAZOSIN HCL 1MG CAP QD PM;
                                                                   Directions: 2 CAP [PO] By Mouth QD PM ; ARIPIPRAZOLE
                                                                   15MG TAB QD PM; Directions: 1 TAB [PO] By Mouth QD
                                                                   PM ;
   20180115020     Mental Health    Treatment Compliance           Compliant                                                    Irvin,       05-11-
                   - Rounds /                                                                                                   Psychlogist, 2018
                   Follow-up                                                                                                    Alicia       11:40 am
                   Note
   20180115020     Mental Health    Encounter Summary              Patient was out of cell during rounds.                       Irvin,       05-11-
                   - Rounds /                                                                                                   Psychlogist, 2018
                   Follow-up                                                                                                    Alicia       11:40 am
                   Note
   20180115020     Mental Health    Follow-up Required             f/u on weekly seg rounds                                     Irvin,       05-11-
                   - Rounds /                                                                                                   Psychlogist, 2018
                   Follow-up                                                                                                    Alicia       11:40 am
                   Note
   20180115020     Restrictive      Current Observations           Alert / No Distress                                          Pauley,     05-11-
                   Housing                                                                                                      LPN,        2018
                   Rounds                                                                                                       Carson      1:52 pm
   20180115020     Restrictive      Request for Medical            No                                                           Pauley,     05-11-
                   Housing          Services?                                                                                   LPN,        2018
                   Rounds                                                                                                       Carson      1:52 pm
   20180115020     Restrictive      Request for Mental Health      No                                                           Pauley,     05-11-
                   Housing          Services?                                                                                   LPN,        2018
                   Rounds                                                                                                       Carson      1:52 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                           Pauley,     05-11-
                   Housing                                                                                                      LPN,        2018
                   Rounds                                                                                                       Carson      1:52 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                               Pauley,     05-11-
                   Housing          Follow Up if Required. Please                                                               LPN,        2018
                   Rounds           be as detailed as possible.                                                                 Carson      1:52 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                                          Few, Kara   05-12-
                   Housing                                                                                                                  2018
                   Rounds                                                                                                                   9:29 am
   20180115020     Restrictive      Request for Medical            No                                                           Few, Kara   05-12-
                   Housing          Services?                                                                                               2018
                   Rounds                                                                                                                   9:29 am
   20180115020     Restrictive      Request for Mental Health      No                                                           Few, Kara   05-12-

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                  Housing   Services?                       108                                                           2018
                   Rounds                                                                                                9:29 am
   20180115020     Restrictive      Request for Dental Services?   No                                        Few, Kara   05-12-
                   Housing                                                                                               2018
                   Rounds                                                                                                9:29 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time            Few, Kara   05-12-
                   Housing          Follow Up if Required. Please                                                        2018
                   Rounds           be as detailed as possible.                                                          9:29 am
   20180115020     Restrictive      Current Observations           Alert / No Distress                       Few, Kara   05-13-
                   Housing                                                                                               2018
                   Rounds                                                                                                7:00 am
   20180115020     Restrictive      Request for Medical            No                                        Few, Kara   05-13-
                   Housing          Services?                                                                            2018
                   Rounds                                                                                                7:00 am
   20180115020     Restrictive      Request for Mental Health      No                                        Few, Kara   05-13-
                   Housing          Services?                                                                            2018
                   Rounds                                                                                                7:00 am
   20180115020     Restrictive      Request for Dental Services?   No                                        Few, Kara   05-13-
                   Housing                                                                                               2018
                   Rounds                                                                                                7:00 am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time            Few, Kara   05-13-
                   Housing          Follow Up if Required. Please                                                        2018
                   Rounds           be as detailed as possible.                                                          7:00 am
   20180115020     Restrictive      Current Observations           Alert / No Distress                       Pauley,     05-14-
                   Housing                                                                                   LPN,        2018
                   Rounds                                                                                    Carson      4:29 pm
   20180115020     Restrictive      Request for Medical            No                                        Pauley,     05-14-
                   Housing          Services?                                                                LPN,        2018
                   Rounds                                                                                    Carson      4:29 pm
   20180115020     Restrictive      Request for Mental Health      No                                        Pauley,     05-14-
                   Housing          Services?                                                                LPN,        2018
                   Rounds                                                                                    Carson      4:29 pm
   20180115020     Restrictive      Request for Dental Services?   No                                        Pauley,     05-14-
                   Housing                                                                                   LPN,        2018
                   Rounds                                                                                    Carson      4:29 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time            Pauley,     05-14-
                   Housing          Follow Up if Required. Please                                            LPN,        2018
                   Rounds           be as detailed as possible.                                              Carson      4:29 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                       Pauley,     05-15-
                   Housing                                                                                   LPN,        2018
                   Rounds                                                                                    Carson      3:33 pm
   20180115020     Restrictive      Request for Medical            No                                        Pauley,     05-15-
                   Housing          Services?                                                                LPN,        2018
                   Rounds                                                                                    Carson      3:33 pm
   20180115020     Restrictive      Request for Mental Health      No                                        Pauley,     05-15-
                   Housing          Services?                                                                LPN,        2018
                   Rounds                                                                                    Carson      3:33 pm
   20180115020     Restrictive      Request for Dental Services?   No                                        Pauley,     05-15-
                   Housing                                                                                   LPN,        2018
                   Rounds                                                                                    Carson      3:33 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time            Pauley,     05-15-
                   Housing          Follow Up if Required. Please                                            LPN,        2018
                   Rounds           be as detailed as possible.                                              Carson      3:33 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                       Pauley,     05-16-
                   Housing                                                                                   LPN,        2018 4:11
                   Rounds                                                                                    Carson      pm
   20180115020     Restrictive      Request for Medical            No                                        Pauley,     05-16-
                   Housing          Services?                                                                LPN,        2018 4:11
                   Rounds                                                                                    Carson      pm
   20180115020     Restrictive      Request for Mental Health      No                                        Pauley,     05-16-
                   Housing          Services?                                                                LPN,        2018 4:11
                   Rounds                                                                                    Carson      pm
   20180115020     Restrictive      Request for Dental Services?   No                                        Pauley,     05-16-
                   Housing                                                                                   LPN,        2018 4:11
                   Rounds                                                                                    Carson      pm
   20180115020     Restrictive      Comments/Concerns and          No Referral Needed at this time           Pauley,     05-16-

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                  Housing   Follow Up if Required. Please      108                                                  LPN,     2018 4:11
                   Rounds           be as detailed as possible.                                                                 Carson      pm
   20180115020     Mental Health    Reason For Encounter           Segregation Round                                            Irvin,       05-17-
                   - Rounds /                                                                                                   Psychlogist, 2018
                   Follow-up                                                                                                    Alicia       12:42
                   Note                                                                                                                      pm
   20180115020     Mental Health    Diagnosis                      Personality Disorder NOS                                     Irvin,       05-17-
                   - Rounds /                                                                                                   Psychlogist, 2018
                   Follow-up                                                                                                    Alicia       12:42
                   Note                                                                                                                      pm
   20180115020     Mental Health    Current Observations           Sleeping (Required Arrousal)                                 Irvin,       05-17-
                   - Rounds /                                                                                                   Psychlogist, 2018
                   Follow-up                                                                                                    Alicia       12:42
                   Note                                                                                                                      pm
   20180115020     Mental Health    Current Medications            PAROXETINE HCL 40MG TAB QD PM; Directions: 1 TAB             Irvin,       05-17-
                   - Rounds /                                      [PO] By Mouth QD PM ; Albuterol Sulfate Inhalation           Psychlogist, 2018
                   Follow-up                                       Nebulizer Sol. 0.083% Sol. BID; Directions: 1 Sol. [IH] By   Alicia       12:42
                   Note                                            Inhalation BID ; TERAZOSIN HCL 1MG CAP QD PM;                             pm
                                                                   Directions: 2 CAP [PO] By Mouth QD PM ; ARIPIPRAZOLE
                                                                   15MG TAB QD PM; Directions: 1 TAB [PO] By Mouth QD
                                                                   PM ;
   20180115020     Mental Health    Treatment Compliance           Compliant                                                    Irvin,       05-17-
                   - Rounds /                                                                                                   Psychlogist, 2018
                   Follow-up                                                                                                    Alicia       12:42
                   Note                                                                                                                      pm
   20180115020     Mental Health    Encounter Summary              I/M was asleep, but was observed breathing.                  Irvin,       05-17-
                   - Rounds /                                                                                                   Psychlogist, 2018
                   Follow-up                                                                                                    Alicia       12:42
                   Note                                                                                                                      pm
   20180115020     Mental Health    Follow-up Required             f/u on weekly seg rounds                                     Irvin,       05-17-
                   - Rounds /                                                                                                   Psychlogist, 2018
                   Follow-up                                                                                                    Alicia       12:42
                   Note                                                                                                                      pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                                          Pauley,     05-17-
                   Housing                                                                                                      LPN,        2018
                   Rounds                                                                                                       Carson      4:57 pm
   20180115020     Restrictive      Request for Medical            No                                                           Pauley,     05-17-
                   Housing          Services?                                                                                   LPN,        2018
                   Rounds                                                                                                       Carson      4:57 pm
   20180115020     Restrictive      Request for Mental Health      No                                                           Pauley,     05-17-
                   Housing          Services?                                                                                   LPN,        2018
                   Rounds                                                                                                       Carson      4:57 pm
   20180115020     Restrictive      Request for Dental Services?   No                                                           Pauley,     05-17-
                   Housing                                                                                                      LPN,        2018
                   Rounds                                                                                                       Carson      4:57 pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                               Pauley,     05-17-
                   Housing          Follow Up if Required. Please                                                               LPN,        2018
                   Rounds           be as detailed as possible.                                                                 Carson      4:57 pm
   20180115020     Restrictive      Current Observations           Alert / No Distress                                          Pauley,     05-18-
                   Housing                                                                                                      LPN,        2018
                   Rounds                                                                                                       Carson      12:10
                                                                                                                                            pm
   20180115020     Restrictive      Request for Medical            No                                                           Pauley,     05-18-
                   Housing          Services?                                                                                   LPN,        2018
                   Rounds                                                                                                       Carson      12:10
                                                                                                                                            pm
   20180115020     Restrictive      Request for Mental Health      No                                                           Pauley,     05-18-
                   Housing          Services?                                                                                   LPN,        2018
                   Rounds                                                                                                       Carson      12:10
                                                                                                                                            pm
   20180115020     Restrictive      Request for Dental Services?   No                                                           Pauley,     05-18-
                   Housing                                                                                                      LPN,        2018
                   Rounds                                                                                                       Carson      12:10
                                                                                                                                            pm
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                               Pauley,     05-18-
                   Housing          Follow Up if Required. Please                                                               LPN,        2018
                   Rounds           be as detailed as possible.                                                                 Carson      12:10
                                                                                                                                            pm
   20180115020     Restrictive      Current Observations           Sleeping (Required Arrousal)                                 Hall,       05-19-

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                  Housing                                108                                                  Autumn   2018
                   Rounds                                                                                                                 10:37
                                                                                                                                          am
   20180115020     Restrictive      Request for Medical            No                                                           Hall,     05-19-
                   Housing          Services?                                                                                   Autumn    2018
                   Rounds                                                                                                                 10:37
                                                                                                                                          am
   20180115020     Restrictive      Request for Mental Health      No                                                           Hall,     05-19-
                   Housing          Services?                                                                                   Autumn    2018
                   Rounds                                                                                                                 10:37
                                                                                                                                          am
   20180115020     Restrictive      Request for Dental Services?   No                                                           Hall,     05-19-
                   Housing                                                                                                      Autumn    2018
                   Rounds                                                                                                                 10:37
                                                                                                                                          am
   20180115020     Restrictive      Comments/Concerns and         No Referral Needed at this time                               Hall,     05-19-
                   Housing          Follow Up if Required. Please                                                               Autumn    2018
                   Rounds           be as detailed as possible.                                                                           10:37
                                                                                                                                          am
   20180115020     Urgent Care      Allergies                      pcn                                                          Hadden,   05-19-
                   Worksheet /                                                                                                  Shirley   2018
                   On-Call Data                                                                                                           5:32 pm
                   Collection
                   Sheet
   20180115020     Urgent Care      Known Diagnosed                Asthma                                                       Hadden,   05-19-
                   Worksheet /      Conditions                                                                                  Shirley   2018
                   On-Call Data                                                                                                           5:32 pm
                   Collection
                   Sheet
   20180115020     Urgent Care      Known Diagnosed                Mental Health / Prior Self Harm                              Hadden,   05-19-
                   Worksheet /      Conditions                                                                                  Shirley   2018
                   On-Call Data                                                                                                           5:32 pm
                   Collection
                   Sheet
   20180115020     Urgent Care      Current Medications            PAROXETINE HCL 40MG TAB QD PM; Directions: 1 TAB             Hadden,   05-19-
                   Worksheet /                                     [PO] By Mouth QD PM ; Albuterol Sulfate Inhalation           Shirley   2018
                   On-Call Data                                    Nebulizer Sol. 0.083% Sol. BID; Directions: 1 Sol. [IH] By             5:32 pm
                   Collection                                      Inhalation BID ; TERAZOSIN HCL 1MG CAP QD PM;
                   Sheet                                           Directions: 2 CAP [PO] By Mouth QD PM ; ARIPIPRAZOLE
                                                                   15MG TAB QD PM; Directions: 1 TAB [PO] By Mouth QD
                                                                   PM ;
   20180115020     Urgent Care      Current Condition Onset:       New Condition                                                Hadden,   05-19-
                   Worksheet /                                                                                                  Shirley   2018
                   On-Call Data                                                                                                           5:32 pm
                   Collection
                   Sheet
   20180115020     Urgent Care      Suicide Attempt / Threats of   [blank]                                                      Hadden,   05-19-
                   Worksheet /      Self Harm / Psychiatric                                                                     Shirley   2018
                   On-Call Data     Episode (Describe)                                                                                    5:32 pm
                   Collection
                   Sheet
   20180115020     Urgent Care      Condition Improved By          Nothing                                                      Hadden,   05-19-
                   Worksheet /                                                                                                  Shirley   2018
                   On-Call Data                                                                                                           5:32 pm
                   Collection
                   Sheet
   20180115020     Urgent Care      Condition Made Worse By        Nothing                                                      Hadden,   05-19-
                   Worksheet /                                                                                                  Shirley   2018
                   On-Call Data                                                                                                           5:32 pm
                   Collection
                   Sheet
   20180115020     Urgent Care      Caller's Observation           Found unresponsive, face down with shirt tied tightly around Hadden,   05-19-
                   Worksheet /                                     his neck. Face was purple. When shirt was released from his Shirley    2018
                   On-Call Data                                    neck blood and emesis flowed from his mouth. Pt turned                 5:32 pm
                   Collection                                      over and compressions began. Pt had no pulse, no
                   Sheet                                           respirations. Told DO's to call 911 for ambulance. Called out
                                                                   for additional nursing staff. During compressions frothy blood
                                                                   came from pts mouth. Ambu bag pulled and out and breaths
                                                                   given by DO until additional nursing staff arrived. Third nurse
                                                                   sent for jump box so an IV could be started. AED applied.
                                                                   No shockable rhythm. Compression continued. 20G IV
                                                                   started in R AC. 500ml NS bolused. Pt continued to have no

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                                                 pulse and no shockable rhythm. Nurses rotated performing
                                                                    chest compressions and rescue breaths. Second bag of
                                                                    500mls of NS bolused. Noted that pts finger nail beds were
                                                                    purple, skin cold. FIRE arrived @ 1556, they gave possibly
                                                                    Epi via IV and took over compressions and breaths. EMSA
                                                                    arrived @ 1601. Rotated into CPR and evaluated for
                                                                    morbidity, which was present to pt back. Pupils fixed.
                                                                    Pronounced time of death at 1604. Body left in cell for
                                                                    investigations.
   20180115020     Urgent Care      Vitals                          [blank]                                                         Hadden,       05-19-
                   Worksheet /                                                                                                      Shirley       2018
                   On-Call Data                                                                                                                   5:32 pm
                   Collection
                   Sheet
   20180115020     Urgent Care      Ambulance notification time     1533                                                            Hadden,       05-19-
                   Worksheet /                                                                                                      Shirley       2018
                   On-Call Data                                                                                                                   5:32 pm
                   Collection
                   Sheet
   20180115020     Urgent Care      Ambulance transport time        na                                                              Hadden,       05-19-
                   Worksheet /                                                                                                      Shirley       2018
                   On-Call Data                                                                                                                   5:32 pm
                   Collection
                   Sheet




  Subjective Interview Form

      Booking       Form                                                                                                                          Interview
                                    Form Item                                        Item Response                                  Interviewer
      Number        Name                                                                                                                             Date
   20180115020     Chronic Allergies                    Medication - Please note (pcn)                                              Constanzer,   01-19-
                   Care                                                                                                             APRN-         2018
                   and/or                                                                                                           CNP,          12:55
                   Special                                                                                                          James         pm
                   Needs
                   Note
   20180115020     Chronic Clinic                       Pulmonary (asthma)                                                          Constanzer,   01-19-
                   Care                                                                                                             APRN-         2018
                   and/or                                                                                                           CNP,          12:55
                   Special                                                                                                          James         pm
                   Needs
                   Note
   20180115020     Chronic History of Condition(s)      pt seen for chronic care r/t hx of asthma. pt reports having asthma since   Constanzer,   01-19-
                   Care    (Onset)                      the age of 5 or 6. Pt reports smoking since age 12 a pack to a pack and     APRN-         2018
                   and/or                               half a day. Pt reports exercise induced asthma. Pt has not recently         CNP,          12:55
                   Special                              needed albuterol. Pt denies any shortness of breath or wheezing since       James         pm
                   Needs                                being in jail. Pt reports he last seen a provider for asthma when he was
                   Note                                 last in jail.
   20180115020     Chronic Current                      asthma                                                                      Constanzer,   01-19-
                   Care    Complaints/Problems                                                                                      APRN-         2018
                   and/or                                                                                                           CNP,          12:55
                   Special                                                                                                          James         pm
                   Needs
                   Note
   20180115020     Chronic Current Medications          n/a                                                                         Constanzer,   01-19-
                   Care                                                                                                             APRN-         2018
                   and/or                                                                                                           CNP,          12:55
                   Special                                                                                                          James         pm
                   Needs
                   Note
   20180115020     Chronic Patient Vitals Note peak peakflow - 650                                                                  Constanzer,   01-19-
                   Care    flow if applicable                                                                                       APRN-         2018
                   and/or                                                                                                           CNP,          12:55
                   Special                                                                                                          James         pm
                   Needs
                   Note
   20180115020     Chronic General                      NAD                                                                         Constanzer, 01-19-
                   Care                                                                                                             APRN-       2018
                   and/or

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                                 CorEMR -Document
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                  Special                                108                                                   CNP,    12:55
                   Needs                                                                                    James         pm
                   Note
   20180115020     Chronic General                      Alert                                               Constanzer,   01-19-
                   Care                                                                                     APRN-         2018
                   and/or                                                                                   CNP,          12:55
                   Special                                                                                  James         pm
                   Needs
                   Note
   20180115020     Chronic Head                         Normocephalic                                       Constanzer,   01-19-
                   Care                                                                                     APRN-         2018
                   and/or                                                                                   CNP,          12:55
                   Special                                                                                  James         pm
                   Needs
                   Note
   20180115020     Chronic Head                         Atraumatic                                          Constanzer,   01-19-
                   Care                                                                                     APRN-         2018
                   and/or                                                                                   CNP,          12:55
                   Special                                                                                  James         pm
                   Needs
                   Note
   20180115020     Chronic Eyes                         Sclera Clear                                        Constanzer,   01-19-
                   Care                                                                                     APRN-         2018
                   and/or                                                                                   CNP,          12:55
                   Special                                                                                  James         pm
                   Needs
                   Note
   20180115020     Chronic Eyes                         Conjunctiva Clear                                   Constanzer,   01-19-
                   Care                                                                                     APRN-         2018
                   and/or                                                                                   CNP,          12:55
                   Special                                                                                  James         pm
                   Needs
                   Note
   20180115020     Chronic Mouth                        No exudates                                         Constanzer,   01-19-
                   Care                                                                                     APRN-         2018
                   and/or                                                                                   CNP,          12:55
                   Special                                                                                  James         pm
                   Needs
                   Note
   20180115020     Chronic Mouth                        Dentition in good condition                         Constanzer,   01-19-
                   Care                                                                                     APRN-         2018
                   and/or                                                                                   CNP,          12:55
                   Special                                                                                  James         pm
                   Needs
                   Note
   20180115020     Chronic Neck                         Neck Supple                                         Constanzer,   01-19-
                   Care                                                                                     APRN-         2018
                   and/or                                                                                   CNP,          12:55
                   Special                                                                                  James         pm
                   Needs
                   Note
   20180115020     Chronic Neck                         Trachea is midline                                  Constanzer,   01-19-
                   Care                                                                                     APRN-         2018
                   and/or                                                                                   CNP,          12:55
                   Special                                                                                  James         pm
                   Needs
                   Note
   20180115020     Chronic Skin                         Warm                                                Constanzer,   01-19-
                   Care                                                                                     APRN-         2018
                   and/or                                                                                   CNP,          12:55
                   Special                                                                                  James         pm
                   Needs
                   Note
   20180115020     Chronic Skin                         Dry                                                 Constanzer,   01-19-
                   Care                                                                                     APRN-         2018
                   and/or                                                                                   CNP,          12:55
                   Special                                                                                  James         pm
                   Needs
                   Note
   20180115020     Chronic Heart                        Normal S1& S2                                       Constanzer,   01-19-
                   Care                                                                                     APRN-         2018
                   and/or                                                                                   CNP,          12:55
                   Special                                                                                  James         pm

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                                 CorEMR -Document
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                  Needs                                  108
                   Note
   20180115020     Chronic Heart                        No S3, S4, Gallops, or Rubs                        Constanzer,   01-19-
                   Care                                                                                    APRN-         2018
                   and/or                                                                                  CNP,          12:55
                   Special                                                                                 James         pm
                   Needs
                   Note
   20180115020     Chronic Heart                        No Murmurs or Clicks                               Constanzer,   01-19-
                   Care                                                                                    APRN-         2018
                   and/or                                                                                  CNP,          12:55
                   Special                                                                                 James         pm
                   Needs
                   Note
   20180115020     Chronic Heart                        Regular Rhythm                                     Constanzer,   01-19-
                   Care                                                                                    APRN-         2018
                   and/or                                                                                  CNP,          12:55
                   Special                                                                                 James         pm
                   Needs
                   Note
   20180115020     Chronic Lungs                        No Wheezes                                         Constanzer,   01-19-
                   Care                                                                                    APRN-         2018
                   and/or                                                                                  CNP,          12:55
                   Special                                                                                 James         pm
                   Needs
                   Note
   20180115020     Chronic Lungs                        No Rales                                           Constanzer,   01-19-
                   Care                                                                                    APRN-         2018
                   and/or                                                                                  CNP,          12:55
                   Special                                                                                 James         pm
                   Needs
                   Note
   20180115020     Chronic Lungs                        No Rhonchi                                         Constanzer,   01-19-
                   Care                                                                                    APRN-         2018
                   and/or                                                                                  CNP,          12:55
                   Special                                                                                 James         pm
                   Needs
                   Note
   20180115020     Chronic Lungs                        Respirations are unlabored                         Constanzer,   01-19-
                   Care                                                                                    APRN-         2018
                   and/or                                                                                  CNP,          12:55
                   Special                                                                                 James         pm
                   Needs
                   Note
   20180115020     Chronic Extremities                  No Cyanosis                                        Constanzer,   01-19-
                   Care                                                                                    APRN-         2018
                   and/or                                                                                  CNP,          12:55
                   Special                                                                                 James         pm
                   Needs
                   Note
   20180115020     Chronic Extremities                  No Edema                                           Constanzer,   01-19-
                   Care                                                                                    APRN-         2018
                   and/or                                                                                  CNP,          12:55
                   Special                                                                                 James         pm
                   Needs
                   Note
   20180115020     Chronic Neurological                 Cranial nerves II-XII intact                       Constanzer,   01-19-
                   Care                                                                                    APRN-         2018
                   and/or                                                                                  CNP,          12:55
                   Special                                                                                 James         pm
                   Needs
                   Note
   20180115020     Chronic Mental Status                AAO x 4                                            Constanzer,   01-19-
                   Care                                                                                    APRN-         2018
                   and/or                                                                                  CNP,          12:55
                   Special                                                                                 James         pm
                   Needs
                   Note
   20180115020     Chronic Gait                         Normal speed                                       Constanzer,   01-19-
                   Care                                                                                    APRN-         2018
                   and/or                                                                                  CNP,          12:55
                   Special                                                                                 James         pm


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       Case
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                                 CorEMR -Document
                                         RUTLEDGE, TY37-9   Filed in(10-14-1994)
                                                      - #20180115020 USDC ND/OK              on History
                                                                                 :: Full Patient 07/28/22
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                  Needs                                  108
                   Note
   20180115020     Chronic Gait                         Appears Stable w/o assistive device                       Constanzer,   01-19-
                   Care                                                                                           APRN-         2018
                   and/or                                                                                         CNP,          12:55
                   Special                                                                                        James         pm
                   Needs
                   Note
   20180115020     Chronic Gait                         Normal stride                                             Constanzer,   01-19-
                   Care                                                                                           APRN-         2018
                   and/or                                                                                         CNP,          12:55
                   Special                                                                                        James         pm
                   Needs
                   Note
   20180115020     Chronic Female GU                    N/A                                                       Constanzer,   01-19-
                   Care                                                                                           APRN-         2018
                   and/or                                                                                         CNP,          12:55
                   Special                                                                                        James         pm
                   Needs
                   Note
   20180115020     Chronic Male GU                      N/A                                                       Constanzer,   01-19-
                   Care                                                                                           APRN-         2018
                   and/or                                                                                         CNP,          12:55
                   Special                                                                                        James         pm
                   Needs
                   Note
   20180115020     Chronic Assessment/Diagnosis         asthma                                                    Constanzer,   01-19-
                   Care                                                                                           APRN-         2018
                   and/or                                                                                         CNP,          12:55
                   Special                                                                                        James         pm
                   Needs
                   Note
   20180115020     Chronic Degree of Control            Good                                                      Constanzer,   01-19-
                   Care                                                                                           APRN-         2018
                   and/or                                                                                         CNP,          12:55
                   Special                                                                                        James         pm
                   Needs
                   Note
   20180115020     Chronic Status                       Stable                                                    Constanzer,   01-19-
                   Care                                                                                           APRN-         2018
                   and/or                                                                                         CNP,          12:55
                   Special                                                                                        James         pm
                   Needs
                   Note
   20180115020     Chronic Medications                  see changes                                               Constanzer,   01-19-
                   Care                                                                                           APRN-         2018
                   and/or                                                                                         CNP,          12:55
                   Special                                                                                        James         pm
                   Needs
                   Note
   20180115020     Chronic Vaccinations                 Pneumovax (per guidelines) (declined influenza vaccine)   Constanzer,   01-19-
                   Care                                                                                           APRN-         2018
                   and/or                                                                                         CNP,          12:55
                   Special                                                                                        James         pm
                   Needs
                   Note
   20180115020     Chronic Monitoring                   Peak Flow                                                 Constanzer,   01-19-
                   Care                                                                                           APRN-         2018
                   and/or                                                                                         CNP,          12:55
                   Special                                                                                        James         pm
                   Needs
                   Note
   20180115020     Chronic Next Chronic Care /          90 days                                                   Constanzer,   01-19-
                   Care    Follow-up Visit                                                                        APRN-         2018
                   and/or                                                                                         CNP,          12:55
                   Special                                                                                        James         pm
                   Needs
                   Note
   20180115020     Chronic   Would you like to meet   No                                                          Constanzer,   01-19-
                   Care      with a discharge planner                                                             APRN-         2018
                   and/or    to coordinate follow-up                                                              CNP,          12:55
                   Special   care upon your release                                                               James         pm
                             from custody?

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       Case
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                                  CorEMR -Document
                                          RUTLEDGE, TY37-9   Filed in(10-14-1994)
                                                       - #20180115020 USDC ND/OK              on History
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                   Needs                                  108
                   Note
   20180115020     Chronic Education                    Nutrition / Diet                                    Constanzer,   01-19-
                   Care                                                                                     APRN-         2018
                   and/or                                                                                   CNP,          12:55
                   Special                                                                                  James         pm
                   Needs
                   Note
   20180115020     Chronic Education                    Exercise                                            Constanzer,   01-19-
                   Care                                                                                     APRN-         2018
                   and/or                                                                                   CNP,          12:55
                   Special                                                                                  James         pm
                   Needs
                   Note
   20180115020     Chronic Education                    Medications and Compliance                          Constanzer,   01-19-
                   Care                                                                                     APRN-         2018
                   and/or                                                                                   CNP,          12:55
                   Special                                                                                  James         pm
                   Needs
                   Note
   20180115020     Chronic Education                    Disease Process                                     Constanzer,   01-19-
                   Care                                                                                     APRN-         2018
                   and/or                                                                                   CNP,          12:55
                   Special                                                                                  James         pm
                   Needs
                   Note
   20180115020     Chronic Education                    Smoking Cessation                                   Constanzer,   01-19-
                   Care                                                                                     APRN-         2018
                   and/or                                                                                   CNP,          12:55
                   Special                                                                                  James         pm
                   Needs
                   Note
   20180115020     Chronic Education                    Alcohol / Drug Cessation                            Constanzer,   01-19-
                   Care                                                                                     APRN-         2018
                   and/or                                                                                   CNP,          12:55
                   Special                                                                                  James         pm
                   Needs
                   Note
   20180115020     Chronic Education                    Adaptation to the Correctional Environment          Constanzer,   01-19-
                   Care                                                                                     APRN-         2018
                   and/or                                                                                   CNP,          12:55
                   Special                                                                                  James         pm
                   Needs
                   Note




  Education Forms

  (No Records)




  Custom Flows

  (No Records)




  Medications

      Medication Name (Brand Name) OLANZAPINE (ZYPREXA)
                    Dosing Frequency QD AM


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       Case
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                                                    RUTLEDGE, TY37-9   Filed in(10-14-1994)
                                                                 - #20180115020 USDC ND/OK              on History
                                                                                            :: Full Patient 07/28/22
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                 Doctor's Instructions 1 TAB [PO] By Mouth QD AM    108
                            Order Date 01-21-2018
                    Dosing Begin Date 01-21-2018
                      Dosing End Date 04-20-2018
           Medication Expiration Date [blank]
                 Pharmacy Drug Code [blank]
                        Dose Strength 5MG
                     Number of Doses 30
    Generic Substitutions Permitted? 1
    Patient Specific/Stock Medication [blank]
    Keep on Person/Staff Distributed 1
                        Current Status Discontinued
                     Number of Refills 2
                          Recorded By Lewis, Psychiatrist, Jawaun
                      Prescriber Name Lewis, Psychiatrist, Jawaun
                      Patient Allergies pcn
            Original Number of Refills 2
                     Note to Pharmacy [blank]
                         System Notes Ordered by Jawaun Lewis, Psychiatrist on 01-21-2018 at 12:25 pm as PO20
                                      Approved by Lewis, Psychiatrist, Jawaun on 01/22/2018 0938.
                                      Pharmacy:On hold as requested
                                      Cancelled by Lewis, Psychiatrist, Jawaun on 02/05/2018 1239. Reason: "40% am"
                                      Status manually changed to Discontinued by Jawaun Lewis, Psychiatrist on 02-05-2018 at 12:39 pm
                                      Pharmacy:Discontinued as requested
                                      Pharmacy:Discontinued as requested
     Sent Order to Pharmacy on Date 01-21-2018
       Pharmacy Confirmed Receipt? Unconfirmed
            Number of Doses Offered 15
          Number of Doses Received 10
   Number of Doses Refused/Absent 5
           Percent of Doses Received 66



      Medication Name (Brand Name) OLANZAPINE (ZYPREXA)
                    Dosing Frequency QD PM
                 Doctor's Instructions 1 TAB [PO] By Mouth QD PM
                            Order Date 01-21-2018
                    Dosing Begin Date 01-21-2018
                      Dosing End Date 04-20-2018
           Medication Expiration Date [blank]
                 Pharmacy Drug Code [blank]
                        Dose Strength 10MG
                     Number of Doses 30
    Generic Substitutions Permitted? 1
    Patient Specific/Stock Medication [blank]
    Keep on Person/Staff Distributed 1
                        Current Status Discontinued
                     Number of Refills 2
                          Recorded By Lewis, Psychiatrist, Jawaun
                      Prescriber Name Lewis, Psychiatrist, Jawaun
                      Patient Allergies pcn
            Original Number of Refills 2

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       Case
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                                                RUTLEDGE, TY37-9   Filed in(10-14-1994)
                                                             - #20180115020 USDC ND/OK              on History
                                                                                        :: Full Patient 07/28/22
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                   Note to Pharmacy [blank]                     108
                         System Notes Ordered by Jawaun Lewis, Psychiatrist on 01-21-2018 at 12:25 pm as PO20
                                      Approved by Lewis, Psychiatrist, Jawaun on 01/22/2018 0938.
                                      Pharmacy:On hold as requested
                                      Cancelled by Lewis, Psychiatrist, Jawaun on 02/05/2018 1239. Reason: "0% pm"
                                      Status manually changed to Discontinued by Jawaun Lewis, Psychiatrist on 02-05-2018 at 12:39 pm
                                      Pharmacy:Discontinued as requested
                                      Pharmacy:Discontinued as requested
     Sent Order to Pharmacy on Date 01-21-2018
       Pharmacy Confirmed Receipt? Unconfirmed
            Number of Doses Offered 15
          Number of Doses Received 8
   Number of Doses Refused/Absent 7
           Percent of Doses Received 53



      Medication Name (Brand Name) SERTRALINE HCL (ZOLOFT)
                    Dosing Frequency QD PM
                 Doctor's Instructions 1 TAB [PO] By Mouth QD PM
                            Order Date 01-21-2018
                    Dosing Begin Date 01-21-2018
                      Dosing End Date 04-20-2018
           Medication Expiration Date [blank]
                 Pharmacy Drug Code [blank]
                        Dose Strength 50MG
                     Number of Doses 30
    Generic Substitutions Permitted? 1
    Patient Specific/Stock Medication [blank]
    Keep on Person/Staff Distributed 1
                        Current Status Discontinued
                     Number of Refills 2
                          Recorded By Lewis, Psychiatrist, Jawaun
                      Prescriber Name Lewis, Psychiatrist, Jawaun
                      Patient Allergies pcn
            Original Number of Refills 2
                     Note to Pharmacy [blank]
                         System Notes Ordered by Jawaun Lewis, Psychiatrist on 01-21-2018 at 12:25 pm as PO20
                                      Approved by Lewis, Psychiatrist, Jawaun on 01/22/2018 0938.
                                      Pharmacy:On hold as requested
                                      Cancelled by Lewis, Psychiatrist, Jawaun on 02/05/2018 1239. Reason: "0% pm"
                                      Status manually changed to Discontinued by Jawaun Lewis, Psychiatrist on 02-05-2018 at 12:39 pm
                                      Pharmacy:Discontinued as requested
                                      Pharmacy:Discontinued as requested
     Sent Order to Pharmacy on Date 01-21-2018
       Pharmacy Confirmed Receipt? Unconfirmed
            Number of Doses Offered 15
          Number of Doses Received 8
   Number of Doses Refused/Absent 7
           Percent of Doses Received 53



    Medication Name (Brand Name) PAROXETINE HCL (PAXIL)
                   Dosing Frequency QD PM
                Doctor's Instructions 1 TAB By Mouth QD PM
                           Order Date 02-06-2018

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       Case
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                                                RUTLEDGE, TY37-9   Filed in(10-14-1994)
                                                             - #20180115020 USDC ND/OK              on History
                                                                                        :: Full Patient 07/28/22
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                  Dosing Begin Date 02-07-2018                  108
                    Dosing End Date 02-13-2018
         Medication Expiration Date [blank]
               Pharmacy Drug Code [blank]
                       Dose Strength 10MG
                    Number of Doses 7
               Generic Substitutions 1
                         Permitted?
               Patient Specific/Stock [blank]
                          Medication
               Keep on Person/Staff 1
                        Distributed
                       Current Status Discontinued
                    Number of Refills [blank]
                        Recorded By Lewis, Psychiatrist, Jawaun
                    Prescriber Name Jawaun Lewis, Psychiatrist
                     Patient Allergies pcn
          Original Number of Refills [blank]
                   Note to Pharmacy [blank]
                       System Notes Ordered by Jawaun Lewis, Psychiatrist on 02-06-2018 at 8:50 pm as PO20
                                    Approved by Lewis, Psychiatrist, Jawaun on 02/07/2018 2233.
                                    Removed from Refill/Reorder list by Jawaun Lewis, Psychiatrist on 02-07-2018 at 10:37pm
                                    Cancelled by System, CorEMR on 02/14/2018 0245. Reason: "DCd after cut date at transcriber's request 02-14-
                                    2018".
                                    Status automatically changed to Discontinued by System on behalf of CorEMR System on 02-14-2018 at 02:45
                                    am
                                    Pharmacy:Discontinued as requested
                                    Pharmacy:Discontinued as requested
   Sent Order to Pharmacy on Date 02-06-2018
     Pharmacy Confirmed Receipt? Unconfirmed
           Number of Doses Offered [blank]
         Number of Doses Received 7
                    Number of Doses [blank]
                     Refused/Absent
         Percent of Doses Received [blank]



      Medication Name (Brand Name) ARIPIPRAZOLE (ABILIFY)
                    Dosing Frequency QD AM
                 Doctor's Instructions 1 TAB [PO] By Mouth QD AM
                            Order Date 02-11-2018
                    Dosing Begin Date 02-11-2018
                      Dosing End Date 05-11-2018
           Medication Expiration Date [blank]
                 Pharmacy Drug Code [blank]
                        Dose Strength 10MG
                     Number of Doses 60
    Generic Substitutions Permitted? 1
    Patient Specific/Stock Medication [blank]
    Keep on Person/Staff Distributed 1
                        Current Status Discontinued
                     Number of Refills 1
                          Recorded By Pauley, LPN, Carson
                      Prescriber Name Lewis, Psychiatrist, Jawaun


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       Case
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                                                 RUTLEDGE, TY37-9   Filed in(10-14-1994)
                                                              - #20180115020 USDC ND/OK              on History
                                                                                         :: Full Patient 07/28/22
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                    Patient Allergies pcn                        108
            Original Number of Refills 2
                     Note to Pharmacy [blank]
                         System Notes Ordered by Ronda Martin, RN on 02-11-2018 at 8:34 am as NW10
                                      Approved by Lewis, Psychiatrist, Jawaun on 02/12/2018 0917.
                                      Pharmacy:Order accepted and OK
                                      Pharmacy:Status changed
                                      Checked in by LPN Pauley, LPN, Carson N. on 02/13/2018 0940
                                      Refill requested by Carson N. Pauley, LPN on 2018-03-05 16:37:17
                                      Pharmacy:Order refilled as requested
                                      Pharmacy:Status changed
                                      Refill checked in by LPN Pauley, LPN, Carson N. on 03/07/2018 1649
                                      Cancelled by Lewis, Psychiatrist, Jawaun on 03/22/2018 1120. Reason: "increase"
                                      Status manually changed to Discontinued by Jawaun Lewis, Psychiatrist on 03-22-2018 at 11:20 am
                                      Pharmacy:Discontinued as requested
                                      Pharmacy:Unable to discontinue "Could Not Void"
     Sent Order to Pharmacy on Date 03-05-2018
       Pharmacy Confirmed Receipt? Unconfirmed
            Number of Doses Offered 36
          Number of Doses Received 32
   Number of Doses Refused/Absent 4
           Percent of Doses Received 88



    Medication Name (Brand Name) PAROXETINE HCL (PAXIL)
                   Dosing Frequency QD PM
                Doctor's Instructions 1 TAB By Mouth QD PM
                           Order Date 02-06-2018
                  Dosing Begin Date 02-14-2018
                    Dosing End Date 02-20-2018
         Medication Expiration Date [blank]
               Pharmacy Drug Code [blank]
                       Dose Strength 20MG
                    Number of Doses 7
               Generic Substitutions 1
                         Permitted?
               Patient Specific/Stock [blank]
                          Medication
               Keep on Person/Staff 1
                        Distributed
                       Current Status Discontinued
                    Number of Refills [blank]
                        Recorded By Lewis, Psychiatrist, Jawaun
                    Prescriber Name Jawaun Lewis, Psychiatrist
                     Patient Allergies pcn
          Original Number of Refills [blank]
                   Note to Pharmacy [blank]
                       System Notes Ordered by Jawaun Lewis, Psychiatrist on 02-06-2018 at 8:50 pm as PO20
                                    Approved by Lewis, Psychiatrist, Jawaun on 02/07/2018 2233.
                                    Pharmacy:On hold as requested
                                    Cancelled by System, CorEMR on 02/21/2018 0245. Reason: "DCd after cut date at transcriber's request 02-21-
                                    2018".
                                    Status automatically changed to Discontinued by System on behalf of CorEMR System on 02-21-2018 at 02:45
                                    am
                                    Pharmacy:Discontinued as requested
                                    Pharmacy:Discontinued as requested
   Sent Order to Pharmacy on Date 02-06-2018
     Pharmacy Confirmed Receipt? Unconfirmed
           Number of Doses Offered [blank]

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       Case
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                                            RUTLEDGE, TY37-9   Filed in(10-14-1994)
                                                         - #20180115020 USDC ND/OK              on History
                                                                                    :: Full Patient 07/28/22
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         Number of Doses Received 7                         108
                    Number of Doses [blank]
                     Refused/Absent
         Percent of Doses Received [blank]



      Medication Name (Brand Name) PAROXETINE HCL (PAXIL)
                    Dosing Frequency QD PM
                 Doctor's Instructions 1 TAB By Mouth QD PM
                            Order Date 02-06-2018
                    Dosing Begin Date 02-21-2018
                      Dosing End Date 05-21-2018
           Medication Expiration Date [blank]
                 Pharmacy Drug Code [blank]
                        Dose Strength 30MG
                     Number of Doses 90
    Generic Substitutions Permitted? 1
    Patient Specific/Stock Medication [blank]
    Keep on Person/Staff Distributed 1
                        Current Status Discontinued
                     Number of Refills [blank]
                          Recorded By Lewis, Psychiatrist, Jawaun
                      Prescriber Name Jawaun Lewis, Psychiatrist
                      Patient Allergies pcn
            Original Number of Refills [blank]
                     Note to Pharmacy [blank]
                         System Notes Ordered by Jawaun Lewis, Psychiatrist on 02-06-2018 at 8:50 pm as PO20
                                      Approved by Lewis, Psychiatrist, Jawaun on 02/07/2018 2233.
                                      Pharmacy:On hold as requested
                                      Cancelled by Lewis, Psychiatrist, Jawaun on 05/03/2018 1343. Reason: "increase"
                                      Status manually changed to Discontinued by Jawaun Lewis, Psychiatrist on 05-03-2018 at 01:43 pm
                                      Pharmacy:Discontinued as requested
                                      Pharmacy:Discontinued as requested
     Sent Order to Pharmacy on Date 02-06-2018
       Pharmacy Confirmed Receipt? Unconfirmed
            Number of Doses Offered 71
          Number of Doses Received 68
   Number of Doses Refused/Absent 3
           Percent of Doses Received 95



      Medication Name (Brand Name) ARIPIPRAZOLE (ABILIFY)
                    Dosing Frequency QD PM
                 Doctor's Instructions 1 TAB [PO] By Mouth QD PM
                            Order Date 03-22-2018
                    Dosing Begin Date 03-22-2018
                      Dosing End Date 06-19-2018
           Medication Expiration Date [blank]
                 Pharmacy Drug Code [blank]
                        Dose Strength 15MG
                     Number of Doses 30
    Generic Substitutions Permitted? 1
    Patient Specific/Stock Medication [blank]

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       Case
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                                               RUTLEDGE, TY37-9   Filed in(10-14-1994)
                                                            - #20180115020 USDC ND/OK              on History
                                                                                       :: Full Patient 07/28/22
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    Keep on Person/Staff Distributed 1                         108
                        Current Status Discontinued
                     Number of Refills 2
                          Recorded By Lewis, Psychiatrist, Jawaun
                      Prescriber Name Lewis, Psychiatrist, Jawaun
                      Patient Allergies pcn
            Original Number of Refills 2
                     Note to Pharmacy [blank]
                         System Notes Ordered by Jawaun Lewis, Psychiatrist on 03-22-2018 at 11:20 am as PO20
                                      Approved by Lewis, Psychiatrist, Jawaun on 03/24/2018 1125.
                                      Reordered by Jawaun Lewis, Psychiatrist on 03-27-2018 at 02:34pm
                                      Cancelled by Lewis, Psychiatrist, Jawaun on 03/27/2018 1434. Reason: "error"
                                      Status manually changed to Discontinued by Jawaun Lewis, Psychiatrist on 03-27-2018 at 02:34 pm
                                      Pharmacy:Discontinued as requested
                                      Pharmacy:Discontinued as requested
     Sent Order to Pharmacy on Date 03-22-2018
       Pharmacy Confirmed Receipt? Unconfirmed
            Number of Doses Offered [blank]
          Number of Doses Received 5
   Number of Doses Refused/Absent [blank]
           Percent of Doses Received [blank]



     Medication Name (Brand Name) ARIPIPRAZOLE (ABILIFY)
                    Dosing Frequency QD PM
                 Doctor's Instructions 1 TAB [PO] By Mouth QD PM
                            Order Date 03-27-2018
                   Dosing Begin Date 03-27-2018
                     Dosing End Date 06-25-2018
          Medication Expiration Date [blank]
                Pharmacy Drug Code [blank]
                        Dose Strength 15MG
                     Number of Doses 60
   Generic Substitutions Permitted? 1
   Patient Specific/Stock Medication [blank]
    Keep on Person/Staff Distributed 1
                        Current Status Discontinued
                     Number of Refills 1
                         Recorded By Pauley, LPN, Carson
                     Prescriber Name Lewis, Psychiatrist, Jawaun
                      Patient Allergies pcn
           Original Number of Refills 2
                    Note to Pharmacy [blank]
                        System Notes Ordered by Jawaun Lewis, Psychiatrist on 03-27-2018 at 2:34 pm as NW10
                                     Approved by Lewis, Psychiatrist, Jawaun on 03/28/2018 0811.
                                     Pharmacy:Order accepted and OK
                                     Pharmacy:Status changed
                                     Checked in by LPN Pauley, LPN, Carson N. on 03/29/2018 1046
                                     Refill requested by Carson N. Pauley, LPN on 2018-04-27 14:57:12
                                     Pharmacy:Order refilled as requested
                                     Pharmacy:Status changed
                                     Cancelled by System, CorEMR on 05/20/2018 0245. Reason: "Inmate was released 05-20-2018".
                                     Status automatically changed to Discontinued by System on behalf of CorEMR System on 05-20-2018 at 02:45
                                     am
                                     Pharmacy:Discontinued as requested
                                     Pharmacy:Unable to discontinue "Could Not Void"
    Sent Order to Pharmacy on Date 04-27-2018

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       Case
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                                              RUTLEDGE, TY37-9   Filed in(10-14-1994)
                                                           - #20180115020 USDC ND/OK              on History
                                                                                      :: Full Patient 07/28/22
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      Pharmacy Confirmed Receipt? Unconfirmed                 108
            Number of Doses Offered 52
          Number of Doses Received 45
                     Number of Doses 7
                      Refused/Absent
          Percent of Doses Received 86



      Medication Name (Brand Name) TERAZOSIN HCL (TERAZOSIN HCL)
                    Dosing Frequency QD PM
                 Doctor's Instructions 1 CAP [PO] By Mouth QD PM
                            Order Date 04-09-2018
                    Dosing Begin Date 04-09-2018
                      Dosing End Date 07-07-2018
           Medication Expiration Date [blank]
                 Pharmacy Drug Code [blank]
                        Dose Strength 1MG
                     Number of Doses 30
    Generic Substitutions Permitted? 1
    Patient Specific/Stock Medication [blank]
    Keep on Person/Staff Distributed 1
                        Current Status Discontinued
                     Number of Refills 2
                          Recorded By Lewis, Psychiatrist, Jawaun
                      Prescriber Name Lewis, Psychiatrist, Jawaun
                      Patient Allergies pcn
            Original Number of Refills 2
                     Note to Pharmacy [blank]
                         System Notes Ordered by Jawaun Lewis, Psychiatrist on 04-09-2018 at 12:58 pm as PO20
                                      Approved by Lewis, Psychiatrist, Jawaun on 04/10/2018 0744.
                                      Approved by Lewis, Psychiatrist, Jawaun on 04/10/2018 0744.
                                      Cancelled by Lewis, Psychiatrist, Jawaun on 04/13/2018 0921. Reason: "increase"
                                      Status manually changed to Discontinued by Jawaun Lewis, Psychiatrist on 04-13-2018 at 09:21 am
                                      Pharmacy:Discontinued as requested
                                      Pharmacy:Discontinued as requested
     Sent Order to Pharmacy on Date 04-09-2018
       Pharmacy Confirmed Receipt? Unconfirmed
            Number of Doses Offered [blank]
          Number of Doses Received 4
   Number of Doses Refused/Absent [blank]
           Percent of Doses Received [blank]



     Medication Name (Brand Name) TERAZOSIN HCL (TERAZOSIN HCL)
                    Dosing Frequency QD PM
                 Doctor's Instructions 2 CAP [PO] By Mouth QD PM
                            Order Date 04-13-2018
                   Dosing Begin Date 04-13-2018
                     Dosing End Date 07-12-2018
          Medication Expiration Date [blank]
                Pharmacy Drug Code [blank]
                        Dose Strength 1MG
                     Number of Doses 60

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       Case
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                                              RUTLEDGE, TY37-9   Filed in(10-14-1994)
                                                           - #20180115020 USDC ND/OK              on History
                                                                                      :: Full Patient 07/28/22
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   Generic Substitutions Permitted? 1                         108
   Patient Specific/Stock Medication [blank]
    Keep on Person/Staff Distributed 1
                        Current Status Discontinued
                     Number of Refills 2
                         Recorded By Lewis, Psychiatrist, Jawaun
                     Prescriber Name Lewis, Psychiatrist, Jawaun
                      Patient Allergies pcn
           Original Number of Refills 2
                    Note to Pharmacy [blank]
                        System Notes Ordered by Jawaun Lewis, Psychiatrist on 04-13-2018 at 9:23 am as PO20
                                     Approved by Lewis, Psychiatrist, Jawaun on 04/14/2018 0913.
                                     Pharmacy:On hold as requested
                                     Cancelled by System, CorEMR on 05/20/2018 0245. Reason: "Inmate was released 05-20-2018".
                                     Status automatically changed to Discontinued by System on behalf of CorEMR System on 05-20-2018 at 02:45
                                     am
                                     Pharmacy:Discontinued as requested
                                     Pharmacy:Discontinued as requested
    Sent Order to Pharmacy on Date 04-13-2018
      Pharmacy Confirmed Receipt? Unconfirmed
            Number of Doses Offered 37
          Number of Doses Received 34
                     Number of Doses 3
                      Refused/Absent
          Percent of Doses Received 91



     Medication Name (Brand Name) PAROXETINE HCL (PAXIL)
                    Dosing Frequency QD PM
                 Doctor's Instructions 1 TAB [PO] By Mouth QD PM
                            Order Date 05-03-2018
                   Dosing Begin Date 05-03-2018
                     Dosing End Date 07-31-2018
          Medication Expiration Date [blank]
                Pharmacy Drug Code [blank]
                        Dose Strength 40MG
                     Number of Doses 30
   Generic Substitutions Permitted? 1
   Patient Specific/Stock Medication [blank]
    Keep on Person/Staff Distributed 1
                        Current Status Discontinued
                     Number of Refills 2
                         Recorded By Lewis, Psychiatrist, Jawaun
                     Prescriber Name Lewis, Psychiatrist, Jawaun
                      Patient Allergies pcn
           Original Number of Refills 2
                    Note to Pharmacy [blank]
                        System Notes Ordered by Jawaun Lewis, Psychiatrist on 05-03-2018 at 1:43 pm as PO20
                                     Approved by Lewis, Psychiatrist, Jawaun on 05/04/2018 0729.
                                     Cancelled by System, CorEMR on 05/20/2018 0245. Reason: "Inmate was released 05-20-2018".
                                     Status automatically changed to Discontinued by System on behalf of CorEMR System on 05-20-2018 at 02:45
                                     am
                                     Pharmacy:Discontinued as requested
                                     Pharmacy:Discontinued as requested
    Sent Order to Pharmacy on Date 05-03-2018

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       Case
10/12/2020   4:21-cv-00516-GKF-JFJ   CorEMR -Document
                                              RUTLEDGE, TY37-9   Filed in(10-14-1994)
                                                           - #20180115020 USDC ND/OK              on History
                                                                                      :: Full Patient 07/28/22
                                                                                                             | v5.5.0 Page 78 of
      Pharmacy Confirmed Receipt? Unconfirmed                 108
              Number of Doses Offered 17
             Number of Doses Received 16
                     Number of Doses 1
                      Refused/Absent
             Percent of Doses Received 94




  MAR (Medication Administration Record)

     Administration      Administration
                                             Administration Notes       Recorded By                  Medication Name (Brand Name)
       Date/Time            Result
   [blank]               [blank]           [blank]                  ,                 Albuterol Sulfate Inhalation Nebulizer Sol. (Proventil) 0.083% 1
                                                                                      Sol. By Inhalation BID
   [blank]               [blank]           [blank]                  ,                 ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
                                                                                      AM
   [blank]               [blank]           [blank]                  ,                 PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   [blank]               [blank]           [blank]                  ,                 Albuterol Sulfate Inhalation Nebulizer Sol. (Proventil) 0.083% 1
                                                                                      Sol. By Inhalation BID
   [blank]               [blank]           [blank]                  ,                 Albuterol Sulfate Inhalation Nebulizer Sol. (Proventil) 0.083% 1
                                                                                      Sol. By Inhalation BID
   [blank]               [blank]           [blank]                  ,                 ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
                                                                                      PM
   [blank]               [blank]           [blank]                  ,                 PAROXETINE HCL (PAXIL) 40MG 1 TAB [PO] By Mouth QD
                                                                                      PM
   [blank]               [blank]           [blank]                  ,                 TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
                                                                                      Mouth QD PM
   01-21-2018 5:55       Received          [blank]                  Witte RN, UM      OLANZAPINE (ZYPREXA) 10MG 1 TAB [PO] By Mouth QD
   pm                                                               Teresa            PM
   01-21-2018 5:55       Received          [blank]                  Witte RN, UM      SERTRALINE HCL (ZOLOFT) 50MG 1 TAB [PO] By Mouth QD
   pm                                                               Teresa            PM
   01-22-2018 7:02       Received          [blank]                  dearman, lauren   OLANZAPINE (ZYPREXA) 5MG 1 TAB [PO] By Mouth QD AM
   am
   01-22-2018 7:16       Received          [blank]                  Few, Kara         OLANZAPINE (ZYPREXA) 10MG 1 TAB [PO] By Mouth QD
   pm                                                                                 PM
   01-22-2018 7:16       Received          [blank]                  Few, Kara         SERTRALINE HCL (ZOLOFT) 50MG 1 TAB [PO] By Mouth QD
   pm                                                                                 PM
   01-23-2018 8:49       Received          [blank]                  Few, Kara         OLANZAPINE (ZYPREXA) 5MG 1 TAB [PO] By Mouth QD AM
   am
   01-23-2018 7:22       Received          [blank]                  Rhinehart,        OLANZAPINE (ZYPREXA) 10MG 1 TAB [PO] By Mouth QD
   pm                                                               Jennifer          PM
   01-23-2018 7:22       Received          [blank]                  Rhinehart,        SERTRALINE HCL (ZOLOFT) 50MG 1 TAB [PO] By Mouth QD
   pm                                                               Jennifer          PM
   01-24-2018 5:30       Received          [blank]                  dearman, lauren   OLANZAPINE (ZYPREXA) 5MG 1 TAB [PO] By Mouth QD AM
   am
   01-24-2018 9:56       Received          [blank]                  Bond, Danielle    OLANZAPINE (ZYPREXA) 10MG 1 TAB [PO] By Mouth QD
   pm                                                                                 PM
   01-24-2018 9:56       Received          [blank]                  Bond, Danielle    SERTRALINE HCL (ZOLOFT) 50MG 1 TAB [PO] By Mouth QD
   pm                                                                                 PM
   01-25-2018 9:40       Received          [blank]                  Few, Kara         OLANZAPINE (ZYPREXA) 5MG 1 TAB [PO] By Mouth QD AM
   am
   01-26-2018 2:41       Received          [blank]                  Moran, Sarah      OLANZAPINE (ZYPREXA) 10MG 1 TAB [PO] By Mouth QD
   am                                                                                 PM
   01-26-2018 2:41       Received          [blank]                  Moran, Sarah      SERTRALINE HCL (ZOLOFT) 50MG 1 TAB [PO] By Mouth QD
   am                                                                                 PM
   01-26-2018 9:22       Received          [blank]                  Few, Kara         OLANZAPINE (ZYPREXA) 5MG 1 TAB [PO] By Mouth QD AM
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       Case
10/12/2020      4:21-cv-00516-GKF-JFJ
                                 CorEMR -Document
                                         RUTLEDGE, TY37-9   Filed in(10-14-1994)
                                                      - #20180115020 USDC ND/OK              on History
                                                                                 :: Full Patient 07/28/22
                                                                                                        | v5.5.0 Page 79 of
   am                                                    108
   01-26-2018 9:52       Received          [blank]               Rhinehart,        OLANZAPINE (ZYPREXA) 10MG 1 TAB [PO] By Mouth QD
   pm                                                            Jennifer          PM
   01-26-2018 9:52       Received          [blank]               Rhinehart,        SERTRALINE HCL (ZOLOFT) 50MG 1 TAB [PO] By Mouth QD
   pm                                                            Jennifer          PM
   01-27-2018 7:02       Received          [blank]               dearman, lauren   OLANZAPINE (ZYPREXA) 5MG 1 TAB [PO] By Mouth QD AM
   am
   01-27-2018 9:57       Received          [blank]               McAnally,         OLANZAPINE (ZYPREXA) 10MG 1 TAB [PO] By Mouth QD
   pm                                                            Maureen           PM
   01-27-2018 9:57       Received          [blank]               McAnally,         SERTRALINE HCL (ZOLOFT) 50MG 1 TAB [PO] By Mouth QD
   pm                                                            Maureen           PM
   01-28-2018 6:59       Received          [blank]               dearman, lauren   OLANZAPINE (ZYPREXA) 5MG 1 TAB [PO] By Mouth QD AM
   am
   01-28-2018 9:02       Refused           [blank]               Moran, Sarah      OLANZAPINE (ZYPREXA) 10MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   01-28-2018 9:02       Refused           [blank]               Moran, Sarah      SERTRALINE HCL (ZOLOFT) 50MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   01-29-2018 7:04       Received          [blank]               dearman, lauren   OLANZAPINE (ZYPREXA) 5MG 1 TAB [PO] By Mouth QD AM
   am
   01-29-2018 8:17       Refused           [blank]               Combs, Casey      OLANZAPINE (ZYPREXA) 10MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   01-29-2018 8:17       Refused           [blank]               Combs, Casey      SERTRALINE HCL (ZOLOFT) 50MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   01-30-2018 9:13       Refused           [blank]               Groom,            OLANZAPINE (ZYPREXA) 5MG 1 TAB [PO] By Mouth QD AM
   am                                                            Nicholas
   01-31-2018 1:30       Refused           [blank]               Moran, Sarah      OLANZAPINE (ZYPREXA) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              PM
   01-31-2018 1:30       Refused           [blank]               Moran, Sarah      SERTRALINE HCL (ZOLOFT) 50MG 1 TAB [PO] By Mouth QD
   am                                                                              PM
   01-31-2018 6:59       Refused           [blank]               dearman, lauren   OLANZAPINE (ZYPREXA) 5MG 1 TAB [PO] By Mouth QD AM
   am
   01-31-2018 7:36       Received          [blank]               Few, Kara         OLANZAPINE (ZYPREXA) 10MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   01-31-2018 7:36       Received          [blank]               Few, Kara         SERTRALINE HCL (ZOLOFT) 50MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   02-01-2018 6:49       Refused           [blank]               dearman, lauren   OLANZAPINE (ZYPREXA) 5MG 1 TAB [PO] By Mouth QD AM
   am
   02-01-2018 11:36      Refused           [blank]               Hadden, Shirley   OLANZAPINE (ZYPREXA) 10MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   02-01-2018 11:36      Refused           [blank]               Hadden, Shirley   SERTRALINE HCL (ZOLOFT) 50MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   02-02-2018 5:28       Received          [blank]               Few, Kara         OLANZAPINE (ZYPREXA) 5MG 1 TAB [PO] By Mouth QD AM
   am
   02-02-2018 7:27       Refused           [blank]               Craghead,         OLANZAPINE (ZYPREXA) 10MG 1 TAB [PO] By Mouth QD
   pm                                                            Kristina          PM
   02-02-2018 7:27       Refused           [blank]               Craghead,         SERTRALINE HCL (ZOLOFT) 50MG 1 TAB [PO] By Mouth QD
   pm                                                            Kristina          PM
   02-03-2018 11:05      Refused           [blank]               Chaplin,          OLANZAPINE (ZYPREXA) 5MG 1 TAB [PO] By Mouth QD AM
   am                                                            Adrienne
   02-03-2018 5:56       Refused           [blank]               Combs, Casey      OLANZAPINE (ZYPREXA) 10MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   02-03-2018 5:56       Refused           [blank]               Combs, Casey      SERTRALINE HCL (ZOLOFT) 50MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   02-04-2018 4:02       Received          [blank]               Few, Kara         OLANZAPINE (ZYPREXA) 5MG 1 TAB [PO] By Mouth QD AM
   am
   02-04-2018 5:19       Refused           [blank]               Combs, Casey      OLANZAPINE (ZYPREXA) 10MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   02-04-2018 5:19       Refused           [blank]               Combs, Casey      SERTRALINE HCL (ZOLOFT) 50MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   02-05-2018 6:40       Refused           [blank]               dearman, lauren   OLANZAPINE (ZYPREXA) 5MG 1 TAB [PO] By Mouth QD AM
   am

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       Case
10/12/2020    4:21-cv-00516-GKF-JFJ
                                CorEMR -Document
                                        RUTLEDGE, TY37-9   Filed in(10-14-1994)
                                                     - #20180115020 USDC ND/OK              on History
                                                                                :: Full Patient 07/28/22
                                                                                                       | v5.5.0 Page 80 of
   02-07-2018 7:26  Received  [blank]                   108
                                                    Groom,          PAROXETINE HCL (PAXIL) 10MG 1 TAB By Mouth QD PM
   pm                                                            Nicholas
   02-08-2018 8:41       Received          [blank]               Moran, Sarah      PAROXETINE HCL (PAXIL) 10MG 1 TAB By Mouth QD PM
   pm
   02-09-2018 7:14       Received          [blank]               Combs, Casey      PAROXETINE HCL (PAXIL) 10MG 1 TAB By Mouth QD PM
   pm
   02-10-2018 6:32       Other             medication ordered    dearman, lauren   ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                      wrong                                   AM
   02-10-2018 5:09       Received          [blank]               Combs, Casey      PAROXETINE HCL (PAXIL) 10MG 1 TAB By Mouth QD PM
   pm
   02-11-2018 7:54       Other             MEDICATION ORDERED dearman, lauren      ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                      WRONG                                   AM
   02-11-2018 5:41       Received          [blank]               Elkins, T.        PAROXETINE HCL (PAXIL) 10MG 1 TAB By Mouth QD PM
   pm
   02-12-2018 6:55       Received          [blank]               Mobley, Jessica   PAROXETINE HCL (PAXIL) 10MG 1 TAB By Mouth QD PM
   pm
   02-13-2018 8:51       Received          [blank]               Few, Kara         PAROXETINE HCL (PAXIL) 10MG 1 TAB By Mouth QD PM
   pm
   02-14-2018 7:32       Received          [blank]               dearman, lauren   ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              AM
   02-14-2018 9:08       Received          [blank]               Groom,            PAROXETINE HCL (PAXIL) 20MG 1 TAB By Mouth QD PM
   pm                                                            Nicholas
   02-15-2018 6:39       Received          [blank]               dearman, lauren   ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              AM
   02-15-2018 9:37       Received          [blank]               Rhinehart,        PAROXETINE HCL (PAXIL) 20MG 1 TAB By Mouth QD PM
   pm                                                            Jennifer
   02-16-2018 9:58       Received          [blank]               Few, Kara         ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              AM
   02-16-2018 7:58       Received          [blank]               Combs, Casey      PAROXETINE HCL (PAXIL) 20MG 1 TAB By Mouth QD PM
   pm
   02-17-2018 7:00       Received          [blank]               Rhinehart,        ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                            Jennifer          AM
   02-17-2018 9:40       Received          [blank]               Kallenberger,     PAROXETINE HCL (PAXIL) 20MG 1 TAB By Mouth QD PM
   pm                                                            Elizabeth
   02-18-2018 9:30       Received          [blank]               Groom,            ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                            Nicholas          AM
   02-18-2018 5:51       Received          [blank]               Combs, Casey      PAROXETINE HCL (PAXIL) 20MG 1 TAB By Mouth QD PM
   pm
   02-19-2018 7:29       Received          [blank]               Groom,            ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                            Nicholas          AM
   02-19-2018 7:47       Received          [blank]               Combs, Casey      PAROXETINE HCL (PAXIL) 20MG 1 TAB By Mouth QD PM
   pm
   02-20-2018 6:43       Received          [blank]               dearman, lauren   ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              AM
   02-20-2018 9:27       Received          [blank]               Jones, Natalie    PAROXETINE HCL (PAXIL) 20MG 1 TAB By Mouth QD PM
   pm
   02-21-2018 6:26       Refused           [blank]               Copeland, Nikki   ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              AM
   02-21-2018 9:32       Received          [blank]               dearman, lauren   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   02-22-2018 10:07      Refused           [blank]               Groom,            ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                            Nicholas          AM
   02-22-2018 7:47       Received          [blank]               Rivers, Vanessa   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   02-23-2018 8:07       Refused           [blank]               Rhinehart,        ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                            Jennifer          AM
   02-23-2018 9:53       Received          [blank]               McAnally,         PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm                                                            Maureen
   02-24-2018 5:44       Received          [blank]               Groom,            ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                            Nicholas          AM
   02-24-2018 6:52       Received          [blank]               Rivers, Vanessa   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM

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       Case
10/12/2020      4:21-cv-00516-GKF-JFJ
                                 CorEMR -Document
                                         RUTLEDGE, TY37-9   Filed in(10-14-1994)
                                                      - #20180115020 USDC ND/OK              on History
                                                                                 :: Full Patient 07/28/22
                                                                                                        | v5.5.0 Page 81 of
   pm                                                    108
   02-25-2018 9:17       Refused           [blank]               Groom,            ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                            Nicholas          AM
   02-25-2018 9:45       Received          [blank]               Rivers, Vanessa   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   02-26-2018 9:11       Received          [blank]               Few, Kara         ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              AM
   02-26-2018 11:00      Received          [blank]               Groom,            PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm                                                            Nicholas
   02-27-2018 7:20       Received          [blank]               Few, Kara         ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              AM
   02-27-2018 5:25       Received          [blank]               Joslin, Bethany   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   02-28-2018 5:00       Received          [blank]               Few, Kara         ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              AM
   02-28-2018 7:23       Received          [blank]               Joslin, Bethany   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-01-2018 6:32       Received          [blank]               Groom,            ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                            Nicholas          AM
   03-01-2018 7:58       Received          [blank]               Galbreath, Edna   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-02-2018 6:38       Received          [blank]               Few, Kara         ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              AM
   03-02-2018 6:51       Received          [blank]               Rivers, Vanessa   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-03-2018 6:16       Received          [blank]               Few, Kara         ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              AM
   03-03-2018 5:44       Received          [blank]               Galbreath, Edna   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-04-2018 5:52       Received          [blank]               Few, Kara         ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              AM
   03-04-2018 6:02       Received          [blank]               Galbreath, Edna   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-05-2018 6:40       Received          [blank]               Groom,            ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                            Nicholas          AM
   03-05-2018 6:22       Received          [blank]               Galbreath, Edna   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-06-2018 5:36       Received          [blank]               Few, Kara         ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              AM
   03-06-2018 7:10       Received          [blank]               Rivers, Vanessa   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-07-2018 5:11       Received          [blank]               Few, Kara         ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              AM
   03-07-2018 7:40       Received          [blank]               Joslin, Bethany   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-08-2018 6:33       Received          [blank]               Rivers, Vanessa   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-09-2018 9:09       Received          [blank]               Groom,            ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                            Nicholas          AM
   03-09-2018 8:39       Received          [blank]               Galbreath, Edna   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-10-2018 7:53       Received          [blank]               Groom,            ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                            Nicholas          AM
   03-10-2018 7:22       Received          [blank]               Combs, Casey      PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-11-2018 9:40       Received          [blank]               Groom,            ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                            Nicholas          AM
   03-11-2018 5:08       Received          [blank]               Jones, Natalie    PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-12-2018 7:52       Received          [blank]               Few, Kara         ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              AM

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       Case
10/12/2020    4:21-cv-00516-GKF-JFJ
                                CorEMR -Document
                                        RUTLEDGE, TY37-9    Filed in(10-14-1994)
                                                     - #20180115020  USDC ND/OK              on History
                                                                                 :: Full Patient 07/28/22
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   03-12-2018 11:35 Received  [blank]                    108
                                                    Joslin, Bethany  PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-13-2018 7:28       Received          [blank]               Few, Kara         ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              AM
   03-13-2018 6:19       Received          [blank]               Rivers, Vanessa   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-14-2018 9:05       Received          [blank]               Few, Kara         ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              AM
   03-14-2018 6:14       Received          [blank]               Rivers, Vanessa   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-15-2018 7:09       Received          [blank]               Few, Kara         ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              AM
   03-15-2018 9:28       Received          [blank]               Joslin, Bethany   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-16-2018 5:55       Received          [blank]               Joslin, Bethany   ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              AM
   03-16-2018 7:25       Received          [blank]               Rivers, Vanessa   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-17-2018 6:35       Received          [blank]               Few, Kara         ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              AM
   03-17-2018 6:43       Received          [blank]               Combs, Casey      PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-18-2018 9:15       Received          [blank]               Few, Kara         ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              AM
   03-18-2018 8:32       Received          [blank]               Moran, Sarah      PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-19-2018 8:21       Received          [blank]               Groom,            ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                            Nicholas          AM
   03-19-2018 6:09       Received          [blank]               Pauley, LPN,      PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm                                                            Carson
   03-20-2018 4:05       Received          [blank]               Few, Kara         ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              AM
   03-20-2018 7:44       Received          [blank]               Rivers, Vanessa   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-21-2018 9:28       Received          [blank]               Few, Kara         ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              AM
   03-22-2018 2:55       Received          [blank]               Few, Kara         PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   am
   03-22-2018 8:48       Received          [blank]               Few, Kara         ARIPIPRAZOLE (ABILIFY) 10MG 1 TAB [PO] By Mouth QD
   am                                                                              AM
   03-22-2018 7:34       Received          [blank]               Joslin, Bethany   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-22-2018 7:34       Received          [blank]               Joslin, Bethany   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   03-23-2018 5:56       Received          [blank]               O'Connor,         ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                            Taylor            PM
   03-23-2018 5:56       Received          [blank]               O'Connor,         PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm                                                            Taylor
   03-24-2018 9:20       Received          [blank]               Combs, Casey      ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   03-24-2018 9:20       Received          [blank]               Combs, Casey      PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-25-2018 10:14      Received          [blank]               Combs, Casey      ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   03-25-2018 10:14      Received          [blank]               Combs, Casey      PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-26-2018 10:06      Received          [blank]               Few, Kara         ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   03-26-2018 10:06      Received          [blank]               Few, Kara         PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-28-2018 1:01       Received          [blank]               Joslin, Bethany   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM

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       Case
10/12/2020      4:21-cv-00516-GKF-JFJ
                                 CorEMR -Document
                                         RUTLEDGE, TY37-9   Filed in(10-14-1994)
                                                      - #20180115020 USDC ND/OK              on History
                                                                                 :: Full Patient 07/28/22
                                                                                                        | v5.5.0 Page 83 of
   am                                                    108
   03-28-2018 10:46      Received          [blank]               Rivers, Vanessa   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-29-2018 8:06       Received          [blank]               Combs, Casey      PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-29-2018 8:06       Received          [blank]               Combs, Casey      ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   03-30-2018 9:44       Refused           [blank]               Combs, Casey      ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   03-30-2018 9:44       Refused           [blank]               Combs, Casey      PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   03-31-2018 6:05       Received          [blank]               Combs, Casey      ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   03-31-2018 6:05       Received          [blank]               Combs, Casey      PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-01-2018 6:20       Received          [blank]               Combs, Casey      ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-01-2018 6:20       Received          [blank]               Combs, Casey      PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-03-2018 1:25       Received          [blank]               Joslin, Bethany   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   am                                                                              PM
   04-03-2018 1:25       Received          [blank]               Joslin, Bethany   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   am
   04-03-2018 8:37       Received          [blank]               Wiggins, Toni     ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-03-2018 8:37       Received          [blank]               Wiggins, Toni     PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-04-2018 10:42      Received          [blank]               Combs, Casey      ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-04-2018 10:42      Received          [blank]               Combs, Casey      PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-05-2018 8:16       Received          [blank]               Combs, Casey      ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-05-2018 8:16       Received          [blank]               Combs, Casey      PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-06-2018 5:35       Received          [blank]               Rivers, Vanessa   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-06-2018 5:35       Received          [blank]               Rivers, Vanessa   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-07-2018 7:39       Received          [blank]               Combs, Casey      ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-07-2018 7:39       Received          [blank]               Combs, Casey      PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-08-2018 6:33       Received          [blank]               Combs, Casey      ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-08-2018 6:33       Received          [blank]               Combs, Casey      PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-09-2018 7:01       Received          [blank]               Joslin, Bethany   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-09-2018 7:01       Received          [blank]               Joslin, Bethany   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-09-2018 7:01       Received          [blank]               Joslin, Bethany   TERAZOSIN HCL (TERAZOSIN HCL) 1MG 1 CAP [PO] By
   pm                                                                              Mouth QD PM
   04-10-2018 5:53       Received          [blank]               Rivers, Vanessa   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-10-2018 5:53       Received          [blank]               Rivers, Vanessa   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-10-2018 5:53       Received          [blank]               Rivers, Vanessa   TERAZOSIN HCL (TERAZOSIN HCL) 1MG 1 CAP [PO] By
   pm                                                                              Mouth QD PM
   04-12-2018 12:50      Received          [blank]               Joslin, Bethany   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   am                                                                              PM

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       Case
10/12/2020    4:21-cv-00516-GKF-JFJ
                                CorEMR -Document
                                        RUTLEDGE, TY37-9    Filed in(10-14-1994)
                                                     - #20180115020  USDC ND/OK              on History
                                                                                 :: Full Patient 07/28/22
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   04-12-2018 12:50 Received  [blank]                    108
                                                    Joslin, Bethany  PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   am
   04-12-2018 12:50      Received          [blank]               Joslin, Bethany   TERAZOSIN HCL (TERAZOSIN HCL) 1MG 1 CAP [PO] By
   am                                                                              Mouth QD PM
   04-12-2018 5:49       Received          [blank]               Rivers, Vanessa   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-12-2018 5:49       Received          [blank]               Rivers, Vanessa   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-12-2018 5:49       Received          [blank]               Rivers, Vanessa   TERAZOSIN HCL (TERAZOSIN HCL) 1MG 1 CAP [PO] By
   pm                                                                              Mouth QD PM
   04-13-2018 8:09       Other             ns                    Burton,           ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                            Trundalaya        PM
   04-13-2018 8:10       Other             ns                    Burton,           PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm                                                            Trundalaya
   04-13-2018 8:10       Other             ns                    Burton,           TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                            Trundalaya        Mouth QD PM
   04-14-2018 6:36       Received          [blank]               Combs, Casey      ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-14-2018 6:36       Received          [blank]               Combs, Casey      PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-14-2018 6:36       Received          [blank]               Combs, Casey      TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                              Mouth QD PM
   04-15-2018 9:01       Received          [blank]               Combs, Casey      ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-15-2018 9:01       Received          [blank]               Combs, Casey      PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-15-2018 9:01       Received          [blank]               Combs, Casey      TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                              Mouth QD PM
   04-17-2018 1:27       Received          [blank]               Burton,           ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   am                                                            Trundalaya        PM
   04-17-2018 1:27       Received          [blank]               Burton,           PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   am                                                            Trundalaya
   04-17-2018 1:27       Received          [blank]               Burton,           TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   am                                                            Trundalaya        Mouth QD PM
   04-17-2018 5:20       Received          [blank]               Rivers, Vanessa   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-17-2018 5:20       Received          [blank]               Rivers, Vanessa   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-17-2018 5:20       Received          [blank]               Rivers, Vanessa   TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                              Mouth QD PM
   04-18-2018 8:40       Received          [blank]               Combs, Casey      ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-18-2018 8:40       Received          [blank]               Combs, Casey      PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-18-2018 8:40       Received          [blank]               Combs, Casey      TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                              Mouth QD PM
   04-19-2018 8:15       Received          [blank]               Combs, Casey      ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-19-2018 8:15       Received          [blank]               Combs, Casey      PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-19-2018 8:15       Received          [blank]               Combs, Casey      TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                              Mouth QD PM
   04-20-2018 9:09       Received          [blank]               Few, Kara         ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-20-2018 9:09       Received          [blank]               Few, Kara         PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-20-2018 9:09       Received          [blank]               Few, Kara         TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                              Mouth QD PM
   04-21-2018 8:24       Received          [blank]               Bachmeier,        ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                            Jessica           PM
   04-21-2018 8:24       Received          [blank]               Bachmeier,        PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM

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       Case
10/12/2020      4:21-cv-00516-GKF-JFJ
                                 CorEMR -Document
                                         RUTLEDGE, TY37-9    Filed in(10-14-1994)
                                                      - #20180115020  USDC ND/OK              on History
                                                                                  :: Full Patient 07/28/22
                                                                                                         | v5.5.0 Page 85 of
   pm                                                    108
                                                     Jessica
   04-21-2018 8:24       Received          [blank]               Bachmeier,        TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                            Jessica           Mouth QD PM
   04-22-2018 8:00       Received          [blank]               Moran, Sarah      ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-22-2018 8:00       Received          [blank]               Moran, Sarah      PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-22-2018 8:00       Received          [blank]               Moran, Sarah      TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                              Mouth QD PM
   04-23-2018 7:04       Received          [blank]               Joslin, Bethany   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-23-2018 7:04       Received          [blank]               Joslin, Bethany   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-23-2018 7:04       Received          [blank]               Joslin, Bethany   TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                              Mouth QD PM
   04-24-2018 5:46       Refused           [blank]               Groom,            ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                            Nicholas          PM
   04-24-2018 5:46       Refused           [blank]               Groom,            PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm                                                            Nicholas
   04-24-2018 5:46       Refused           [blank]               Groom,            TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                            Nicholas          Mouth QD PM
   04-25-2018 6:53       Received          [blank]               Joslin, Bethany   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-25-2018 6:53       Received          [blank]               Joslin, Bethany   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-25-2018 6:53       Received          [blank]               Joslin, Bethany   TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                              Mouth QD PM
   04-26-2018 8:35       Received          [blank]               Combs, Casey      ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-26-2018 8:35       Received          [blank]               Combs, Casey      PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-26-2018 8:35       Received          [blank]               Combs, Casey      TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                              Mouth QD PM
   04-27-2018 10:35      Received          [blank]               Joslin, Bethany   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-27-2018 10:35      Received          [blank]               Joslin, Bethany   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-27-2018 10:35      Received          [blank]               Joslin, Bethany   TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                              Mouth QD PM
   04-28-2018 5:47       Received          [blank]               Combs, Casey      ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-28-2018 5:47       Received          [blank]               Combs, Casey      PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-28-2018 5:47       Received          [blank]               Combs, Casey      TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                              Mouth QD PM
   04-29-2018 9:05       Received          [blank]               Morrow, Rhonda    ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-29-2018 9:05       Received          [blank]               Morrow, Rhonda    PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-29-2018 9:05       Received          [blank]               Morrow, Rhonda    TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                              Mouth QD PM
   04-30-2018 7:05       Received          [blank]               Joslin, Bethany   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   04-30-2018 7:05       Received          [blank]               Joslin, Bethany   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm
   04-30-2018 7:05       Received          [blank]               Joslin, Bethany   TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                              Mouth QD PM
   05-01-2018 10:10      Received          [blank]               Joslin, Bethany   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   05-01-2018 10:10      Received          [blank]               Joslin, Bethany   PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm

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       Case
10/12/2020    4:21-cv-00516-GKF-JFJ
                                CorEMR -Document
                                        RUTLEDGE, TY37-9    Filed in(10-14-1994)
                                                     - #20180115020  USDC ND/OK              on History
                                                                                 :: Full Patient 07/28/22
                                                                                                        | v5.5.0 Page 86 of
   05-01-2018 10:10 Received  [blank]                    108
                                                    Joslin, Bethany  TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                              Mouth QD PM
   05-02-2018 9:38       Received          [blank]               Burton,           ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                            Trundalaya        PM
   05-02-2018 9:38       Received          [blank]               Burton,           PAROXETINE HCL (PAXIL) 30MG 1 TAB By Mouth QD PM
   pm                                                            Trundalaya
   05-02-2018 9:38       Received          [blank]               Burton,           TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                            Trundalaya        Mouth QD PM
   05-03-2018 5:33       Received          [blank]               Rivers, Vanessa   TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                              Mouth QD PM
   05-03-2018 5:33       Received          [blank]               Rivers, Vanessa   PAROXETINE HCL (PAXIL) 40MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   05-03-2018 5:33       Other             not in stock          Rivers, Vanessa   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   05-04-2018 9:20       Received          [blank]               Burton,           ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                            Trundalaya        PM
   05-04-2018 9:20       Received          [blank]               Burton,           PAROXETINE HCL (PAXIL) 40MG 1 TAB [PO] By Mouth QD
   pm                                                            Trundalaya        PM
   05-04-2018 9:20       Received          [blank]               Burton,           TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                            Trundalaya        Mouth QD PM
   05-05-2018 8:16       Received          [blank]               Rivers, Vanessa   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   05-05-2018 8:16       Received          [blank]               Rivers, Vanessa   PAROXETINE HCL (PAXIL) 40MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   05-05-2018 8:16       Received          [blank]               Rivers, Vanessa   TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                              Mouth QD PM
   05-06-2018 6:58       Other             OUT OF STOCK          Rivers, Vanessa   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   05-06-2018 6:58       Received          [blank]               Rivers, Vanessa   PAROXETINE HCL (PAXIL) 40MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   05-06-2018 6:58       Received          [blank]               Rivers, Vanessa   TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                              Mouth QD PM
   05-07-2018 11:24      Received          [blank]               Joslin, Bethany   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   05-07-2018 11:24      Received          [blank]               Joslin, Bethany   PAROXETINE HCL (PAXIL) 40MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   05-07-2018 11:24      Received          [blank]               Joslin, Bethany   TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                              Mouth QD PM
   05-08-2018 5:39       Other             out of stock          Rivers, Vanessa   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   05-08-2018 5:39       Received          [blank]               Rivers, Vanessa   PAROXETINE HCL (PAXIL) 40MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   05-08-2018 5:39       Received          [blank]               Rivers, Vanessa   TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                              Mouth QD PM
   05-09-2018 11:16      Received          [blank]               Joslin, Bethany   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   05-09-2018 11:16      Received          [blank]               Joslin, Bethany   PAROXETINE HCL (PAXIL) 40MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   05-09-2018 11:16      Received          [blank]               Joslin, Bethany   TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                              Mouth QD PM
   05-10-2018 8:26       Received          [blank]               Bachmeier,        ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                            Jessica           PM
   05-10-2018 8:26       Received          [blank]               Bachmeier,        PAROXETINE HCL (PAXIL) 40MG 1 TAB [PO] By Mouth QD
   pm                                                            Jessica           PM
   05-10-2018 8:26       Received          [blank]               Bachmeier,        TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                            Jessica           Mouth QD PM
   05-11-2018 5:40       Received          [blank]               Joslin, Bethany   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   05-11-2018 5:40       Received          [blank]               Joslin, Bethany   PAROXETINE HCL (PAXIL) 40MG 1 TAB [PO] By Mouth QD
   pm                                                                              PM
   05-11-2018 5:40       Received          [blank]               Joslin, Bethany   TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By

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                                         RUTLEDGE, TY37-9   Filed in(10-14-1994)
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   pm                                                    108         Mouth QD PM
   05-12-2018 6:10       Received          [blank]                Joslin, Bethany   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                               PM
   05-12-2018 6:10       Received          [blank]                Joslin, Bethany   PAROXETINE HCL (PAXIL) 40MG 1 TAB [PO] By Mouth QD
   pm                                                                               PM
   05-12-2018 6:10       Received          [blank]                Joslin, Bethany   TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                               Mouth QD PM
   05-13-2018 9:04       Received          [blank]                Moran, Sarah      ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                               PM
   05-13-2018 9:04       Received          [blank]                Moran, Sarah      PAROXETINE HCL (PAXIL) 40MG 1 TAB [PO] By Mouth QD
   pm                                                                               PM
   05-13-2018 9:04       Received          [blank]                Moran, Sarah      TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                               Mouth QD PM
   05-14-2018 10:09      Received          [blank]                Rivers, Vanessa   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                               PM
   05-14-2018 10:09      Received          [blank]                Rivers, Vanessa   PAROXETINE HCL (PAXIL) 40MG 1 TAB [PO] By Mouth QD
   pm                                                                               PM
   05-14-2018 10:09      Received          [blank]                Rivers, Vanessa   TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                               Mouth QD PM
   05-15-2018 5:33       Received          [blank]                Rivers, Vanessa   TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                               Mouth QD PM
   05-15-2018 5:33       Received          [blank]                Rivers, Vanessa   PAROXETINE HCL (PAXIL) 40MG 1 TAB [PO] By Mouth QD
   pm                                                                               PM
   05-15-2018 5:33       Received          [blank]                Rivers, Vanessa   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                               PM
   05-16-2018 11:28      Received          [blank]                Longley, Amy      ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                               PM
   05-16-2018 11:28      Received          [blank]                Longley, Amy      PAROXETINE HCL (PAXIL) 40MG 1 TAB [PO] By Mouth QD
   pm                                                                               PM
   05-16-2018 11:28      Received          [blank]                Longley, Amy      TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                               Mouth QD PM
   05-17-2018 6:00       Received          [blank]                Rivers, Vanessa   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                               PM
   05-17-2018 6:00       Received          [blank]                Rivers, Vanessa   PAROXETINE HCL (PAXIL) 40MG 1 TAB [PO] By Mouth QD
   pm                                                                               PM
   05-17-2018 6:00       Received          [blank]                Rivers, Vanessa   TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                               Mouth QD PM
   05-18-2018 8:00       Received          [blank]                Joslin, Bethany   ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                                               PM
   05-18-2018 8:00       Received          [blank]                Joslin, Bethany   PAROXETINE HCL (PAXIL) 40MG 1 TAB [PO] By Mouth QD
   pm                                                                               PM
   05-18-2018 8:00       Received          [blank]                Joslin, Bethany   TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                                               Mouth QD PM
   05-19-2018 8:17       Not present       [blank]                McAnally,         ARIPIPRAZOLE (ABILIFY) 15MG 1 TAB [PO] By Mouth QD
   pm                                                             Maureen           PM
   05-19-2018 8:17       Not present       [blank]                McAnally,         PAROXETINE HCL (PAXIL) 40MG 1 TAB [PO] By Mouth QD
   pm                                                             Maureen           PM
   05-19-2018 8:17       Not present       [blank]                McAnally,         TERAZOSIN HCL (TERAZOSIN HCL) 1MG 2 CAP [PO] By
   pm                                                             Maureen           Mouth QD PM




  Tasks

    Appointment Scheduled Date 01-15-2018
        Appointment Created Date 01-15-2018 12:02 pm
         Appointment Description Intake Screening - Mental Health 01-15-2018 12:02 pm MH Intake Suicide Screening
           Appointment Category MTH - Urgent Referral MH

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          Priority (1=High, 5=Low) 1                         108
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Mobley, Jessica
   Appointment Last Modified By Irvin, Psychlogist, Alicia
     Last Modified Date and Time 01-15-2018 2:27 pm
      Appointment Completed By Irvin, Psychlogist, Alicia
        Completed Date and Time 01-15-2018 2:27 pm
       Appointment Change Note will be seen tomorrow on SW rounds; mandatory 24 hour SW
                Change Note Type Completed Appointments
                Change Note Date 01-15-2018 12:00 am
                  Change Note By Irvin, Psychlogist, Alicia



    Appointment Scheduled Date 01-15-2018
       Appointment Created Date 01-15-2018 12:04 pm
         Appointment Description Segregation Clearance 01-15-2018 12:04 pm Suicide Precautions
           Appointment Category MTH - Urgent Referral MH
          Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Mobley, Jessica
   Appointment Last Modified By Irvin, Psychlogist, Alicia
     Last Modified Date and Time 01-15-2018 2:27 pm
      Appointment Completed By Irvin, Psychlogist, Alicia
        Completed Date and Time 01-15-2018 2:27 pm
       Appointment Change Note Completed Appointment
                Change Note Type Completed Appointments
                Change Note Date 01-15-2018 12:00 am
                  Change Note By Irvin, Psychlogist, Alicia



    Appointment Scheduled Date 01-16-2018
       Appointment Created Date 01-16-2018 9:52 am
         Appointment Description Segregation Clearance 01-16-2018 09:52 am
           Appointment Category NUR - Charge Nurse (Day Shift)
          Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Elkins, T.
   Appointment Last Modified By Witte RN, UM Teresa
     Last Modified Date and Time 01-16-2018 10:15 am
      Appointment Completed By Witte RN, UM Teresa
        Completed Date and Time 01-16-2018 10:15 am
       Appointment Change Note Completed Appointment
                Change Note Type Completed Appointments
                Change Note Date 01-16-2018 12:00 am
                  Change Note By Witte RN, UM Teresa



    Appointment Scheduled Date 01-16-2018

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       Appointment Created Date 01-16-2018 9:52 am               108
         Appointment Description Segregation Clearance 01-16-2018 09:52 am
           Appointment Category NUR - Charge Nurse (Night Shift)
          Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Elkins, T.
   Appointment Last Modified By Misthaven, Jesse
     Last Modified Date and Time 01-16-2018 7:44 pm
      Appointment Completed By Misthaven, Jesse
        Completed Date and Time 01-16-2018 7:44 pm
       Appointment Change Note Completed Appointment
                Change Note Type Completed Appointments
                Change Note Date 01-16-2018 12:00 am
                  Change Note By Misthaven, Jesse



    Appointment Scheduled Date 01-19-2018
       Appointment Created Date 01-15-2018 12:00 pm
         Appointment Description Intake Screening - Medical 01-15-2018 12:00 pm Initial CCC eval
           Appointment Category HCP - Chronic Care Clinic
          Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Mobley, Jessica
   Appointment Last Modified By Constanzer, APRN-CNP, James
     Last Modified Date and Time 01-19-2018 12:55 pm
      Appointment Completed By Constanzer, APRN-CNP, James
        Completed Date and Time 01-19-2018 12:55 pm
       Appointment Change Note Sick call completed 1-19-18 at 12:55 pm by James Constanzer, APRN-CNP
                Change Note Type Completed Appointments
                Change Note Date 01-19-2018 12:00 am
                  Change Note By Constanzer, APRN-CNP, James



    Appointment Scheduled Date 01-19-2018
       Appointment Created Date 01-19-2018 12:46 pm
         Appointment Description pt requesting to see psychiatrist pt states he is bipolar and has hx of Zoloft and Seroquel use
           Appointment Category MTH - Psychiatrist
          Priority (1=High, 5=Low) 1
                    Current Status Rescheduled
           Requested by Patient? No
              Appointment Set By Constanzer, APRN-CNP, James
   Appointment Last Modified By Lewis, Psychiatrist, Jawaun
     Last Modified Date and Time 01-19-2018 1:18 pm
      Appointment Completed By N/A
        Completed Date and Time N/A
       Appointment Change Note time
                Change Note Type Rescheduled Appointments
                Change Note Date 01-19-2018 12:00 am


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                  Change Note By Lewis, Psychiatrist, Jawaun       108


    Appointment Scheduled Date 01-21-2018
       Appointment Created Date 01-15-2018 12:00 pm
         Appointment Description Intake Screening - Medical 01-15-2018 12:00 pm IV drug user
           Appointment Category HCP - Provider Sick Call
          Priority (1=High, 5=Low) 1
                    Current Status Deleted
           Requested by Patient? No
              Appointment Set By Mobley, Jessica
   Appointment Last Modified By Martin, APRN-CNP, Holly
     Last Modified Date and Time 01-16-2018 9:48 am
      Appointment Completed By N/A
        Completed Date and Time N/A
       Appointment Change Note Delete Appointment
                Change Note Type Deleted Appointments
                Change Note Date 01-16-2018 12:00 am
                  Change Note By Martin, APRN-CNP, Holly



    Appointment Scheduled Date 01-21-2018
       Appointment Created Date 01-15-2018 12:02 pm
         Appointment Description Intake Screening - Mental Health 01-15-2018 12:02 pm Paranoia
           Appointment Category MTH - Routine Referral MH
          Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Mobley, Jessica
   Appointment Last Modified By Irvin, Psychlogist, Alicia
     Last Modified Date and Time 01-15-2018 2:28 pm
      Appointment Completed By Irvin, Psychlogist, Alicia
        Completed Date and Time 01-15-2018 2:28 pm
       Appointment Change Note Completed Appointment
                Change Note Type Completed Appointments
                Change Note Date 01-15-2018 12:00 am
                  Change Note By Irvin, Psychlogist, Alicia



    Appointment Scheduled Date 01-22-2018
       Appointment Created Date 01-21-2018 12:24 pm
         Appointment Description Mental Health - Psychiatry Note 01-21-2018 12:24 pm Patient started on MH meds - verify signed consent
           Appointment Category MTH - Routine Referral MH
          Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Lewis, Psychiatrist, Jawaun
   Appointment Last Modified By Irvin, Psychlogist, Alicia
     Last Modified Date and Time 01-22-2018 8:27 am
      Appointment Completed By Irvin, Psychlogist, Alicia
        Completed Date and Time 01-22-2018 8:27 am

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       Appointment Change Note Completed Appointment           108
                Change Note Type Completed Appointments
                Change Note Date 01-22-2018 12:00 am
                  Change Note By Irvin, Psychlogist, Alicia



    Appointment Scheduled Date 01-23-2018
       Appointment Created Date 01-16-2018 9:58 am
         Appointment Description Mental Health - Rounds / Follow-up Note 01-16-2018 09:58 am
           Appointment Category MTH - Routine Referral MH
          Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By True, Rob
   Appointment Last Modified By Irvin, Psychlogist, Alicia
     Last Modified Date and Time 01-18-2018 10:02 am
      Appointment Completed By Irvin, Psychlogist, Alicia
        Completed Date and Time 01-18-2018 10:02 am
       Appointment Change Note Completed Appointment
                Change Note Type Completed Appointments
                Change Note Date 01-18-2018 12:00 am
                  Change Note By Irvin, Psychlogist, Alicia



    Appointment Scheduled Date 01-26-2018
       Appointment Created Date 01-19-2018 12:46 pm
         Appointment Description pt requesting to see psychiatrist pt states he is bipolar and has hx of Zoloft and Seroquel use
           Appointment Category MTH - Psychiatrist
          Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Constanzer, APRN-CNP, James
   Appointment Last Modified By Lewis, Psychiatrist, Jawaun
     Last Modified Date and Time 01-21-2018 12:22 pm
      Appointment Completed By Lewis, Psychiatrist, Jawaun
        Completed Date and Time 01-21-2018 12:22 pm
       Appointment Change Note Completed Appointment
                Change Note Type Completed Appointments
                Change Note Date 01-21-2018 12:00 am
                  Change Note By Lewis, Psychiatrist, Jawaun



    Appointment Scheduled Date 01-31-2018
       Appointment Created Date 01-29-2018 12:48 pm
         Appointment Description Tuberculosis Skin Test - Plant01-29-2018 12:48 pm READ TB TEST
           Appointment Category NUR - TB Screening
          Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Stout, Kim
   Appointment Last Modified By Chaplin, Adrienne

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     Last Modified Date and Time 01-31-2018 8:17 pm               108
      Appointment Completed By Chaplin, Adrienne
        Completed Date and Time 01-31-2018 8:17 pm
       Appointment Change Note Completed Appointment
                Change Note Type Completed Appointments
                Change Note Date 01-31-2018 12:00 am
                  Change Note By Chaplin, Adrienne



    Appointment Scheduled Date 02-01-2018
       Appointment Created Date 01-29-2018 12:41 pm
        Appointment Description History and Physical 01-29-2018 12:41 pm PT STATES AH BECOMING LOUDER; PT REQUESTING MED
                                CHANGE
           Appointment Category MTH - Routine Referral MH
         Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Stout, Kim
      Appointment Last Modified Irvin, Psychlogist, Alicia
                             By
     Last Modified Date and Time 01-29-2018 1:49 pm
     Appointment Completed By Irvin, Psychlogist, Alicia
        Completed Date and Time 01-29-2018 1:49 pm
       Appointment Change Note will be seen on seg rounds
                Change Note Type Completed Appointments
                Change Note Date 01-29-2018 12:00 am
                  Change Note By Irvin, Psychlogist, Alicia



    Appointment Scheduled Date 02-02-2018
       Appointment Created Date 01-19-2018 12:55 pm
         Appointment Description Chronic Care and/or Special Needs Note 01-19-2018 12:55 pm CCC - vaccination
           Appointment Category NUR - Infection Control Coordinator
          Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Constanzer, APRN-CNP, James
   Appointment Last Modified By Harris, Mary
     Last Modified Date and Time 02-02-2018 10:34 am
      Appointment Completed By Harris, Mary
        Completed Date and Time 02-02-2018 10:34 am
       Appointment Change Note Completed Appointment
                Change Note Type Completed Appointments
                Change Note Date 02-02-2018 12:00 am
                  Change Note By Harris, Mary



    Appointment Scheduled Date 02-04-2018
       Appointment Created Date 01-29-2018 12:41 pm
         Appointment Description History and Physical 01-29-2018 12:41 pm
           Appointment Category MTH - Routine Referral MH
          Priority (1=High, 5=Low) 1

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                   Current Status Rescheduled                   108
           Requested by Patient? No
              Appointment Set By Stout, Kim
   Appointment Last Modified By Stout, Kim
     Last Modified Date and Time 01-29-2018 12:42 pm
      Appointment Completed By N/A
        Completed Date and Time N/A
       Appointment Change Note TO BE SEEN EARLIER
                Change Note Type Rescheduled Appointments
                Change Note Date 01-29-2018 12:00 am
                  Change Note By Stout, Kim



       Appointment Scheduled 02-06-2018
                        Date
    Appointment Created Date 02-06-2018 2:57 pm
      Appointment Description pt states requesting a medication change and states he was not taking medicine because he did not like the way it
                              made him feel
         Appointment Category MTH - Psychiatrist Medication Renewal/Review
       Priority (1=High, 5=Low) 1
                 Current Status Completed
         Requested by Patient? No
           Appointment Set By Pauley, LPN, Carson
    Appointment Last Modified Lewis, Psychiatrist, Jawaun
                           By
        Last Modified Date and 02-06-2018 8:51 pm
                          Time
   Appointment Completed By Lewis, Psychiatrist, Jawaun
     Completed Date and Time 02-06-2018 8:51 pm
    Appointment Change Note Completed Appointment
             Change Note Type Completed Appointments
              Change Note Date 02-06-2018 12:00 am
                Change Note By Lewis, Psychiatrist, Jawaun



    Appointment Scheduled Date 02-08-2018
       Appointment Created Date 02-06-2018 9:06 am
         Appointment Description requesting appt
           Appointment Category MTH - Psychiatrist
          Priority (1=High, 5=Low) 1
                    Current Status Rescheduled
           Requested by Patient? No
              Appointment Set By Irvin, Psychlogist, Alicia
   Appointment Last Modified By Lewis, Psychiatrist, Jawaun
     Last Modified Date and Time 02-06-2018 8:50 pm
      Appointment Completed By N/A
        Completed Date and Time N/A
       Appointment Change Note seg rounds
                Change Note Type Rescheduled Appointments
                Change Note Date 02-06-2018 12:00 am
                  Change Note By Lewis, Psychiatrist, Jawaun



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    Appointment Scheduled Date 02-09-2018
       Appointment Created Date 02-06-2018 9:06 am
         Appointment Description requesting appt
           Appointment Category MTH - Psychiatrist
          Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Irvin, Psychlogist, Alicia
   Appointment Last Modified By Lewis, Psychiatrist, Jawaun
     Last Modified Date and Time 02-09-2018 11:33 am
      Appointment Completed By Lewis, Psychiatrist, Jawaun
        Completed Date and Time 02-09-2018 11:33 am
       Appointment Change Note Completed Appointment
                Change Note Type Completed Appointments
                Change Note Date 02-09-2018 12:00 am
                  Change Note By Lewis, Psychiatrist, Jawaun



    Appointment Scheduled Date 02-10-2018
       Appointment Created Date 02-10-2018 4:11 am
         Appointment Description Abilify need to be patient specific
           Appointment Category MTH - Psychiatrist Medication Renewal/Review
          Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Misthaven, Jesse
   Appointment Last Modified By Lewis, Psychiatrist, Jawaun
     Last Modified Date and Time 02-10-2018 9:16 am
      Appointment Completed By Lewis, Psychiatrist, Jawaun
        Completed Date and Time 02-10-2018 9:16 am
       Appointment Change Note Completed Appointment
                Change Note Type Completed Appointments
                Change Note Date 02-10-2018 12:00 am
                  Change Note By Lewis, Psychiatrist, Jawaun



    Appointment Scheduled Date 02-12-2018
       Appointment Created Date 02-05-2018 8:25 am
         Appointment Description Intermittent Missed Doses, Non-Compliant
           Appointment Category MTH - Psychiatrist Medication Renewal/Review
          Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Wilson, MAT, Jacqueline
   Appointment Last Modified By Lewis, Psychiatrist, Jawaun
     Last Modified Date and Time 02-05-2018 12:39 pm
      Appointment Completed By Lewis, Psychiatrist, Jawaun
        Completed Date and Time 02-05-2018 12:39 pm
       Appointment Change Note Completed Appointment

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                Change Note Type Completed Appointments          108
                Change Note Date 02-05-2018 12:00 am
                  Change Note By Lewis, Psychiatrist, Jawaun



    Appointment Scheduled Date 03-02-2018
       Appointment Created Date 03-02-2018 11:31 am
        Appointment Description PT REQUESTING TO BE PUT BACK ON HIS ZOLOFT. STATES HE'S HAVING TOO MUCH ANXIETY WITHOUT
                                IT.
           Appointment Category MTH - Psychiatrist Medication Renewal/Review
         Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Sloan, Martha
      Appointment Last Modified Lewis, Psychiatrist, Jawaun
                             By
     Last Modified Date and Time 03-03-2018 8:52 am
     Appointment Completed By Lewis, Psychiatrist, Jawaun
        Completed Date and Time 03-03-2018 8:52 am
       Appointment Change Note denied...o% compliance
                Change Note Type Completed Appointments
                Change Note Date 03-03-2018 12:00 am
                  Change Note By Lewis, Psychiatrist, Jawaun



    Appointment Scheduled Date 03-08-2018
       Appointment Created Date 03-08-2018 10:00 am
         Appointment Description Segregation Clearance 03-08-2018 10:00 am
           Appointment Category NUR - Charge Nurse (Day Shift)
          Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Pauley, LPN, Carson
   Appointment Last Modified By Witte RN, UM Teresa
     Last Modified Date and Time 03-08-2018 11:35 am
      Appointment Completed By Witte RN, UM Teresa
        Completed Date and Time 03-08-2018 11:35 am
       Appointment Change Note Completed Appointment
                Change Note Type Completed Appointments
                Change Note Date 03-08-2018 12:00 am
                  Change Note By Witte RN, UM Teresa



    Appointment Scheduled Date 03-08-2018
       Appointment Created Date 03-08-2018 10:00 am
         Appointment Description Segregation Clearance 03-08-2018 10:00 am
           Appointment Category NUR - Charge Nurse (Night Shift)
          Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Pauley, LPN, Carson
   Appointment Last Modified By Hadden, Shirley

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       Case
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                                                  RUTLEDGE, TY37-9   Filed in(10-14-1994)
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     Last Modified Date and Time 03-10-2018 7:22 am
                                                                  108
      Appointment Completed By Hadden, Shirley
        Completed Date and Time 03-10-2018 7:22 am
       Appointment Change Note Completed Appointment
                Change Note Type Completed Appointments
                Change Note Date 03-10-2018 12:00 am
                  Change Note By Hadden, Shirley



    Appointment Scheduled Date 03-15-2018
       Appointment Created Date 03-08-2018 9:42 am
         Appointment Description Mental Health - Rounds / Follow-up Note 03-08-2018 09:42 am
           Appointment Category MTH - Routine Referral MH
          Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Irvin, Psychlogist, Alicia
   Appointment Last Modified By Irvin, Psychlogist, Alicia
     Last Modified Date and Time 03-09-2018 11:47 am
      Appointment Completed By Irvin, Psychlogist, Alicia
        Completed Date and Time 03-09-2018 11:47 am
       Appointment Change Note will be seen on seg rounds
                Change Note Type Completed Appointments
                Change Note Date 03-09-2018 12:00 am
                  Change Note By Irvin, Psychlogist, Alicia



    Appointment Scheduled Date 03-15-2018
       Appointment Created Date 03-15-2018 9:08 am
         Appointment Description requesting appt
           Appointment Category MTH - Psychiatrist
          Priority (1=High, 5=Low) 1
                    Current Status Rescheduled
           Requested by Patient? No
              Appointment Set By Irvin, Psychlogist, Alicia
   Appointment Last Modified By Irvin, Psychlogist, Alicia
     Last Modified Date and Time 03-15-2018 9:08 am
      Appointment Completed By N/A
        Completed Date and Time N/A
       Appointment Change Note n/a
                Change Note Type Rescheduled Appointments
                Change Note Date 03-15-2018 12:00 am
                  Change Note By Irvin, Psychlogist, Alicia



    Appointment Scheduled Date 03-16-2018
       Appointment Created Date 03-15-2018 9:08 am
         Appointment Description requesting appt
           Appointment Category MTH - Psychiatrist
          Priority (1=High, 5=Low) 1
                    Current Status Rescheduled

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       Case
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                                            RUTLEDGE, TY37-9   Filed in(10-14-1994)
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           Requested by Patient? No                         108
              Appointment Set By Irvin, Psychlogist, Alicia
   Appointment Last Modified By Lewis, Psychiatrist, Jawaun
     Last Modified Date and Time 03-15-2018 1:35 pm
      Appointment Completed By N/A
        Completed Date and Time N/A
       Appointment Change Note seg rounds
                Change Note Type Rescheduled Appointments
                Change Note Date 03-15-2018 12:00 am
                  Change Note By Lewis, Psychiatrist, Jawaun



    Appointment Scheduled Date 03-23-2018
       Appointment Created Date 03-15-2018 9:08 am
         Appointment Description requesting appt
           Appointment Category MTH - Psychiatrist
          Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Irvin, Psychlogist, Alicia
   Appointment Last Modified By Lewis, Psychiatrist, Jawaun
     Last Modified Date and Time 03-22-2018 11:18 am
      Appointment Completed By Lewis, Psychiatrist, Jawaun
        Completed Date and Time 03-22-2018 11:18 am
       Appointment Change Note Completed Appointment
                Change Note Type Completed Appointments
                Change Note Date 03-22-2018 12:00 am
                  Change Note By Lewis, Psychiatrist, Jawaun



    Appointment Scheduled Date 04-06-2018
       Appointment Created Date 04-06-2018 1:47 pm
         Appointment Description nightmares
           Appointment Category MTH - Psychiatrist Medication Renewal/Review
          Priority (1=High, 5=Low) 1
                    Current Status Rescheduled
           Requested by Patient? No
              Appointment Set By Irvin, Psychlogist, Alicia
   Appointment Last Modified By Hadden, Shirley
     Last Modified Date and Time 04-07-2018 7:45 am
      Appointment Completed By N/A
        Completed Date and Time N/A
       Appointment Change Note Rescheduled Appointment
                Change Note Type Rescheduled Appointments
                Change Note Date 04-07-2018 12:00 am
                  Change Note By Hadden, Shirley



    Appointment Scheduled Date 04-07-2018
       Appointment Created Date 04-06-2018 1:47 pm
         Appointment Description nightmares

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       Case
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           Appointment Category MTH - Psychiatrist Medication Renewal/Review
          Priority (1=High, 5=Low) 1
                    Current Status Rescheduled
           Requested by Patient? No
              Appointment Set By Irvin, Psychlogist, Alicia
   Appointment Last Modified By Hadden, Shirley
     Last Modified Date and Time 04-08-2018 8:00 am
      Appointment Completed By N/A
        Completed Date and Time N/A
       Appointment Change Note Rescheduled Appointment
                Change Note Type Rescheduled Appointments
                Change Note Date 04-08-2018 12:00 am
                  Change Note By Hadden, Shirley



    Appointment Scheduled Date 04-08-2018
       Appointment Created Date 04-06-2018 1:47 pm
         Appointment Description nightmares
           Appointment Category MTH - Psychiatrist Medication Renewal/Review
          Priority (1=High, 5=Low) 1
                    Current Status Rescheduled
           Requested by Patient? No
              Appointment Set By Irvin, Psychlogist, Alicia
   Appointment Last Modified By Lewis, Psychiatrist, Jawaun
     Last Modified Date and Time 04-09-2018 8:52 am
      Appointment Completed By N/A
        Completed Date and Time N/A
       Appointment Change Note off
                Change Note Type Rescheduled Appointments
                Change Note Date 04-09-2018 12:00 am
                  Change Note By Lewis, Psychiatrist, Jawaun



    Appointment Scheduled Date 04-09-2018
       Appointment Created Date 04-06-2018 1:47 pm
         Appointment Description nightmares
           Appointment Category MTH - Psychiatrist Medication Renewal/Review
          Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Irvin, Psychlogist, Alicia
   Appointment Last Modified By Lewis, Psychiatrist, Jawaun
     Last Modified Date and Time 04-09-2018 12:57 pm
      Appointment Completed By Lewis, Psychiatrist, Jawaun
        Completed Date and Time 04-09-2018 12:57 pm
       Appointment Change Note Completed Appointment
                Change Note Type Completed Appointments
                Change Note Date 04-09-2018 12:00 am
                  Change Note By Lewis, Psychiatrist, Jawaun



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    Appointment Scheduled Date 04-13-2018                     108
       Appointment Created Date 04-13-2018 7:47 am
         Appointment Description still having nightmares
           Appointment Category MTH - Psychiatrist Medication Renewal/Review
          Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Irvin, Psychlogist, Alicia
   Appointment Last Modified By Lewis, Psychiatrist, Jawaun
     Last Modified Date and Time 04-13-2018 9:23 am
      Appointment Completed By Lewis, Psychiatrist, Jawaun
        Completed Date and Time 04-13-2018 9:23 am
       Appointment Change Note Completed Appointment
                Change Note Type Completed Appointments
                Change Note Date 04-13-2018 12:00 am
                  Change Note By Lewis, Psychiatrist, Jawaun



    Appointment Scheduled Date 04-14-2018
       Appointment Created Date 01-19-2018 12:55 pm
         Appointment Description Chronic Care and/or Special Needs Note 01-19-2018 12:55 pm CCC quarterly peak flows
           Appointment Category NUR - Accucheck (Night Shift)
          Priority (1=High, 5=Low) 1
                    Current Status Deleted
           Requested by Patient? No
              Appointment Set By Constanzer, APRN-CNP, James
   Appointment Last Modified By Buchanan, LPN, Patty
     Last Modified Date and Time 04-14-2018 4:31 pm
      Appointment Completed By N/A
        Completed Date and Time N/A
       Appointment Change Note Delete Appointment
                Change Note Type Deleted Appointments
                Change Note Date 04-14-2018 12:00 am
                  Change Note By Buchanan, LPN, Patty



    Appointment Scheduled Date 04-16-2018
       Appointment Created Date 01-21-2018 12:24 pm
         Appointment Description Mental Health - Psychiatry Note 01-21-2018 12:24 pm
           Appointment Category MTH - Psychiatrist
          Priority (1=High, 5=Low) 1
                    Current Status Deleted
           Requested by Patient? No
              Appointment Set By Lewis, Psychiatrist, Jawaun
   Appointment Last Modified By Lewis, Psychiatrist, Jawaun
     Last Modified Date and Time 02-05-2018 12:39 pm
      Appointment Completed By N/A
        Completed Date and Time N/A
       Appointment Change Note Delete Appointment
                Change Note Type Deleted Appointments


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                Change Note Date 02-05-2018 12:00 am              108
                  Change Note By Lewis, Psychiatrist, Jawaun



    Appointment Scheduled Date 04-19-2018
       Appointment Created Date 01-19-2018 12:55 pm
         Appointment Description Chronic Care and/or Special Needs Note 01-19-2018 12:55 pm follow-up
           Appointment Category HCP - Chronic Care Clinic
          Priority (1=High, 5=Low) 1
                    Current Status Refused
           Requested by Patient? No
              Appointment Set By Constanzer, APRN-CNP, James
   Appointment Last Modified By Martin, APRN-CNP, Holly
     Last Modified Date and Time 04-18-2018 8:14 am
      Appointment Completed By N/A
        Completed Date and Time N/A
       Appointment Change Note Patient refused, signed waiver on file
                Change Note Type Refused Appointments
                Change Note Date 04-18-2018 12:00 am
                  Change Note By Martin, APRN-CNP, Holly



              Appointment 04-19-2018
            Scheduled Date
      Appointment Created 02-02-2018 9:44 am
                     Date
               Appointment Chronic Care and/or Special Needs Note 01-19-2018 12:55 pm CCC - vaccination [Created by: Constanzer, APRN-CNP,
                Description James at 2018-01-19 12:55:48]
     Appointment Category NUR - Infirmary Nurse (Day Shift)
           Priority (1=High, 1
                     5=Low)
             Current Status Refused
     Requested by Patient? No
       Appointment Set By Harris, Mary
          Appointment Last Buchanan, LPN, Patty
               Modified By
    Last Modified Date and 04-19-2018 6:00 pm
                      Time
               Appointment N/A
              Completed By
       Completed Date and N/A
                     Time
      Appointment Change Refused Appointment
                    Note
         Change Note Type Refused Appointments
         Change Note Date 04-19-2018 12:00 am
           Change Note By Buchanan, LPN, Patty



              Appointment 04-19-2018
            Scheduled Date
      Appointment Created 02-02-2018 10:33 am
                     Date
               Appointment Chronic Care and/or Special Needs Note 01-19-2018 12:55 pm CCC - vaccination [Created by: Constanzer, APRN-CNP,
                Description James at 2018-01-19 12:55:48]
     Appointment Category NUR - Infirmary Nurse (Day Shift)

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      Case
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           Priority (1=High, 1                          108
                     5=Low)
             Current Status Completed
     Requested by Patient? No
       Appointment Set By Harris, Mary
          Appointment Last Buchanan, LPN, Patty
               Modified By
    Last Modified Date and 04-19-2018 1:40 pm
                      Time
               Appointment Buchanan, LPN, Patty
              Completed By
       Completed Date and 04-19-2018 1:40 pm
                     Time
      Appointment Change Completed Appointment
                    Note
         Change Note Type Completed Appointments
         Change Note Date 04-19-2018 12:00 am
           Change Note By Buchanan, LPN, Patty



    Appointment Scheduled Date 04-24-2018
       Appointment Created Date 04-18-2018 12:56 pm
         Appointment Description Segregation Rounds 04-18-2018 12:56 pm
           Appointment Category MTH - Routine Referral MH
          Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Pauley, LPN, Carson
   Appointment Last Modified By Irvin, Psychlogist, Alicia
     Last Modified Date and Time 04-19-2018 10:03 am
      Appointment Completed By Irvin, Psychlogist, Alicia
        Completed Date and Time 04-19-2018 10:03 am
       Appointment Change Note Completed Appointment
                Change Note Type Completed Appointments
                Change Note Date 04-19-2018 12:00 am
                  Change Note By Irvin, Psychlogist, Alicia



    Appointment Scheduled Date 05-03-2018
       Appointment Created Date 05-03-2018 1:31 pm
         Appointment Description increase in anxiety
           Appointment Category MTH - Psychiatrist Medication Renewal/Review
          Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Irvin, Psychlogist, Alicia
   Appointment Last Modified By Lewis, Psychiatrist, Jawaun
     Last Modified Date and Time 05-03-2018 1:43 pm
      Appointment Completed By Lewis, Psychiatrist, Jawaun
        Completed Date and Time 05-03-2018 1:43 pm
       Appointment Change Note Completed Appointment
                Change Note Type Completed Appointments
                Change Note Date 05-03-2018 12:00 am
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      Case
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                  Change Note By Lewis, Psychiatrist, Jawaun



    Appointment Scheduled Date 05-05-2018
       Appointment Created Date 02-09-2018 11:37 am
         Appointment Description Mental Health - Psychiatry Note 02-09-2018 11:37 am
           Appointment Category MTH - Psychiatrist
          Priority (1=High, 5=Low) 1
                    Current Status Deleted
           Requested by Patient? No
              Appointment Set By Lewis, Psychiatrist, Jawaun
   Appointment Last Modified By Lewis, Psychiatrist, Jawaun
     Last Modified Date and Time 03-22-2018 11:18 am
      Appointment Completed By N/A
        Completed Date and Time N/A
       Appointment Change Note Delete Appointment
                Change Note Type Deleted Appointments
                Change Note Date 03-22-2018 12:00 am
                  Change Note By Lewis, Psychiatrist, Jawaun



    Appointment Scheduled Date 05-09-2018
       Appointment Created Date 05-08-2018 12:22 pm
         Appointment Description IM complaining of paranoia asking for meds
           Appointment Category MTH - Psychiatrist Medication Renewal/Review
          Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Hall, LPC, Theresa
   Appointment Last Modified By Lewis, Psychiatrist, Jawaun
     Last Modified Date and Time 05-08-2018 1:43 pm
      Appointment Completed By Lewis, Psychiatrist, Jawaun
        Completed Date and Time 05-08-2018 1:43 pm
       Appointment Change Note pt non compliant with medications
                Change Note Type Completed Appointments
                Change Note Date 05-08-2018 12:00 am
                  Change Note By Lewis, Psychiatrist, Jawaun



    Appointment Scheduled Date 05-14-2018
       Appointment Created Date 05-08-2018 12:29 pm
         Appointment Description complaining of voices
           Appointment Category MTH - Routine Referral MH
          Priority (1=High, 5=Low) 1
                    Current Status Completed
           Requested by Patient? No
              Appointment Set By Hall, LPC, Theresa
   Appointment Last Modified By Irvin, Psychlogist, Alicia
     Last Modified Date and Time 05-10-2018 9:49 am
      Appointment Completed By Irvin, Psychlogist, Alicia
        Completed Date and Time 05-10-2018 9:49 am
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       Appointment Change Note seen on seg rounds
                                                                108
                Change Note Type Completed Appointments
                Change Note Date 05-10-2018 12:00 am
                  Change Note By Irvin, Psychlogist, Alicia



    Appointment Scheduled Date 06-15-2018
       Appointment Created Date 03-22-2018 11:19 am
         Appointment Description Mental Health - Psychiatry Note 03-22-2018 11:19 am
           Appointment Category MTH - Psychiatrist
          Priority (1=High, 5=Low) 1
                    Current Status Deleted
           Requested by Patient? No
              Appointment Set By Lewis, Psychiatrist, Jawaun
   Appointment Last Modified By System, CorEMR
     Last Modified Date and Time 05-20-2018 2:45 am
      Appointment Completed By N/A
        Completed Date and Time N/A
       Appointment Change Note Inmate was released 05-20-2018
                Change Note Type Deleted Appointments
                Change Note Date 05-20-2018 12:00 am
                  Change Note By System, CorEMR



    Appointment Scheduled Date 07-13-2018
       Appointment Created Date 01-19-2018 12:55 pm
         Appointment Description Chronic Care and/or Special Needs Note 01-19-2018 12:55 pm CCC quarterly peak flows
           Appointment Category NUR - Accucheck (Night Shift)
          Priority (1=High, 5=Low) 1
                    Current Status Deleted
           Requested by Patient? No
              Appointment Set By Constanzer, APRN-CNP, James
   Appointment Last Modified By System, CorEMR
     Last Modified Date and Time 05-20-2018 2:45 am
      Appointment Completed By N/A
        Completed Date and Time N/A
       Appointment Change Note Inmate was released 05-20-2018
                Change Note Type Deleted Appointments
                Change Note Date 05-20-2018 12:00 am
                  Change Note By System, CorEMR



    Appointment Scheduled Date 10-11-2018
       Appointment Created Date 01-19-2018 12:55 pm
         Appointment Description Chronic Care and/or Special Needs Note 01-19-2018 12:55 pm CCC quarterly peak flows
           Appointment Category NUR - Accucheck (Night Shift)
          Priority (1=High, 5=Low) 1
                    Current Status Deleted
           Requested by Patient? No
              Appointment Set By Constanzer, APRN-CNP, James
   Appointment Last Modified By System, CorEMR

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     Last Modified Date and Time 05-20-2018 2:45 am               108
      Appointment Completed By N/A
        Completed Date and Time N/A
       Appointment Change Note Inmate was released 05-20-2018
                Change Note Type Deleted Appointments
                Change Note Date 05-20-2018 12:00 am
                  Change Note By System, CorEMR



    Appointment Scheduled Date 12-11-2018
       Appointment Created Date 01-15-2018 12:00 pm
         Appointment Description Intake Screening - Medical 01-15-2018 12:00 pm Annual Dental Exam
           Appointment Category DNT - Dental Appointment Scheduling
          Priority (1=High, 5=Low) 1
                    Current Status Deleted
           Requested by Patient? No
              Appointment Set By Mobley, Jessica
   Appointment Last Modified By System, CorEMR
     Last Modified Date and Time 05-20-2018 2:45 am
      Appointment Completed By N/A
        Completed Date and Time N/A
       Appointment Change Note Inmate was released 05-20-2018
                Change Note Type Deleted Appointments
                Change Note Date 05-20-2018 12:00 am
                  Change Note By System, CorEMR



    Appointment Scheduled Date 01-09-2019
       Appointment Created Date 01-19-2018 12:55 pm
         Appointment Description Chronic Care and/or Special Needs Note 01-19-2018 12:55 pm CCC quarterly peak flows
           Appointment Category NUR - Accucheck (Night Shift)
          Priority (1=High, 5=Low) 1
                    Current Status Deleted
           Requested by Patient? No
              Appointment Set By Constanzer, APRN-CNP, James
   Appointment Last Modified By System, CorEMR
     Last Modified Date and Time 05-20-2018 2:45 am
      Appointment Completed By N/A
        Completed Date and Time N/A
       Appointment Change Note Inmate was released 05-20-2018
                Change Note Type Deleted Appointments
                Change Note Date 05-20-2018 12:00 am
                  Change Note By System, CorEMR



    Appointment Scheduled Date 01-15-2019
       Appointment Created Date 01-15-2018 12:00 pm
         Appointment Description Intake Screening - Medical01-15-2018 12:00 pm Annual H&P
           Appointment Category NUR - Health Assessment - Annual
          Priority (1=High, 5=Low) 1
                    Current Status Deleted

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           Requested by Patient? No                          108
              Appointment Set By Mobley, Jessica
   Appointment Last Modified By System, CorEMR
     Last Modified Date and Time 05-20-2018 2:45 am
      Appointment Completed By N/A
        Completed Date and Time N/A
       Appointment Change Note Inmate was released 05-20-2018
                Change Note Type Deleted Appointments
                Change Note Date 05-20-2018 12:00 am
                   Change Note By System, CorEMR




  Chart Notes

   Note                                                                                                                                   Note     Note
                                                              Note Text                                                     Note By
   Date                                                                                                                                  Access    Type
   01-     PT slept most of the night, no s/s of distress noted                                                           Isesele, RN,   Medical Medical
   16-                                                                                                                    Bartholomew    Staff   Note
   2018
   7:00
   am
   01-   declined influenza vaccine                                                                                       Constanzer,    Medical Medical
   19-                                                                                                                    APRN-CNP,      Staff   Note
   2018                                                                                                                   James
   12:56
   pm
   05-     Pt states that he stood up for his bunk and felt dizzy, fell and hit his head. Small area of edema and bruising Misthaven,    Medical Medical
   18-     on right forehead over eyebrow. Neuros intact. Pt alert and oriented x 3. Able to ambulate to medical without Jesse           Staff   Note
   2018    assistance. Vitals: Sitting BP 139/78, pulse 83. Standing BP 132/75, pulse 94. Pt given ice pack and returned
   11:39   to pod.
   pm
   05-     Medical emergency was called at 1630 at which time I was at master control. I arrived at POD J11 cell GG at Combs,            Medical Medical
   19-     approximately 1535 at which time I saw Shirley Reisch LPN performing chest compressions and a detention Casey                 Staff   Note
   2018    officer giving rescue breaths with the AMBU bag. When I arrived I took over chest compressions from Shirley
   5:31    and she moved to rescue breaths. Sarah Moran LPN arrived at cell at approximately 1537, she took over
   pm      compressions from me, Shirley continued with rescue breaths. This nurse decided to start and IV. Moran left
           POD to get medicals jump box from medical at which time I took back over compressions. Moran arrived
           back to POD at approximately 1544 with supplies. Paula Hickman LPN arrived to POD at approximately
           1547. Hickman took over rescue breaths, while Shirley took over compressions, while I started an IV line. IV
           started in Right AC at 1549. 20g placed. Site flushed without difficulty. 500mL of NS started, bag of fluids was
           handed to Deputy Belitz. Site secured with tape. Hickman took bag of fluids from deputy Belitz. Myself,
           Shirley, Moran, and Hickman rotated with chest compressions and rescue breaths until Fire arrived at 1556.
           EMSA arrived at 1601. EMSA pronounced time of death at 1604. Needle were removed from scene and
           placed in sharps box in medical. Proper staff was notified.
   05-   Note correction: for 5/19/18 at 17:31. Medical emergency was called at 1530.                                     Combs,         Medical Medical
   22-                                                                                                                    Casey          Staff   Note
   2018
   11:44
   am
   07-     ***HIPAA Disclosure*** The requested records were emailed to Anelisse Duque, Medical Examiner @ Tulsa          Pingleton,     All      Misc.
   23-     County Office on 7-23-18.                                                                                      Kathryn        Staff    Note
   2018
   2:20
   pm




  Problems


https://tulsacountyjail.dataward.net/Modules/Chart/history.php                                                                                      105/108
      Case
10/12/2020    4:21-cv-00516-GKF-JFJ
                               CorEMR Document      37-9
                                       - RUTLEDGE, TY      Filed in (10-14-1994)
                                                      - #20180115020 USDC ND/OK            on 07/28/22
                                                                                 :: Full Patient History | v5.5.0 Page 106 of
          Date Opened           Problem Type             108
                                                          Problem Subtype      Current Status          Date Closed     Closed By
   01-15-2018 12:00 pm           Pulmonary                       [blank]            open              [blank]        ,
   01-21-2018 12:23 pm           PSYCH - psychosis unspecified   mood unspecified   open              [blank]        ,




  Vital Signs

             Date of Reading 05-19-2018 5:32 pm
                Date Entered 05-19-2018 5:32 pm
      Blood Pressure Sitting 0/0
   Blood Pressure Standing [blank]
                 Pulse Sitting [blank]
              Pulse Standing [blank]
                  Respiration [blank]
                 Temperature [blank]
                       Weight [blank]
                        SPO2 [blank]
                        Notes [blank]



             Date of Reading 01-29-2018 12:41 pm
                Date Entered 01-29-2018 12:41 pm
      Blood Pressure Sitting 124/71
   Blood Pressure Standing [blank]
                 Pulse Sitting 72
              Pulse Standing [blank]
                  Respiration 18
                 Temperature 98.6
                       Weight 199
                        SPO2 98.0
                        Notes [blank]



             Date of Reading 01-19-2018 12:55 pm
                Date Entered 01-19-2018 12:55 pm
      Blood Pressure Sitting 119/72
   Blood Pressure Standing [blank]
                 Pulse Sitting 65
              Pulse Standing [blank]
                  Respiration 18
                 Temperature 97.9
                       Weight 202
                        SPO2 98.0
                        Notes peakflow - 650



             Date of Reading 01-15-2018 12:00 pm
                Date Entered 01-15-2018 12:00 pm
      Blood Pressure Sitting 141/83
   Blood Pressure Standing [blank]
https://tulsacountyjail.dataward.net/Modules/Chart/history.php                                                               106/108
      Case
10/12/2020     4:21-cv-00516-GKF-JFJ
                                  CorEMR Document     37-9
                                         - RUTLEDGE, TY      Filed in (10-14-1994)
                                                        - #20180115020 USDC ND/OK            on 07/28/22
                                                                                   :: Full Patient History | v5.5.0 Page 107 of

                Pulse Sitting 127
                                                           108
              Pulse Standing [blank]
                  Respiration 18
                 Temperature 100.1
                       Weight 204
                        SPO2 98.0
                        Notes [blank]




  Blood Glucose Levels

  (No Records)




  Medical Sick Calls

                     Call Date 01-19-2018 12:55 pm
              Clinician Name James Constanzer, APRN-CNP
      Requested by Patient? No
                   Subjective 01-19-2018 12:55 pm - Constanzer, APRN-CNP, James : Intake Screening - Medical 01-15-2018 12:00 pm Initial CCC
                              eval
                    Objective [blank]
                 Assessment [blank]
                          Plan [blank]
                    Education [blank]
                 Recorded By Constanzer, APRN-CNP, James
       Notes Regarding Note [blank]
                        Off




  Dental Sick Calls

  (No Records)




  Mental Health Sick Calls

  (No Records)




  Alerts

https://tulsacountyjail.dataward.net/Modules/Chart/history.php                                                                             107/108
      Case
10/12/2020     4:21-cv-00516-GKF-JFJ
                                CorEMR Document     37-9
                                       - RUTLEDGE, TY      Filed in (10-14-1994)
                                                      - #20180115020 USDC ND/OK            on 07/28/22
                                                                                 :: Full Patient History | v5.5.0 Page 108 of
                          Alert                          108Created By             Create Date         Removed       Remove Date
                                                                                                                      By
   DIET - SUICIDE/MANAGEMENT (FINGER FOOD/NO                     Isesele, RN, Bartholomew      01-16-2018 7:01    Elkins, T.   01-16-2018 9:50
   UTENSILS/BONES)                                                                             am                              am
   Suicide Prevention - 1                                        Isesele, RN, Bartholomew      01-16-2018 7:01    Elkins, T.   01-16-2018 9:50
                                                                                               am                              am
   Chronic Care - Pulmonary                                      Constanzer, APRN-CNP,         01-19-2018 12:55   ,            [blank]
                                                                 James                         pm
   Special Needs – Mental Health                                 Lewis, Psychiatrist, Jawaun   01-21-2018 12:24   ,            [blank]
                                                                                               pm




https://tulsacountyjail.dataward.net/Modules/Chart/history.php                                                                             108/108
